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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


  STATE BOARD OF ADMINISTRATION             Civil Case No. ____________________
  OF FLORIDA,
                                            COMPLAINT FOR VIOLATION
                             Plaintiff,     OF THE FEDERAL SECURITIES
                                            LAWS
  v.
                                            DEMAND FOR JURY TRIAL
  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., J. MICHAEL
  PEARSON, HOWARD B. SCHILLER,
  ROBERT L. ROSIELLO, DEBORAH JORN,
  ARI S. KELLEN, and TANYA CARRO,

                            Defendants.
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        The State Board of Administration of Florida (“Florida SBA” or “Plaintiff”), by and

 through its undersigned counsel, brings this action under the Securities and Exchange Act of 1934

 (“Exchange Act”) against Valeant Pharmaceuticals International, Inc. (“Valeant” or the

 “Company”), and certain of its former and current officers and/or directors (collectively,

 “Defendants”) to recover damages for losses Plaintiff has suffered on Valeant common stock

 purchased or acquired by Plaintiff between January 4, 2013 and August 10, 2016, inclusive (the

 “Relevant Period”).

        Except as to allegations specifically pertaining to Plaintiff, all allegations herein are based

 upon the investigation undertaken by Plaintiff’s counsel. Counsel’s investigation included, but

 was not limited to, the review and analysis of (i) documents filed by Valeant with the U.S.

 Securities and Exchange Commission (“SEC”); (ii) securities analysts’ reports about Valeant;

 (iii) transcripts of Valeant conference calls; (iv) Valeant press releases; (v) media reports

 concerning Valeant, including online news sources; (vi) internal Valeant documents, including

 emails, correspondence, and agreements by or among Valeant, Philidor Rx Services, LLC

 (“Philidor”), and R&O Pharmacy (“R&O”); (vii) Congressional hearings, Defendants’ testimony,

 interrogatory responses, and documents submitted by Valeant or introduced by Congressmen in

 connection with those hearings; (viii) statements and interviews of former Valeant and Philidor

 employees, including interviews conducted directly by Plaintiff’s counsel; and (ix) other publicly

 available information. Counsel’s investigation into the factual allegations contained herein is

 continuing, and many of the relevant facts are known only by the Defendants named herein, or are

 exclusively within their custody or control.         Plaintiff believes that substantial additional

 evidentiary support will exist for the allegations set forth herein after a reasonable opportunity to

 conduct discovery.



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        INTRODUCTION

                This case arises from a fraudulent scheme by Valeant and its top executives to use

 a secret pharmacy network, deceptive pricing and reimbursement practices, and fictitious

 accounting to shield the Company’s branded drugs from generic competition and artificially inflate

 the Company’s revenues and profits. Throughout the Relevant Period, Valeant engaged in a

 growth by acquisition strategy, reporting quarter-after-quarter of extraordinary revenue and

 earnings growth. Defendants attributed the Company’s performance to its “innovative” marketing

 approaches, “outstanding” sales teams, “great leadership,” and superior products, as well as

 unspecified “alternative fulfillment” channels that provided Valeant with a “competitive

 advantage.” However, Defendants hid from investors the Company’s clandestine network of

 controlled pharmacies and other deceptive practices that were true drivers of Valeant’s purported

 growth and which exposed the Company to massive risks. Defendants’ fraud was so vast in

 execution and so devastating to investors, patients, physicians, and insurers, that media and

 commentators have dubbed it the “Pharmaceutical Enron.”

                Valeant is a pharmaceutical and medical device company that is engaged in the

 development, manufacture, and marketing of branded and generic drugs.               Traditionally,

 pharmaceutical companies seek to develop new medications to cure and treat diseases. Such

 companies typically spend approximately 15-20% of revenues on research and development

 (“R&D”) and receive patent protection for successful products, which allows them to charge high

 prices for the new medications and thus recoup their R&D investment, realize commercial success,

 and further the social good.

                In contrast, Valeant’s business model consisted of acquiring drugs from other

 pharmaceutical companies, massively increasing prices, and driving sales through a variety of

 deceptive and unlawful practices. For instance, after acquiring the dermatology drug Noritate 1%,
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 Valeant increased the price 212%. Similarly, Valeant increased the price of Tagretin gel, another

 dermatology drug, by 250% over the course of the Relevant Period. Likewise, Valeant increased

 the prices of two drugs used to treat emergency heart conditions, Nitropress and Isuprel, to more

 than $805 and $1,346, respectively – increases of 212% and 525% – on the same day the Company

 acquired the rights to sell them. Valeant focused its efforts on buying old neglected drugs – so

 called “orphan drugs” that treat rare medical conditions and face little or no competition – and

 turning them into high-priced “specialty drugs.”

                Valeant’s growth by acquisition strategy was executed by its former Chairman and

 Chief Executive Officer (“CEO”) J. Michael Pearson (“Pearson”). A former management

 consultant with no background in medicine or pharmaceuticals, Pearson believed R&D investment

 to be low return and wasteful because it often failed to result in marketable drugs. For example,

 when asked about cancer research, Pearson stated: “I think it’s a losing proposition. I don’t know

 any pharmaceutical company who has generated positive returns on it.” Accordingly, Valeant’s

 R&D expenditures were limited to only approximately 3% of revenue. Executing Pearson’s

 strategy, Valeant completed more than 100 acquisitions since 2008 at a cost of over $30 billion,

 which the Company financed through its positive cash flow and debt financing. This includes

 more than $15 billion in newly-issued equity and debt securities sold to the investing public at

 fraud-inflated prices.

                Throughout the Relevant Period, Defendants claimed their non-traditional strategy

 was more profitable, sustainable, and carried lower risk than traditional pharmaceutical companies.

 Because a growth by acquisition strategy is limited, – as consolidation leaves fewer and fewer

 acquisition targets and unbridled debt financing can grow to unsustainable levels – to demonstrate

 the long-term value of their strategy, Defendants had to convince investors that Valeant could



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 increase the sales volume of the acquired drugs, and not only the prices. Thus, Valeant and its

 senior executives claimed Valeant’s dramatic growth in revenues and profitability was attributable

 to Valeant’s superior marketing, sales teams, and leadership – which resulted in sales volume that

 was “greater than price in terms of our growth.” Defendants further assured investors that the

 Company maintained “extremely high ethical standard[s],” that compliance was “very, very,

 important” to the Company, and that there were hard caps on how much Valeant could raise prices.

 Defendants further assured investors that Valeant had strong internal controls and compliance, and

 that its accounting complied with Generally Accepted Accounting Practices (“GAAP”).

                When Valeant’s business model was challenged in 2014 as unsustainable and reliant

 on “some eye popping increases of price,” Defendants again assured investors that Valeant’s

 financial results were based on its sales volume, not pricing. Pearson, for example, represented to

 investors in May 2014 that “the highest price increase we could take under any managed care contract

 we have in the US is 9% a year.” Pearson emphasized that “we have a lot of constraints, just like

 other pharma companies do, in terms of pricing,” and confirmed that “the vast majority of our growth

 on a global basis . . . is volume.” “I can assure you our operating model is both durable and

 sustainable,” Pearson assured the market, pointing out that most of the Company’s top products

 were “growing by volume, not just price.” Pearson even claimed that at Valeant, we “[p]ut patients

 and our customers first by maintaining the highest ethical standards in the industry.”

                In response to these and other similar representations by Valeant and its top

 executives, Valeant’s stock price soared nearly 350%, from just over $60 at the start of the Relevant

 Period, to over $260 on August 5, 2015, its high during the Relevant Period.

                Unbeknownst to investors, Valeant’s business model and financial performance

 relied on a secret pharmacy network and deceptive practices that exposed the Company to



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 enormous risks. These massive, undisclosed risks included lost sales and distribution channels as

 a result of alienating physicians, payors and pharmacy benefit managers (“PBMs”), regulatory

 sanctions and criminal prosecution, and reputational destruction.

                Valeant’s deceptive practices focused on the salient fact that far cheaper generic

 equivalents were available for most of Valeant’s drugs, thus limiting Valeant’s prices and sales.

 To address this fundamental issue, Valeant created a clandestine network of controlled pharmacies

 to work around the “problem” of generic competition through an intricate corporate shell structure.

 Defendants built a network of secret pharmacies around Philidor, a Pennsylvania mail order

 pharmacy. Valeant then created a host of shell companies owned through Philidor, which

 Defendants used to acquire interests in additional retail pharmacies all over the United States.

 Defendants channeled prescriptions for Valeant’s high-priced, branded drugs through Philidor.

                Philidor employees, as well as Valeant employees staffed at Philidor under aliases,

 were instructed to employ a host of deceptive practices to prevent the substitution of cheaper

 generic equivalents for Valeant-branded drugs. Many of these fraudulent practices are catalogued

 in manuals that Defendants distributed to employees, assuring those employees that “[w]e have a

 couple of different ‘back door’ approaches to receive payment from the insurance company.”

 Those “back door approaches” were fraudulent, and included: (i) changing prescription codes on

 claims to require that the prescription be filled with Valeant’s brand-name drugs; (ii) making claims

 for refills that were never requested by patients; (iii) misrepresenting the identity of dispensing

 pharmacies in order to bypass denials of claims for Valeant drugs; and (iv) submitting claims that

 inflated the price charged by failing to take into account serial waivers of patient copays.

                The success of Defendants’ scheme hinged on its secrecy: had insurance companies

 and other third party payors (“TPPs”) or PBMs known the truth about Valeant’s captive pharmacy



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  network, they would have denied claims submitted by pharmacies in the network. To prevent

  discovery, Defendants deliberately misrepresented to regulators the ownership and control of these

  pharmacies to ensure that Valeant could charge inflated prices for Valeant-branded drugs and to

  sell Valeant-branded drugs that would otherwise never have been purchased. To maintain the

  secrecy of the Valeant pharmacy network, Defendants also issued numerous false and misleading

  statements to a multitude of constituencies, including investors, TPPs, PBMs and government

  regulators.

                    Valeant’s deceptive practices were not limited to its network of captive pharmacies.

  Defendants engaged in a host of additional undisclosed practices that exposed the Company to

  massive risks. These additional business practices that Defendants concealed and misrepresented

  to investors included, among other things: (i) extraordinary price gouging, i.e., the extent of

  Valeant’s price increases for acquired drugs facilitated through deceptive practices; (ii) the true

  volume growth that Valeant was able to achieve as a result of its purportedly “innovative” and

  “improved” marketing strategies, which concealed the extent to which the Company’s growth was

  dependent on price increases (particularly within the key dermatology segment); and (iii) the

  Company’s improper use of patient assistance programs (“PAPs”) and “volume based” assistance

  programs, which included secret copay waivers to incentivize patients to use Valeant’s high-priced

  drugs and avoid less costly generic substitutes, receive unneeded refills, silence complaints and

  limit negative media and regulatory attention. As Senator Elizabeth Warren and other lawmakers

  emphasized during a recent Congressional hearing regarding Valeant’s questionable sales

  practices, these programs cannot be used with Medicare or other government insurance because

  “it’s illegal.”




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                 The fallout from the unmasking of Valeant’s fraudulent scheme has been severe.

  Beginning in September 2015, the truth about Valeant was revealed through a series of disclosures

  by the Company, as well as reports by analysts, investigations by government agencies, and private

  litigation. For example, shortly after Valeant’s relationship with Philidor emerged in October

  2015, the three largest pharmacy benefit managers in the U.S. – CVS Health Corp., Express Scripts

  Holding Co., and UnitedHealth Group Inc.’s OptumRx – announced that they were dropping

  Philidor from their networks. They also disclosed that audits revealed that Philidor had failed to

  comply with the terms of their agreements. Almost immediately thereafter, Valeant was forced to

  announce the termination of its relationship with Philidor.

                 The revelations of pervasive misconduct at Valeant have also forced the departure

  of most of the senior executives and directors responsible for the misconduct. Valeant has

  specifically attributed its fictitious accounting to the “improper conduct” of Defendant Schiller, its

  former Chief Financial Officer (“CFO”), and its former Corporate Controller, as well as the

  unethical “tone at the top” set by senior management, including Defendant Pearson, its former

  CEO. All of these individuals have now been terminated and replaced. Defendant Jorn, who led

  the Company’s dermatology division responsible for a substantial portion of Philidor’s sales, has

  also been forced out of the Company. In addition, Valeant has announced the replacement of the

  majority of its Audit Committee, who reviewed and approved the accounting for Philidor and

  conducted due diligence at Philidor.

                 Valeant has also withdrawn its financial statements and acknowledged them to be

  false, restated its revenue for fiscal year 2014, drastically reduced its revenue and profitability

  guidance for 2015 and 2016, and admitted that the Company’s disclosure controls and internal

  controls over financial reporting had been inadequate. Currently, Valeant is the focus of numerous



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  government investigations, including by the SEC, the U.S. Department of Justice, and both houses

  of Congress. Furthermore, the Company’s former CEO, Defendant Pearson, and former CFO,

  Defendant Schiller, are the subject of a criminal probe by federal prosecutors, and two former

  Valeant and Philidor executives connected to the scheme have been indicted and face up to 20

  years in prison on charges of wire fraud, money laundering, and conspiracy.

                  The startling disclosures of Defendants’ pervasive misconduct and the impact on

  Valeant’s financial condition and business operations have exacted an immense toll on investors.

  As the market became aware of the truth about Valeant, Valeant’s stock price fell from a Relevant

  Period high of over $262 per share to less than $25 on August 10, 2016, a decline of more than

  90%. In total, the Company’s shareholders suffered over $76 billion in market capitalization

  losses, as set forth in the chart below:




                  Defendants have destroyed billions of dollars in shareholder value through their

  misconduct, and are liable for such damages under the federal securities laws. Through this action,




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  Plaintiff asserts claims under the Exchange Act to recover its damages due to Defendants’

  misconduct.

          JURISDICTION AND VENUE

                   This Court has jurisdiction over this action pursuant to Section 27 of the Exchange

  Act, 15 U.S.C. § 78aa, 15 U.S.C. § 77v, and 28 U.S.C. § 1331.

                   Venue is properly laid in this District pursuant to Section 27 of the Exchange Act,

  and 28 U.S.C. § 1391.        The acts and conduct described in this Complaint, including the

  dissemination of false and misleading statements and information, occurred in substantial part in

  this District.

                   In connection with these acts, Defendants, directly or indirectly, used the means

  and instrumentalities of interstate commerce, including the United States mails, interstate

  telephone communications, and the facilities of a national securities exchange, namely, the New

  York Stock Exchange (“NYSE”).

                   Plaintiff’s claims are premised upon its purchases of Valeant common stock on the

  NYSE or other domestic markets.

          PARTIES

          A.       Plaintiff

                   Florida SBA is an agency of Florida state government that provides investment and

  trust services to various governmental entities. Florida SBA is responsible for managing the assets

  of the Florida Retirement System Pension Plan, which provides retirement benefits for over

  900,000 current and former public employees of the State of Florida. Florida SBA is also

  responsible for managing a variety of other state investment plans, funds, and endowments.

                   During the Relevant Period, Florida SBA purchased Valeant common stock and

  suffered damages as a result of the violations pled herein. In particular, Florida SBA purchased or

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  acquired Valeant common stock on the U.S. open market on approximately 75 separate occasions

  between January 21, 2015 and May 4, 2016, inclusive, at artificially inflated prices.

         B.      Defendants

                 1.      Valeant

                 Defendant Valeant is a Canadian corporation, incorporated in British Columbia,

  Canada, and has its United States headquarters located at 400 Somerset Corporate Boulevard,

  Bridgewater, New Jersey. Valeant is a multinational pharmaceutical and medical device company

  that markets a broad range of branded, generic and branded generic pharmaceuticals, over-the-

  counter products, and medical devices, directly or indirectly, in over 100 countries. Valeant is one

  of the largest pharmaceutical companies in the United States. Shares of Valeant stock trade on the

  NYSE under the ticker symbol “VRX.”

                 2.      Executive Defendants

                 Defendant J. Michael Pearson (“Pearson”) served as Valeant’s CEO and a director

  of the Company from 2008 until May 3, 2016, and Chairman of the Board of Directors (the

  “Board”) from March 2011 to January 2016. Pearson took a medical leave in January and February

  2016, and Valeant announced in March 2016 that he would be replaced.

                 Defendant Howard B. Schiller (“Schiller”) served as Valeant’s CFO and an

  Executive Vice President (“EVP”) of the Company from December 2011 until June 30, 2015, when

  he resigned from the position. Additionally, Schiller was a member of Valeant’s Board from

  September 2012 until June 2016, and served as the Company’s interim CEO in January and

  February 2016 while Pearson was on medical leave. On March 21, 2016, Valeant announced that

  Schiller had engaged in “improper conduct” related to the Company’s accounting restatement, and

  asked him to resign as a director of the Company. Schiller refused, and was not made a candidate

  for re-election to the Board.

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                 Defendant Robert L. Rosiello (“Rosiello”) has served as Valeant’s CFO and an EVP

  of the Company since July 2015. During Pearson’s medical leave and before Schiller was

  appointed interim CEO, Rosiello served as one of the three members of the Company’s “Office of

  the CEO.”

                 Defendant Deborah Jorn (“Jorn”) served as a Valeant EVP and Company Group

  Chairman from August 2013 until her departure on March 2, 2016. Jorn was general manager of

  Valeant’s U.S. dermatology business, and she joined the Company in connection with its

  acquisition of Bausch & Lomb, where she served as Vice President of Global Marketing.

                 Defendant Dr. Ari S. Kellen (“Kellen”) has served as the Company’s EVP and

  Company Group Chairman since January 1, 2014. Kellen briefly served as one of the three

  members of the Office of the CEO after Pearson went on medical leave and before Schiller was

  named interim CEO.

                 Defendant Tanya Carro (“Carro”) was at all relevant times Valeant’s Corporate

  Controller. On March 21, 2016, Valeant announced Carro had been placed on administrative leave

  after committing “improper conduct” related to the Company’s accounting restatement. Shortly

  thereafter, Valeant announced that it had hired a new Controller.

                 Defendants Pearson, Schiller, Rosiello, Jorn, Kellen and Carro are collectively

  referred to herein as the “Executive Defendants.”

         C.      Relevant Third Parties

                 Robert A. Ingram (“Ingram”) has been a member of Valeant’s Board since

  September 2010. Ingram served as Lead Independent Director from March 2011 to February 2016,

  and as Chairman from February 2016 to May 2016. At all relevant times, Ingram was a member

  of the Board’s Talent and Compensation Committee, Corporate Governance Committee, and Ad



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  Hoc Committee formed to investigate issues related to Philidor. Ingram signed Valeant’s 2013

  Form 10-K and 2014 Form 10-K.

                  Ronald H. Farmer (“Farmer”) joined Valeant’s Board in August 2011. Farmer has

  served as Chairman of the Talent and Compensation Committee and a member of the Nominating

  and Corporate Governance Committee. Farmer signed Valeant’s 2014 Form 10-K. On April 29,

  2016, Valeant announced that Farmer would not be seeking re-election, and he was replaced in

  June 2016.

                  Colleen Goggins (“Goggins”) joined Valeant’s Board in May 2014. Goggins has

  served as a member of the Finance and Transactions Committee and the Nominating and Corporate

  Governance Committee. Goggins signed Valeant’s 2014 Form 10-K. On April 29, 2016, Valeant

  announced that Goggins would not be seeking re-election, and she was replaced in June 2016.

                  Anders Lonner (“Lonner”) served as a member of Valeant’s Board from May 2014

  until March 8, 2016, when he departed. Lonner was a member of the Finance and Transactions

  Committee and the Talent and Compensation Committee. Lonner signed Valeant’s 2014 Form 10-

  K.

                  Theo Melas-Kyriazi (“Melas-Kyriazi”) joined Valeant’s Board in September 2010.

  Melas-Kyriazi was a member of the Audit and Risk Committee and the Chairman of the Finance

  and Transactions Committee. Melas-Kyriazi signed Valeant’s 2014 Form 10-K. On April 29,

  2016, Valeant announced that Melas-Kyriazi would not be seeking re-election, and he was replaced

  in June 2016.

                  Robert N. Power (“Power”) has served as a member of Valeant’s Board since

  August 2008. Power has been the Chairman of the Nominating and Corporate Governance




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  Committee and a member of the Talent and Compensation Committee. Power signed Valeant’s

  2014 Form 10-K.

                Norma Provencio (“Provencio”) joined Valeant’s Board in September 2010.

  Provencio served as the Chairman of the Audit and Risk Committee. Provencio signed Valeant’s

  2013 Form 10-K and 2014 Form 10-K. On April 29, 2016, Valeant announced that Provencio and

  four other directors, including the two other members of the Audit and Risk Committee, would not

  be seeking re-election, and she was replaced in June 2016.

                Katherine B. Stevenson (“Stevenson”) served as a member of Valeant’s Board from

  September 2010 through March 21, 2016, when she resigned. Stevenson was a member of the

  Audit and Risk Committee and the Finance and Transactions Committee. Stevenson signed

  Valeant’s 2014 Form 10-K.

         FACTUAL BACKGROUND

         A.     Valeant’s Growth By Acquisition Strategy

                Prior to and during the Relevant Period, Valeant’s business model was focused on

  achieving revenue growth by acquiring drugs and drug companies and then raising prices of the

  acquired drugs. Since 2010, Valeant has acquired companies with a total value of at least $36

  billion. Valeant is the sixth-largest acquirer, globally, by deal size. Since 2008, when Pearson

  became CEO of Valeant, Valeant has acquired at least 100 companies.

                In contrast, traditional pharmaceutical companies typically spend 15-20% of

  revenue on R&D, which allows them to develop new or improved cures and treatments for diseases

  and provide future revenue growth. In order to encourage investments in such socially-beneficial

  research, newly developed products are generally protected from generic competition for a period

  of time, which permits the developer to recoup its investment through non-competitive pricing.

  However, Pearson claimed that such spending was wasteful, R&D had a low rate of success, and

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  a better business strategy would be to grow through acquisitions. To this end, Pearson focused on

  acquiring companies with already-established products to sell, cutting costs (R&D), and

  dramatically raising prices while using deceptive tactics to exploit gaps Defendants had identified

  in the healthcare system.      In particular, Pearson and the Company targeted areas of the

  pharmaceutical market lacking competition from large companies, such as dermatological

  products.

                 Valeant’s acquisitions gave the Company access to a diverse portfolio of drugs. For

  example, in September of 2010, Valeant engaged in a reverse merger with Biovail Corporation,

  Canada’s largest pharmaceutical company, for $3.3 billion, with Pearson becoming CEO of the

  combined company. The merger gave Valeant access to a portfolio of dermatological drugs, drugs

  treating disorders of the central nervous system, and the anti-depressant drug Wellbutrin. In 2012,

  Valeant purchased Medicis Pharmaceutical Corporation (“Medicis”) for $2.6 billion, providing

  Valeant with access to drugs for the treatment of acne, as well as other aesthetic skin care products.

  Also in 2012, Valeant acquired Natur Produkt International of Russia for $180 million, giving

  Valeant control of a portfolio of cough and cold treatments. In 2013, Valeant bought eye-care giant

  Bausch & Lomb from private equity firm Warburg Pincus for $8.6 billion, giving Valeant access

  to Bausch & Lomb’s specialized ophthalmology and contact lens portfolio. In April 2015, Valeant

  completed its $11 billion purchase of Salix Pharmaceuticals (“Salix”), a maker of drugs treating

  gastrointestinal disorders.

                 Valeant’s growth by acquisition strategy appeared successful. Year after year, the

  Company reported consistent and steep growth, reporting $7.71 billion of revenue for the first

  three quarters of 2015, and revenues of $8.25 billion for 2014, $5.76 billion for 2013, and $3.48

  billion for 2012. As of July 2015, Valeant was valued at over $90 billion, making it the largest



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  public company incorporated in Canada and the largest pharmaceutical company headquartered in

  the United States.

                 During the Relevant Period, Valeant attributed the success of its non-traditional

  strategy to its aggressive cost-cutting strategies, its “outstanding sales teams, implementation of

  innovative marketing approaches, great leadership, [and] a portfolio of great products.” Similarly,

  in a February 22, 2015 Valeant press release, Pearson attributed Valeant’s explosive growth to the

  Company’s “output-focused research and development model,” which involved “focusing on

  innovation through our internal research and development, acquisitions, and in-licensing” and

  “focusing on productivity through measures such as leveraging industry overcapacity and

  outsourcing commodity services.” These misrepresentations concealed from Plaintiff and the

  Company’s other investors – as well as regulators – were true drivers of the Company’s growth.

                 In reality, Valeant’s growth was driven by its fraudulent use of a secret network of

  captive pharmacies and other deceptive business practices.          Valeant’s use of a clandestine

  pharmacy network enabled the Company to exponentially increase the prices of its branded drugs,

  despite the fact that cheaper, generic substitutes existed for many of them. In an effort to conceal

  its scheme, Valeant consistently downplayed the extent to which pricing increases contributed to

  the Company’s growth. For instance, on an April 29, 2015 conference call with investors, Pearson

  was asked how much price contributed to growth in the quarter. Pearson falsely responded that

  “[i]n terms of price volume, actually, volume was greater than price in terms of our growth.” On

  February 3, 2016, after Valeant’s extraordinary price increases became the subject of widespread

  public attention and reproach, including probes by federal authorities, regulators, and lawmakers,

  Valeant issued a press release admitting that Pearson’s statement on the April 2015 conference call

  was false and that, in truth, Valeant’s growth was a result of its increasing the prices of its drugs.



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  This admission was detailed by, inter alia, The Wall Street Journal, in a February 2, 2016, article

  titled, “Valeant’s Sales Growth: Driven by Price Increases or Volume Growth?”

                 In a further effort to obscure Valeant’s reliance on the price increases facilitated by

  its captive network of pharmacies and other deceptive business practices, Valeant made critical

  changes to its disclosures to investors in 2013, making it difficult, if not impossible, to determine

  whether Valeant’s growth was attributable to its acquisition strategy or organic growth. First,

  Valeant refused to break-out the revenue numbers for major acquisitions, making it impossible for

  investors to track whether acquired drugs were experiencing any organic growth. In addition, as

  depicted in the chart below, Valeant reduced the number of operating segments from four to just

  two in 2013. Because various segments were driven by just a few main products, investors could

  previously track how those products were performing. But with just two operating segments, it

  became impossible for investors to obtain that same information.




         B.      Valeant’s Extraordinary Price Hikes

                 Valeant’s business strategy was predicated around inflating the Company’s stock

  price by reporting short term gains in order to create an illusory picture of Valeant’s business

  performance and prospects. These short terms gains undermined the long-term health of the

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  Company because price gouging (facilitated by deceptive marketing and distribution practices) is

  an unsustainable business practice that carries increased business, reputational, compliance, and

  regulatory risks. It also increases overall costs in the healthcare system and leads to push back

  from patients, physicians, pharmacies, and PBMs, as well as risks of nonpayment by payors.

                 Valeant acquired numerous “orphan drugs,” which are drugs used to treat rare

  medical conditions. Due to the small populations of patients that require these medications, orphan

  drugs face little to no competition, despite being past the point of protection from generics. In

  addition, because of the small patient populations, such drugs represented smaller portions of

  hospital and private payor budgets and drew less scrutiny. As a result, Valeant saw such drugs as

  a prime opportunity to boost revenue by increasing prices. While the higher prices could attract

  competition by generics, according to the Pharmaceutical Care Management Association

  (“PCMA”), generic drugs face a 42-month backlog at the FDA for approval because the FDA

  prioritizes breakthrough therapies. Valeant used this backlog to calculate the amount of time it

  could engage in price gouging to meet financial targets. For example, on December 26, 2014,

  Valeant’s consultant reported that “FDA Average Review Time for ANDAs [Abbreviated New

  Drug Application, a form used for generics] is 36-48 months.” As noted below, Valeant used other

  deceptive tactics to further delay generic competition by reducing or eliminating negative publicity

  and regulatory scrutiny of its price increases.

                 Valeant’s acquisition of Isuprel and Nitropress from Marathon Pharmaceuticals

  (“Marathon”) is an illustrative example of Valeant’s strategy of acquiring products and sharply

  increasing their price to exorbitant levels. In late 2014, Valeant began exploring the acquisition of

  Isuprel and Nitropress, which are heart medications used in emergency situations. The drugs were




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  owned by Hospira and moderately priced for years. Marathon acquired them and implemented

  significant price increases, but Defendants were far bolder and still saw money left on the table.

                  On December 3, 2014, Andrew Davis (“Davis”), Valeant’s Senior VP for Business

  Development, emailed Laizer Kornwasser (“Kornwasser”), Valeant’s EVP/Company Group

  Chairman, that another “opportunity company is [M]arathon, value is largely derived from 2

  hospital products they bought from Hospira which have no IP [intellectual property protections].”

  Steve Sembler, the general manager of Neurology responded that those two drugs “make up the

  VAST majority of revenue” at Marathon and “[t]his would also have to be a price play (if we

  determine there is upside to take price). . .”

                  Defendants worked in conjunction with consultants from Marketing Medical

  Economics (“MME”) to study the pricing of Nitropress and Isuprel. In a presentation, MME noted

  that Hospira had priced Nitropress at $47 in 2013. Marathon acquired the drug and increased the

  price to $214. Similarly, MME noted that Hospira had priced Isuprel at $48 in 2013. Marathon

  raised the price to over $200. MME claimed there was still “upward potential for pricing” on these

  drugs, adding that for Nitropress “most patients treated are in critical condition.”

                  Defendants also worked alongside consultants from Pearson’s former employer,

  McKinsey & Company (“McKinsey”), as they considered the potential for dramatically increasing

  the prices of Isuprel and Nitropress. On December 29, 2014, Aamir Malik, the co-leader of

  McKinsey’s global Pharmaceuticals & Medical Products Practice, wrote an email to Pearson and

  Davis regarding those and other drugs stating that they “have material pricing potential.”

  McKinsey also noted that “Smaller/older products (e.g., Isuprel and Nitropress) are not reviewed

  on formulary. . . . Products have been in the system for so long that reviews are practically rubber

  stamped.”



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                 Valeant’s analyses showed that generic competition would likely not arrive until

  mid-2017 with volume decreases each year following generic entry. As soon as the drugs were

  acquired, Pearson, Schiller, Davis, and others held a meeting to discuss price. Davis recommended

  a steep increase in price, but Pearson decided to raise prices even higher than recommended.

                 Isuprel and Nitropress provide examples of how dramatic price increases provided

  a short-term surge in profitability. The two drugs had total revenues of approximately $150 million

  in 2014. However, Valeant forecasted an increase to approximately $525 million for 2015 based

  on “Aggressive Pricing through consultant recommendation.” The increased revenue had nearly

  the same impact on bottom line profitability because, as Valeant’s Senior Director of Finance said

  in an email to Davis on March 24, 2015, the price assumptions “are leading to high gross margins

  (more than 99%).” By the end of 2015, Valeant recorded gross revenues from the sale of Isuprel

  and Nitropress of approximately $540 million against a cost of approximately $2 million.

                 These practices were wide-spread. According to a Deutsche Bank Securities Inc.

  (“Deutsche Bank”) analysis, in 2015 alone, Valeant raised prices on its brand-name drugs an

  average of 66%, approximately five times more than its closest industry peers. As another example

  of Valeant’s price gouging, 100 capsules of Syprine and 100 capsules of Cuprimine were priced at

  approximately $650 and $450, respectively, in May 2010. By July 2015, Valeant had raised the

  prices of Syprine to over $21,000 for 100 capsules (a more than 32-fold increase) and Cuprimine

  to over $26,000 for 100 capsules (a more than 58-fold increase), even though Valeant had spent

  little or no money on additional R&D relating to those medications. These products also had

  incredibly high margins as, for example, Valeant sold Cuprimine for approximately $240 in Brazil

  and $350 in Canada, roughly 1% of its price in the United States.




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                 Additional examples where Valeant dramatically increased the prices of the drugs

  it acquired included (i) Glumetza, a diabetes drug which was increased from approximately $900

  per 90 tablets to over $10,000 (a more than 11-fold increase); (ii) Targetin, a T-cell lymphoma drug

  which was increased from approximately $1,800 per tube to over $30,000 (a more than 16.7-fold

  increase); (iii) Carac cream, a drug for precancerous legions which was increased from

  approximately $230 to over $2,800 per tube (a more than 12-fold increase); (iv) Wellbutrin XL, an

  antidepressant, had eleven price increases during the Relevant Period as a one month supply of

  Wellbutrin XL costs approximately $1,400 while its generic counterpart costs just $30; (v) Addyi,

  a recently FDA approved “Female Viagra” drug, was increased by 100% immediately following

  Valeant’s acquisition of the drug from Sprout; and (vi) Mephyton, a drug that helps blood clot, has

  seen eight price increases since July 2014, costing $58.76 a tablet, up from $9.37.

                 According to a Territory Manager for Valeant from July 2012 to February 2013,1

  Valeant “kept raising the prices of 20 to 30 year old drugs, 30 to 40 percent and laying off [sales]

  reps.” The former Territory Manager stated that drug prices were increased “exorbitantly” when

  “everything should be generics,” and saw no reason for the price increases because “all the R&D

  had been paid for,” and so there were no additional costs associated with manufacturing the drug.

  The former Territory Manager noted that she had sold some of the drugs twenty years ago.




  1
    Valeant’s Territory Manager from July 2012 to February 2013, referred to herein, worked for
  Valeant/Medicis in the Company’s Los Angeles, California office. As a Territory Manager, she
  received email communications about price increases for Valeant products and the reasons offered
  for those increases. She also learned relevant information about Valeant’s practices and policies
  with respect to sales, pricing, and fulfillment through personal interactions with numerous sales
  representatives from Valeant, Philidor, and Medicis.

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         C.      Valeant’s Deceptive Use Of “Patient Assistance Programs”

                 Valeant routinely and systematically caused waiver of patient copays when

  submitting claims to insurance companies and other TPPs. As a result, Valeant was able to sell

  medically unnecessary and low-value drugs, and to sell them at artificially inflated prices, by

  removing a critical mechanism used to limit the use of such medically unnecessary, low-value

  drugs. The undisclosed waiver of copays led patients to obtain higher priced Valeant drugs rather

  than lower priced generic substitutes, and to obtain unnecessary refills, whose costs were

  reimbursed by the insurance companies and other TPPs. Had Defendants charged copays, patients

  would have had the intended economic incentive to choose lower cost generic drugs and to avoid

  unnecessary prescriptions, thereby reducing unneeded costs that were ultimately born by the

  insurance companies and other TPPs. Further, had Defendants properly disclosed their routine

  waiver of patient copays, PBMs and TPPs would not have paid the prices they did for the relevant

  Valeant-branded drugs, or paid for them at all.

                 Valeant’s total spend on PAPs increased by over 11-fold from 2012 to 2015, from

  $53 million to $600 million, respectively, with expectations for PAPs spending to reach over

  $1 billion in 2016. In comparison, the Company’s revenues increased by less than 3-fold, in the

  same time period, from $3.5 billion in 2012 to $10.4 billion in 2015.

                 Traditionally, PAPs are intended to ensure that patients without the financial means

  to purchase high priced drugs are not deprived of critical medications. Valeant manipulated its

  PAPs into another deceptive tactic to conceal its price gouging from private payors. While

  Valeant’s increased financial assistance appeared to be increased support for patients needing

  financial aid, in truth, Valeant waived or reduced patient obligations for high-priced Valeant drugs

  to reduce patient complaints, patient refusal to accept unnecessary refills or enrollment in

  automatic refill programs, and negative publicity.
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                 Given the federal anti-kickback laws prohibiting such practices involving

  government payors, Valeant targeted its PAP practices toward patients with private insurance.

  However, engaging in such activities left Valeant open to potential violations of state fraud and

  deceptive practice statutes and contract terms. It also increased the risk that private insurers would

  apply extra scrutiny to Valeant or refuse to reimburse Valeant prescriptions.

                 During the April 27, 2016 House Oversight Committee and the Committee on

  Aging of the U.S. Senate (“Senate Aging Committee”) hearings relating to Valeant, Senator

  Elizabeth Warren (“Warren”) asked Pearson “[w]hy don’t you use these co-pay reduction programs

  for federal government insurance programs, like Medicare Part D or Medicaid,” to which Pearson

  acknowledged “we’re not allowed to.” Senator Warren responded, “Yeah, because it’s illegal.”

  She explained that “[t]hese programs are illegal because Medicare and Medicaid understand that

  the programs are scams to hide the true cost of the products from the consumer and drive up the

  cost of all the taxpayers.”

                 Mark Merritt (“Merritt”), President and CEO at the PCMA, which represents

  PBMs, explained to Congress at a hearing on Valeant that PBMs “encourage the use of generics

  and more affordable brand medications.” He noted that PBMs restrain drug costs by “using

  differential copays and other tools to encourage patients to choose more affordable options.”

  Merritt explained that the pricing and marketing tactics by Valeant were designed to reduce

  “resistance to higher prices.” He testified that by providing copay coupons to encourage patients

  to bypass generic and cheaper drugs “for higher cost branded drugs,” Valeant forced third party

  payors “to pay hundreds of thousands more for the most expensive brands on the formulary.”

  Echoing Senator Warren, Merritt stated that “such practices are considered illegal kickbacks in

  federal programs.”



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                 As Valeant dramatically increased drug prices, it directed patients into its secret

  network of pharmacies and offered discounts as a means to quell any pushback on price increases.

  Valeant developed a PR strategy to divert attention from any negative media regarding patient

  complaints over massive price increases by highlighting their purported increased PAPs.

                 An internal Valeant analysis outlining the Company’s “Orphan Drug Model” for

  Syprine, Cuprimine, and Demser reflected this strategy. The analysis stated “Take initial 25%

  price increase to drive patients into the restricted distribution model,” and noted that “[h]igh

  deductible copay requires increased foundation support.” The analysis “assume[d] target price

  increases of 100% for Demser and Cuprimine” and “price target increases of 500% for Syprine.”

                 Another internal Valeant presentation detailed the proposed launch of a new PAP

  called “Valeant Coverage Plus Program.” The presentation plainly stated that “[t]he program will

  be funded through planned price increases [i.e. funded by higher prices to payors rather than by

  Valeant].” The analysis directed adjudicators to “[u]tilize all of patient resources prior to co-pay

  mitigation or foundation assistance” when adjudicating claims and to use a “[p]atient assistance

  program or free goods as last resort.” The presentation noted that Valeant had an opportunity to

  expand utilization “for niche brands” that “[i]nvolves a combination of alternative/restricted

  distribution model, advocacy support and patient assistance programs” along with “planned

  pricing actions expected to maximize overall returns.”

                 The presentation also identified the risks of such tactics (that were concealed from

  investors), including that “[s]ubstantial price actions could attract undue negative publicity from

  patients, HCP’s, payors, and/or government agencies” and “Managed Care plan actions against

  products could limit/restrict re-imbursement.” To address the risks, the presentation included a

  “PR Mitigation” plan to “[p]rivately address concerns from patients, insurance companies or



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  managed care providers to prevent public displays of negative sentiment” and “[m]inimize media

  coverage of the pricing increase.”

                 The presentation included a June 4, 2013 “PR Draft Communications Plan: Orphan

  Drug Rate Increases,” which noted that orphan drugs “often command a substantial premium in

  the market – to offer pharmaceutical companies a greater return on investment.” It explained that

  “[w]hile the high cost of orphan drugs has been largely tolerated by the medical community

  because the overall impact of these pharmaceuticals on health budgets has been relatively small,

  there has recently been a renewed focus on the cost of these drugs.” The presentation warned that

  the “press has also picked up on these trends” and Valeant’s planned price increases on drugs to

  treat Wilson’s disease “needs to be managed carefully.”

                 As part of the PAP and PR strategy, the presentation also encouraged false and

  misleading responses to inquiries about price increases. A draft Q&A directed that the response to

  the question of “Isn’t Valeant just trying to make insurers and managed care providers pay as much

  as possible for these drugs?” was: “No. These rate increases are essential to ensure that Valeant is

  able to continue to offer these important pharmaceuticals to our patients who are afflicted with

  Wilson’s disease while also remaining commercially viable.” In truth, Valeant’s costs of producing

  these drugs had not increased and the price increases (which resulted in gross margins exceeding

  90%) were not required to keep Valeant commercially viable. Kornwasser essentially conceded

  the fact that Valeant was using price increases to chase outsized profit margins when he wrote a

  May 2014 email stating, “These patients are too valuable to lose.”

                 For example, Valeant employed its PR strategy on Berna Heyman, a patient who

  testified at the April 27, 2016 Senate Aging Committee hearings as to her experience with Valeant

  and Wilson’s disease. On November 1, 2013, Ms. Heyman wrote to Pearson that she was



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  “outraged . . . by the unbelievably steep increases in prices charged for Syprine.” She wrote “to

  ask for an explanation of how the drug costs could have increased so dramatically.”                On

  December 9, 2013, Valeant’s customer service department responded (following the PR strategy)

  that “there are many challenges associated with developing treatments for rare conditions such as

  Wilson’s disease, the investments we make to develop and distribute novel medicines are only

  viable if there is a reasonable return on the company’s investment and if our business is

  sustainable.” This was dishonest because despite Valeant’s massive price increase for Syprine,

  Valeant was not reinvesting in R&D to find better treatments for Wilson’s disease.

                 Thereafter, Valeant continued raising prices and Ms. Heyman’s copay increased to

  over $10,000 per year with her insurance company paying $26,000 per year. Ms. Heyman could

  not afford the copay and was forced to use an alternative and, in her view, less desirable treatment.

  However, once Ms. Heyman took her complaints to the media, Valeant responded by offering her

  financial assistance, sending her flowers, and offering free medication for life, while continuing to

  charge the exorbitant prices to other patients.

                 Pearson monitored such complaints. For example, in January 2015, Drew Katz

  (“Katz”) wrote an email to Bill Ackman (“Ackman”), CEO of Pershing Square and a Director of

  Valeant, complaining that “Valeant charges approximately $300,000/yr for the average does [sic]

  needed for a patient with WD [Wilson’s disease] (200X higher than Merck charged when it owned

  the drug. Merck did not raise its rates for . . . 20 years.” Katz noted that “[w]e hear that healthcare

  providers are now beginning to deny coverage due to the cost of the drug. And those without

  coverage are in real trouble.” Ackman forwarded the email to Pearson warning that “Drew is a

  very politically connected and influential person.”




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                 Valeant also targeted its deceptive assistance programs at hospitals and other health

  care providers, which came to light in the Senate Aging Committee hearings. In a letter to Senator

  Claire McCaskill (“McCaskill) dated October, 30, 2015, Pearson stated “for those institutions

  where the impact [of price gouging] was significantly greater, we are beginning to reach out to

  hospitals to determine an appropriate pricing strategy.” Soon thereafter, Valeant announced a 30%

  discount program. But at the April 2016 hearings, Senator McCaskill noted that she had not found

  a single hospital that had received the discounts. Hospital affiliated witnesses at the hearing also

  denied receiving the discounts and several more sent letters to the Senate Aging Committee stating

  they had not received any such discounts.

                 For example, Cleveland Clinic noted that it called Brian Stolz (“Stolz”), former

  Vice President of Valeant, to ask about the discounts, and Stolz promised to get back to them but

  never did. Similarly, University of Utah Health Care wrote to the Senate Aging Committee that

  “Valeant noted in a letter to Ranking Member McCaskill that their company would be reaching

  out to hospitals that were impacted by the new pricing” but when they called “Valeant refused to

  talk to me about better contracted prices.” Valeant essentially conceded that Pearson’s claim was

  inaccurate, when, on April 23, 2016, Stolz submitted a written response admitting that “[a]s of this

  date, Valeant has not entered into contracts with individual hospitals to provide volume-based

  discounts for Nitropress and Isuprel” but had entered into contracts with only three hospital groups.

  Valeant issued a public statement that they formed a committee which was working to “develop

  solutions so any hospital that is eligible for discounts on Nitropress and Isuprel receives them,”

  and Stolz left the Company.

         D.      Valeant’s Secret Pharmacy Network

                 In order to insulate its brand name drugs from generic competition and boost sales,

  Valeant embarked on a scheme to funnel sales of its branded drugs through a nationwide network
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  of captive pharmacies. Through this secret network, Valeant insulated its products from generic

  competition by, among other things, flouting statutory or contractual mandates requiring

  substitution of generic equivalents for Valeant-branded drugs and submitting false claims

  information to TPPs and PBMs. This fraudulent scheme enabled Valeant to massively increase

  the price of its drugs and inflate the number of claims paid on prescriptions for those drugs. As a

  result, TPPs and PBMs overpaid for Valeant’s expensive branded drugs, were prevented from

  obtaining cheaper generic alternatives, and paid for drugs that should never have been dispensed,

  inflating Valeant’s stock price.

                   At the center of this network of captive pharmacies was Philidor.              On

  January 2, 2013, Philidor was incorporated as a purportedly independent specialty mail order

  pharmacy. During the Relevant Period, Philidor was licensed in 45 states and the District of

  Columbia.

                   During the Relevant Period, Philidor falsely held itself out to be a “specialty

  pharmacy.”      However, true specialty pharmacies focus on self-administered specialty drugs

  covered under a patient’s pharmacy insurance benefit. Such specialty drugs are almost always

  highly differentiated brand-name drugs for patients undergoing intensive therapies for chronic,

  complex illnesses such as cancer and HIV. Often, such drugs come in the form of self-administered

  injections or require constant refrigeration. Philidor, on the other hand, was principally devoted

  to dispensing Valeant’s undifferentiated traditional drugs – principally its dermatological products

  – most of which had low-cost generic substitutes. Indeed, as Philidor has admitted, Valeant was

  Philidor’s “only client.”2




  2
      See Business Insider, October 22, 2015.

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                 Valeant employees worked with Philidor’s founders to set up the pharmacy in 2013.

  One month before Philidor was incorporated, Valeant hired manager Gary Tanner (“Tanner”) to

  act as the drug company’s special “liaison” with Philidor and help ramp up the pharmacy’s

  operations. Likewise, on the same day Philidor was incorporated, Valeant hired Kornwasser – a

  former senior executive at Medco – to oversee Valeant’s relationship with Philidor. Kornwasser,

  who supervised Tanner, reported directly to Valeant CEO Pearson. Immediately upon being hired,

  Kornwasser received nearly $5 million in equity awards. Both Kornwasser’s prominence in

  Valeant’s organizational structure and his outsized compensation demonstrate that Valeant viewed

  its relationship with Philidor as critical to the Company’s success. Tanner and Kornwasser were

  key employees who remained closely involved in the details of running the pharmacy, including

  expanding its business.

                 During the Relevant Period, Valeant installed a cadre of its employees within

  Philidor (in addition to Tanner and Kornwasser) to supervise operations at the pharmacy and

  fraudulently increase the sale of Valeant drugs. For instance, Valeant placed a 30-person team

  inside Philidor with instructions to show doctors how to direct patients to Valeant products. At

  different points in Philidor’s evolution, Valeant employees were responsible for performing a

  variety of key business functions for the pharmacy, including interviewing Philidor job applicants

  and overseeing the pharmacy’s billing operations.

                 In order to conceal Philidor’s connection to Valeant, these employees used aliases

  when sending emails from Philidor accounts. For example, one Valeant employee who also

  worked for Philidor, Bijal Patel, was instructed to use “Peter Parker” as an alias (the comic book

  character Spiderman’s real name) when sending emails from his Philidor account to obscure the

  fact that he was employed by both Valeant and Philidor. For the same reason, other Valeant



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  employees used email aliases such as “Jack Reacher” (the protagonist of a series of books written

  by Lee Child) and “Brian Wilson” (the lead singer and songwriter of the Beach Boys).

                 Valeant’s ties to Philidor went beyond personnel. On December 15, 2014, Valeant

  richly rewarded Philidor’s owners when it paid $100 million for the option to acquire Philidor for

  $0 for ten years, plus various milestone payments based on Philidor’s sales. The first milestone

  payment of $33 million was paid on January 15, 2015. The remaining milestone payments were

  tied to Philidor hitting sales targets. Valeant’s little known subsidiary, KGA, was used to obtain

  the option to acquire Philidor. Notably, the Purchase Option Agreement provided that Philidor

  was to enter into a purchase agreement with Isolani and Lucena (discussed below) as a condition

  to the acquisition and stated that Philidor’s business “ha[d] been conducted in the Ordinary Course

  of Business” since December 31, 2013.

                 The Philidor purchase agreement also gave Valeant, through KGA, the right to form

  a joint steering committee to “assess and discuss” matters relating to legal compliance and

  Philidor’s “internal policies, manuals and processes,” including amending existing policies or

  establishing new ones.      Significantly, it documented Valeant’s right to “make the final

  determination” regarding all matters with respect to “the Strategic Plan of Philidor” and “the

  compliance of [Philidor] with applicable Legal Requirements, Contractual obligations (including

  agreements with Third Party Payors) and the Company’s internal policies and manuals” in the

  event of any tie of the joint steering committee members. The agreement provided for meetings

  and reviews of Philidor’s strategic plan and compliance matters, including Philidor’s policies and

  manuals. The joint steering committee also had “the right to review, prior to their submission, all

  applications of the Company for licenses and permits (including state pharmacy licenses).”




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                 On December 15, 2014, Valeant and Philidor entered into a distribution and services

  agreement.    In the agreement, which superseded a Medicis services agreement dated

  January 11, 2013, Philidor represented it would “operate in full compliance with all licenses and

  permits required by Laws and all contracts with participating insurance companies and Third Party

  Payors.” The agreement gave Valeant the right to inspect Philidor’s policies and procedures and

  do site visits to verify such compliance. Kellen signed on behalf of Valeant with Andrew

  Davenport (“Davenport”), Philidor’s CEO, signing for Philidor.          Products covered by the

  agreement included, among others, Elidel, Jublia, and Solodyn.

                 Multiple former employees of Valeant/Philidor have confirmed Valeant’s control

  over Philidor based on their personal experiences. For example, when asked if Valeant had control

  over Philidor, a Patient Care Specialist at Philidor from June 2015 to November 20153 stressed

  that “without them, we can’t be in business.” She cited Philidor’s reliance on its ability to

  “administer a copay program on behalf of the manufacturer” as the reason a relationship with

  Valeant was necessary. Similarly, when asked what control Valeant had over Philidor, Valeant’s

  Territory Manager from July 2012 to February 2013 (see ¶57 n.1) stated “the job of the Philidor

  reps were [sic] to make sure everything went through for Valeant.” There was “no other job than

  that.” Through personal connections, she learned that Philidor sales reps were given bonuses as

  high as $40,000 per quarter to ensure that all of Valeant/Medicis’ products were sold through




  3
    Philidor’s Patient Care Specialist from June 2015 to November 2015, referred to herein, worked
  in the company’s Philadelphia, Pennsylvania office. She was responsible for answering calls from
  patients and guiding them through the patient assistance program. Through this role, she had direct
  knowledge of Philidor/Valeant’s practices and programs with respect to patient copays, and what
  programs and reductions were available to each patient. For example, the former Patient Care
  Specialist received orders from managers on how to interact with patients.

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  Philidor. The former Territory Manager recalls at least ten employees being “promoted” to Philidor

  from Valeant/Medicis during her time with the Company.

                 After Philidor was formed, Defendants created a host of shell companies tied to

  Philidor, which they used to acquire interests in smaller retail pharmacies all over the United States

  and secretly extend their captive pharmacy network. Indeed, Defendants created a network of at

  least 76 “phantom” pharmacies by causing Philidor or its affiliates to file with state regulators

  pharmacy applications on behalf of various shell companies that Valeant and Philidor used to

  implement their scheme.         In order to keep their captive pharmaceutical network a secret,

  Defendants caused the shell companies to make false and misleading statements in pharmacy

  applications filed with state regulators that failed to disclose the companies’ relationship with

  Valeant and Philidor. For example, Philidor submitted an application with the California State

  Board of Pharmacy on or about August 15, 2013, that contained numerous false and misleading

  statements designed to hide Valeant’s control over Philidor. In that application, the California

  State Board of Pharmacy found that Philidor and its CEO Davenport, while under penalty of

  perjury, falsely represented:

                  that Alan Gubernick was Philidor’s accountant and bookkeeper, when
                   in reality it was Gregory W. Blaszczynski, who, unbeknownst to state
                   regulators, was an employee of BQ6 Media, an instrumentality of
                   Valeant and Philidor;

                  that there were no individuals or entities with a beneficial interest in
                   Philidor;

                  that there were no owners or shareholders of Philidor, when in fact
                   there were sixteen;

                  that there were no persons with a beneficial interest in Philidor, when
                   in fact there were sixteen;

                  that there were no entities with 10% or more ownership interest in
                   Philidor; and


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                  that Davenport himself was not an owner of Philidor, when in fact he
                   owned a 27% stake in the company.

                 On May 16 2014, the California State Board of Pharmacy denied Philidor’s

  application, finding that Philidor and Davenport knowingly made false statements concerning

  these topics, and that they made these statements “with the intent to substantially benefit [Philidor

  and Davenport],” and that Philidor and Davenport, by virtue of their false statements, were “guilty

  of unprofessional conduct.” The California State Board of Pharmacy affirmed its denial of

  Philidor’s pharmacy license in February 2016.

                 According to published reports, less than 1% of applications for this particular

  license are denied.

                 Undeterred by the California State Board of Pharmacy’s findings and determined

  to gain access to the California market, the largest insurance marketplace in the United States,

  Defendants caused a Valeant/Philidor-controlled shell company, Lucena Holdings (“Lucena”), to

  acquire a stake in a California pharmacy called “West Wilshire Pharmacy” in an effort to

  circumvent the Board of Pharmacy’s licensing denial. In a “Change of Permit Request” filed with

  the California State Board of Pharmacy on September 24, 2014, Defendants caused Lucena to

  falsely represent that Lucena did not have a parent company; that the only entity or individual with

  an interest in Lucena was Gregory W. Blaszczynski, who, unbeknownst to state regulators, was an

  employee of BQ6 Media, an instrumentality of Valeant and Philidor; and that Lucena’s CEO and

  pharmacist-in-charge, Sherri Leon, was not, and had never been, “associated in business with any

  person, partnership, corporation, or other entity whose pharmacy permit . . . was denied.” In fact,

  Leon was Philidor’s Director of Pharmacy Operations, and California had denied Philidor’s

  pharmacy application earlier that same year.




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                 Similarly, Philidor caused another shell company, Isolani, LLC (“Isolani”), to

  purchase a California-based mail order pharmacy, in an agreement dated December 1, 2014. After

  Philidor’s purchase through Isolani, R&O began dispensing thousands of prescriptions, dwarfing

  the size of its business prior to its acquisition by Philidor/Valeant. These new prescriptions were

  extraordinarily expensive for simple dermatological conditions like acne or eczema – all for drugs

  manufactured by Valeant. It was only when R&O began its own investigation into Philidor that it

  discovered the relationship between Philidor and Valeant. In connection with its purchase of R&O,

  Isolani concealed from California regulators its relationship with Philidor and Valeant.

                 To date, Defendants have not disclosed the full scope of Valeant’s secret pharmacy

  network and the identities of all the pharmacies and shell companies that comprised Valeant’s

  secret network of pharmacies. However, elements of that network have become public. For

  example, the below chart illustrates one segment of Valeant’s retail pharmacy network, the

  California associates in Valeant’s secret network of pharmacies that have been revealed to date,

  and the byzantine corporate structure Valeant used to maintain its secrecy:




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                 Defendants also misled state regulators in Texas. Defendants caused Back Rank,

  LLC (“Back Rank”), a Philidor-controlled shell company, whose managing member, James R.

  Fleming, was Philidor’s Controller, and whose address is the same as a listed Philidor mailing

  address, to take ownership of Houston-based Orbit Pharmacy, Inc. (“Orbit”). In a September 2015

  application filed with the Texas State Board of Pharmacy, Defendants caused Orbit to falsely

  represent that no state had ever denied a pharmacy application filed by any of the “the pharmacy’s

  owner[s] or partner[s].” In reality, as detailed above, California had denied Philidor’s pharmacy

  application the previous year. Orbit’s false and misleading representation concealed its connection

  with Philidor and Valeant from state regulators.4

         E.      Valeant Uses Its Secret Pharmacy Network To Insulate Its Branded
                 Drugs From Generic Competition, Inflate Prices, And Book Fictitious Sales

                 While Valeant’s success was predicated on its ability to sell the drugs it acquired at

  inflated prices, such a strategy would ordinarily have been impossible to execute because many of

  these drugs have cheaper generic equivalents. Ordinarily, pricing a brand-name alternative to a

  generic drug at a huge premium would have caused that product to lose market share to the point

  where such a price increase would be unprofitable. A primary purpose behind Defendants’ secret



  4
     “Philidor” is a reference to 18th Century chess master Francois-Andre Philidor and his
  eponymous Philidor defense. Like Philidor, many of the shell companies Defendants used to build
  their covert pharmacy network had chess-related names. “Lucena” and “Back Rank,” both
  discussed above, refer to endgame chess strategies, while “Isolani” is a term for an isolated queen’s
  pawn. A sampling of the numerous additional shell companies in Defendants’ captive network, all
  registered in Delaware, likewise share chess-related names: (i) Fifty Moves, LLC is a reference to
  the “Fifty Move Rule”; (ii) ELO Pharmacy LLC is a reference to the ELO chess ranking system;
  (iii) C-K Pharmacies LLC is a reference to the Caro-Kahn chess defense; (iv) Tarrasch Pharmacy
  Holdings, LLC is a reference to Siegbert Tarrasch, an acclaimed 19th Century chess master;
  (v) NC3 Pharmacy LLC is a reference to the Dunst Opening (a strategy popularized by American
  chess player Ted A. Dunst); and (vi) Lasker Pharmacies, LLC is a reference to the 19th Century
  chess player Emmanuel Lasker.


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  network of pharmacies was to ensure that Valeant’s branded drugs would be insulated from generic

  competition at the retail outlet, where such competition plays out as a result of the incentives to

  pharmacies and patients. Valeant’s dermatological products are especially sensitive to such

  competition.

                 Through Valeant’s secret network of pharmacies, Defendants were able to channel

  prescriptions for Valeant’s branded drugs, including those ostensibly dispensed by smaller retail

  pharmacies in their captive network, through Philidor, where Valeant and Philidor employees used

  various fraudulent means to ensure Valeant’s branded drugs – and not generics – were dispensed.

  Fourteen states, including Pennsylvania (the state in which Philidor is headquartered), require

  pharmacists to substitute generic equivalents for branded drugs. Moreover, contracts between

  pharmacies and TPPs or their PBM agents typically require the pharmacy to dispense a generic

  substitute for a branded drug where available. Defendants’ refusal to substitute generic alternatives

  for expensive Valeant-branded drugs, despite their widespread availability, violated these statutory

  and contractual mandates.

                 In fact, contrary to these requirements and unknown to patients, physicians, and

  payors, Philidor’s internal policy mandated that Valeant-branded drugs be dispensed, even when a

  prescription expressly called for a generic. For example, an Adjudication Specialist at Philidor

  from July 2015 to November 20155 said that she was instructed by superiors to never dispense




  5
    Philidor’s Adjudication Specialist from July 2015 to November 2015, referred to herein, worked
  in Philidor’s Horsham and Hatboro, Pennsylvania offices. As an Adjudication Specialist, she
  worked directly with insurance companies and other TPPs on behalf of Philidor to ensure that
  Valeant products were supplied and paid for, and has knowledge of the various discount codes
  used to privately reduce drug prices and patient copays when Philidor encountered resistance from
  insurance companies or other payors to the high price of Valeant drugs and products. If an
  insurance company refused to provide any coverage for the drug, the former Adjudication
  Specialist was responsible for reducing the patient’s copay as much as possible to fulfill the order.
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  generic drugs. According to the Former Adjudication Specialist, even when a prescription said a

  generic could be substituted, Philidor told employees to always put “brand” in Philidor’s computer

  system and to change the prescription in order to dispense a brand drug. Indeed, her supervisor

  told her that “We do not dispense generics. You give them the brand drugs.” When the former

  Adjudication Specialist received a prescription for a generic drug and entered a generic drug into

  the system, her supervisor said that doing so was wrong and to enter “brand” into the system

  instead.

                 By minimizing generic substitution and, thus, substantially shielding Valeant-

  branded products from generic competition, Defendants were able to inflate the prices of Valeant’s

  drugs far beyond the prices at which the drug had previously been marketed and sold, both within

  Valeant’s captive pharmacy network and by pharmacies outside of Valeant’s network. Indeed,

  documents obtained by the Congressional Committee on Oversight and Government Reform

  through its investigation into Valeant’s misconduct revealed that Valeant first identified goals for

  revenue and then set drug prices to reach those goals.

                 For example, Defendants’ scheme allowed Valeant to triple the price of Wellbutrin

  XL, an off-patent antidepressant Defendants sold through Philidor and the captive pharmacy

  network, from less than $6,000 to $17,000 for a year’s supply of the drug, compared to $360 for a

  year’s supply of Wellbutrin XL’s generic equivalent. Astonishingly, despite falling prescription

  rates for Wellbutrin XL and the availability of a generic alternative that costs one-fiftieth the price,




  If something “didn’t fit,” the Adjudication Specialists were to make it fit. In order to lower patient
  copays, the former Adjudication Specialist was directed by Philidor’s main branch in Arizona to
  enter a variety of discount codes into the Philidor computer system. She was also told to run
  internet searches for “Jublia discount” or “Valeant discount” for codes to reduce costs when
  insurance companies or other TPPs refused to pay for high-priced Valeant medications.

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  Defendants’ scheme allowed Valeant to double the revenue generated by Wellbutrin XL. These

  results could only be possible in a rigged market.

                 Likewise, Defendants’ scheme allowed Valeant to increase the price of its

  dermatology drugs – drugs that have far cheaper generic bioequivalents – by extraordinary

  amounts. For example, in February 2013, Valeant acquired Tagretin gel from Eisai Co., Ltd., and

  in 2015, after Valeant had incorporated Philidor, dramatically increased the price of Tagretin gel

  such that the cost of the treatment rose from approximately $12,176 at the beginning of the

  Relevant Period to over $30,320 by 2015 – an increase of more than double.

                 From 2014 to 2015 alone, Valeant dramatically increased the prices of more than

  50 other drugs. While the Company referred to this strategy of increasing drug prices as

  “optimization,” in reality, these price increases were effectuated through Defendants’ deceptive

  practices. The below chart illustrates the increases that Defendants implemented for certain of

  Valeant’s drugs during the Relevant Period:

            Valeant Drug          From       Through        Years          Percent Increase
   Carac Cream                   Q1-13      Q3-15         2.50          557%
   Wellbutrin XL 300 MG          Q1-13      Q3-15         2.50          381%
   Tablet
   Tretinoin 0.1% CRM            Q2-14      Q3-15         1.25          328%
   Vanos 0.1% CRM                Q1-13      Q3-15         2.50          279%
   Targretin 60g 1 % Gel         Q1-13      Q3-15         2.50          250%
   Aldara 5% CRM                 Q1-13      Q3-15         2.50          223%
   Xerese 5%-1% Cream            Q1-13      Q3-15         2.50          216%
   Noritate 1% Cream             Q1-14      Q3-15         1.50          212%
   Migranal Nasal Spray          Q1-13      Q3-15         2.50          159%
   Loprox 1% Shampoo             Q1-13      Q3-15         2.50          145%
   Atralin 0.05% Gel             Q1-13      Q3-15         2.50          135%


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   Dihydroergotamine             Q1-14      Q3-15         2.50           90%
   Mesylate 4 MG/ML Nasal
   Spray
   Jublia (Efinaconazole         Q2-14      Q3-15         1.25           20%
   topical solution 10%)

                 Ordinarily, the fact that a high volume of claims for expensive branded drugs from

  a single manufacturer were coming from a single pharmacy that was failing to substitute generic

  drugs for any of that manufacturer’s drugs – i.e., Philidor – would have triggered heightened

  scrutiny and denials of claims from PBMs and scrutiny of the pharmacy’s practices. However, by

  concealing Valeant’s relationship with Philidor, its relationships with its network of pharmacies,

  and the pharmacies’ relationship to each other, Defendants were able to spread claims across

  ostensibly unrelated pharmacies. This caused Defendants’ deceptive practices to go undetected by

  creating the false impression that scores of pharmacies had independently determined to dispense

  Valeant’s high-priced branded drugs for legitimate reasons and burying fraudulent claims among

  the large volume of the pharmacy network’s claims.

                 Accordingly, secrecy was essential to Defendants’ scheme, and Defendants went to

  great lengths to ensure that Valeant’s ownership of Philidor and its network of captive retail

  pharmacies remained concealed from the public, including from TPPs and PBMs. For example,

  neither Philidor nor any of the other captive pharmacies in Defendants’ network disclosed to the

  TPPs or PBMs – with whom they were negotiating contracts, reporting audits, submitting claims

  or otherwise transacting business – their relationship with Valeant.

                 Secrecy was so important to Defendants’ scheme that former Philidor employees

  were forbidden and even reprimanded if they mentioned Philidor’s relationship with Valeant to




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  customers. For example, a Call Center Agent at Philidor from August 2014 to October 2014,6

  received a written warning by Greenfield, Philidor’s Director of Sales who reported directly to

  Philidor CEO Davenport, in October 2014 when she mentioned Valeant in a recorded phone call.

  Greenfield told the former Call Center Agent that she would be fired if Valeant was mentioned to

  a customer again, and told her that mentioning Valeant’s relationship to Philidor on a patient call

  “was putting the entire business at risk.” In an October 2014 meeting, Greenfield provided the

  former Call Center Agent with a written warning about mentioning Valeant by name in a patient

  phone call. The former Call Center Agent was required to sign the warning, but was not allowed

  to keep a copy.

                    Other former Philidor/Valeant employees recall instances where they were told to

  keep the relationship a secret. For example, in May of 2015, a Customer Service Representative

  at Philidor from April 2015 to June 2015,7 was instructed by his supervisor not to mention Valeant

  anymore on calls with customers. The former Customer Service Representative, who has prior

  experience working in managed care, was reprimanded because he would “get too much into the

  insurance field of things” with Philidor patients.



  6
    Philidor’s Call Center Agent from August 2014 to October 2014, referred to herein, worked in
  the company’s Phoenix, Arizona office. She handled incoming calls from patients with
  prescriptions for Valeant drugs and/or capable of being filled with Valeant-branded drugs. She
  reported to Brad Greenfield (“Greenfield”), who managed Philidor’s Phoenix office and who
  reported directly to Davenport, Philidor’s CEO. The former Call Center Agent took direct orders
  from Greenfield and learned of Philidor’s practices and policies with respect to Valeant products
  through Greenfield.
  7
    Philidor’s Customer Service Representative from April 2015 to June 2015, referred to herein,
  worked in Philidor’s Phoenix, Arizona call center. The former Customer Service Representative
  was responsible for answering patient calls and performing intake procedures, such as taking and
  processing orders for brand name pharmaceuticals, and updating patient information. The former
  Customer Service Representative interacted with patients on a regular basis, often responding to
  inquiries regarding the pricing of medications and the patient assistance program. He reported to
  Greenfield, who, in turn, reported directly to Davenport.

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                 Similarly, Valeant never disclosed Philidor in any of its SEC filings during the

  Relevant Period prior to October 19, 2015. Likewise, Philidor never publicly discussed the nature

  of its relationship to Valeant prior to October 19, 2015.

                 Maintaining the secrecy of the Valeant-Philidor relationship was so important to

  Defendants that in September 2015, Philidor began requiring employees to sign confidentiality

  agreements empowering the pharmacy to sue workers who divulged information about its

  activities. A Patient Care Specialist at Philidor from June 2015 to November 2015 (see ¶84 n.3)

  recalls Philidor instructing her to sign a non-disclosure in September 2015.

                 In furtherance of their fraudulent scheme, Defendants made a host of false and

  misleading statements directly to TPPs, their PBM agents, and their members/beneficiaries in

  order to improperly maximize the reimbursements paid by TPPs and to boost Valeant’s drug sales.

  Many aspects of Defendants’ fraudulent schemes are catalogued in manuals distributed to Philidor

  employees to guide their handling of claims submitted to TPPs. Those manuals explained to

  employees that “[w]e have a couple of different ‘back door’ approaches to receive payment from

  the insurance company.” As explained in further detail below, those “back door approaches”

  included altering prescription information, making claims for refills that were never requested by

  patients, and misrepresenting the identity of dispensing pharmacies in order to bypass denials of

  claims for Valeant drugs. Internal emails, including a July 19, 2015 email from Philidor’s CEO

  Davenport, reveal that Valeant and Philidor senior management were well aware of these practices.

                 First, Defendants instructed Philidor employees to change codes on prescriptions –

  i.e., to deliberately alter the prescribing doctor’s instructions as set forth in the prescription – to

  require that the prescription be filled with Valeant’s brand-name drugs, as opposed to less

  expensive generic alternatives. While pharmacists who receive a prescription for a branded drug



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  will ordinarily dispense a generic substitute if available, doctors can indicate that the prescription

  be “dispensed as written” and order that no substitutions be made. As reported by Bloomberg on

  October 29, 2015, former Philidor employees have confirmed that pharmacies in Valeant’s

  network, acting on written instructions in claims-handling manuals issued by Defendants, routinely

  altered doctors’ prescriptions in order to ensure that more patients received Valeant products rather

  than less costly generics. These employees explained that this fraud was frequently implemented

  with respect to certain key Valeant dermatologic products that encountered repeated denials from

  TPPs, such as Retin-A Micro and Vanos.

                 In deliberately altering prescribing doctors’ instructions for prescriptions, Philidor

  employees engaged in at least two types of fraudulent conduct. When TPPs denied claims for

  these drugs, Philidor employees circumvented those denials by resubmitting the claims with

  altered prescription codes that falsely represented the prescribing doctor had ordered that only

  Valeant drugs be dispensed and that no generic substitutions were permitted. Moreover, in

  resubmitting these denied claims, Philidor employees falsely resubmitted these claims as new

  claims, misrepresenting the fact that these claims had previously been denied.

                 Second, Defendants also used false pharmacy identification information to bill

  TPPs for prescriptions in order to fraudulently bypass the TPPs’ denials of claims for

  reimbursement. Specifically, Defendants’ claims-handling manual instructed Philidor employees

  to submit claims to TPPs or their PBM agents using Philidor’s National Provider Identification

  Number, or “NPI.” If a claim was rejected, employees were instructed to resubmit that claim using

  an NPI belonging to a different pharmacy in Defendants’ captive network – in other words, to

  claim that a pharmacy had dispensed a prescription it did not in fact dispense, and, in some cases,

  did not even stock.



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                 Indeed, former Philidor employees indicated that they were provided with maps

  and detailed instructions that set out the particular false NPI information that should be submitted

  in the event of a denial relating to a particular dispensing pharmacy. For instance, Defendants’

  claims-handling manual instructed employees who received certain denials from TPPs to “submit

  the NPI for our partner in California, West Wilshire Pharmacy. . . There is a good chance they are

  contracted.” If a claim using West Wilshire’s NPI was denied, the next step was to “add the

  Cambria Central Fill insurance and run that as the primary” – referring to one of Philidor’s secret

  retail pharmacies based out of Philadelphia, Pennsylvania. “They should then get a paid claim and

  then Cambria … will reimburse us.”

                 Likewise, Defendants routinely caused pharmacies in the Valeant network,

  including Isolani (mentioned above), to use the NPI belonging to California-based R&O

  Pharmacy, one of the constituents of Defendants’ captive network discussed further below, to bill

  for prescriptions R&O had never filled and, in some cases, drugs R&O didn’t even stock. In a

  July 19, 2015 email to R&O, Philidor CEO Davenport acknowledged that he was aware this

  practice was ongoing.

                 The purpose of this conduct was to fraudulently secure payment of a claim that was

  properly denied by a TPP or PBM. In an interview with the Southern Investigative Reporting

  Foundation, Taylor Geohagen, a former Philidor claims adjudicator during the Relevant Period,

  confirmed that this fraudulent practice was routinely implemented: “Everything we did in the

  [Philidor] Adjudication department was use the [NPI] codes from the pharmacies we bought out

  to get something [approved] in a pinch.”

                 An Adjudication Specialist at Philidor from July 2015 to November 2015 (see

  ¶94, n.5) confirmed Defendants’ practice of routing claims to various pharmacies in the Valeant



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  network. The former Adjudication Specialist explained that, while at Philidor, she would send

  prescriptions to other pharmacies in the Valeant network in the event that a claim was denied. She

  personally routed prescriptions for such denied claims to R&O Pharmacy, Cambria Pharmacy, C-K

  Pharmacies, SafeRx, and Heritage Compounding Pharmacy. The former Adjudication Specialist

  noted that she sent prescriptions to Heritage Compounding Pharmacy on a daily basis, and that

  there was a “back door process” for sending prescriptions from Philidor to other pharmacies,

  including Heritage Compounding Pharmacy. According to the former Adjudication Specialist, a

  claims adjudicator would enter the prescription data into Philidor’s system and then share that

  information with another third-party outside of Philidor. That entity would then share the

  prescription information with the pharmacy that would ultimately dispense the prescription. Thus,

  the dispensing pharmacy would never communicate with Philidor directly, but only with the entity

  sharing the Philidor prescription – another means of concealing the true nature of the Valeant

  network.

                 To conceal Defendants’ use of false pharmacy identification numbers, Philidor and

  Valeant also submitted false and misleading payer audits to TPPs (or to their PBMs) on behalf of

  the retail pharmacies with which they were secretly associated, falsely representing that the

  pharmacy had filled certain prescriptions, when, in fact, those prescriptions had been filled by

  Philidor or one of its other captive pharmacies.       Relatedly, Defendants and their agents

  misrepresented their authority to approve the audit statements on behalf of the retail pharmacies

  and, in some cases, forged the signatures of principals at those pharmacies. For instance, as

  evidenced by a July 14, 2015 email from Russell Reitz (“Reitz”), of R&O Pharmacy, to Eric Rice

  (“Rice”), Senior Director at Philidor, Defendants’ agents’ audit statements on behalf of R&O

  falsely claimed that R&O had dispensed prescriptions for Valeant drugs that were actually filled



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  by Philidor. Specifically, Reitz told Rice that Philidor had billed R&O for prescriptions that were

  either “filled by some other pharmacy” or “were filled and billed before the execution of the R&O

  purchase and sale agreement” and thus fraudulently billed using Reitz’s National Council for

  Prescription Drug Programs (“NCPDP”) number without his knowledge or consent. Again, in

  some cases, these prescriptions were for drugs that R&O did not even stock.

                 Third, Defendant Valeant and Philidor submitted for reimbursement numerous

  prescription renewals, falsely representing to TPPs and their PBM agents that patients had

  requested renewals of their prescriptions when, in fact, no such request had been made.

  Specifically, as Philidor customers have explained and as New York Magazine reported in a

  January 13, 2016 article, Defendants caused Philidor and its captive pharmacies to automatically

  refill patients’ prescriptions for Jublia, among other Philidor-dispensed Valeant drugs, despite the

  fact that the patients had not requested any refills, and made it virtually impossible for patients to

  decline or cancel those automatic refills.

                 Defendants’ implementation of this practice in connection with Valeant’s

  dermatological products allowed them to receive additional payments from TPPs, even though the

  conditions such products are designed to treat are not chronic and can be remediated by a limited

  course of treatment, limiting the need for renewals absent Defendants’ fraudulent scheme.

  Notably, Philidor’s practice of waiving patient copays in connection with this scheme allowed the

  scheme to go undetected as patients were not incentivized to complain about unnecessary refills

  for which they were not charged a copayment. These unnecessary refills inflated Valeant’s stock

  because the cost of these drugs was imposed on TPPs through the payment of additional claims

  for unnecessary drugs.




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                 As a Philidor employee explained in an online forum, Philidor “auto ship[ped]

  [Valeant drugs] without proper approval, most people do not need these refills. The reason they

  ship refills so fast is because it is free for the patient but Philidor gets anywhere from $550-$1220

  from the insurance companies.”

                 This scheme was jointly developed by Greenfield, Director of Sales and Marketing

  for Valeant, and Philidor executive Fabian Forrester-Charles. As a Philidor employee explained

  in an online forum:

         They took the list of customers who had been approved by [insurance] and had
         refills available. Instead of waiting for the customer to call they would dial and
         leave a msg saying your refill will be shipped unless you call within 24 hrs. They
         would do this on the 30th day of the rx. Previously they had a Co pay so would
         have to wait to get approval to charge the 35.00 Co pay, making the Co pay 0
         allowed them to ship refills whether u wanted them or not. Not a bad money
         making idea except most people did not really need refills of Solodyn so soon . . .
         Of course these refills were out the door ASAP sometimes within an hour of the
         call and the [insurance] money would come in.

         What patients don’t get is your [insurance] company is paying 500 plus bucks for
         an old medication reformulated and refills not needed. I would bet a lot of
         Solodyn and Jublia bottles are just lying around still in the shipping package.

         If you ever saw Wolves of Wallstreet well that was sorta what some of us saw at
         Philidor. Let’s say on average a person does not need a refill of Solodyn for 45 or
         60 days from the 1st fill and you force them to take it at 30 days every month
         $$$$$$$$$$$$$$ and a ton of it! Think about it.

         (Cafepharma, Philidor employee post dated October 27, 2015. Emphasis added.)

                 According to numerous former employees, including an Intake Specialist at

  Philidor from January 2015 to August 2015,8 there was an entire department at Philidor dedicated



  8
    Philidor’s Intake Specialist from January 2015 to August 2015, referred to herein, worked in
  Philidor’s Phoenix, Arizona office. The former Intake Specialist started out as a Customer Service
  Representative, answering calls from patients and performing intake procedures such as taking and
  processing orders for brand name pharmaceuticals, guiding patients through the patient assistance
  program, and updating patient information. Towards the end of her employment, she became a
  trainer, teaching new employees the intake procedures. As an Intake Specialist, she interacted
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  to calling patients and informing them that their refill would be processed. The former Intake

  Specialist explained that Philidor had a department consisting of approximately ten employees

  devoted to calling patients to enroll them in the automatic refill program without their permission.

  According to the former Intake Specialist, Philidor representatives in the automatic refill program

  department would call patients and say “if we don’t hear from you in 24 hours, we will process

  your refill.” This meant that if the patient did not respond immediately to the message that was

  left, Philidor would automatically send a refill, and then bill the insurer or TPP for the prescription.

  According to the former Intake Specialist, “a lot of people were upset” with this practice because

  regardless of whether or not the patient is billed, the refill is billed through their insurance and has

  an impact on the patient’s policies. She recalled a phone conversation between a patient and a

  Philidor manager, in which the patient was “screaming about fraud” because of medications being

  refilled without the patient’s instructions or consent.

                  Fourth, as discussed above, when submitting claims to TPPs, Defendants also

  misrepresented to TPPs the dispensing pharmacy’s “actual charges” for Valeant drugs by failing

  to account for Defendants’ practice of routinely waiving patient copays. The collection of copays

  from insureds discourages insureds from “overutilization,” or wasteful consumption of pharmacy

  benefits beyond those medically necessary, and thereby incentivizes insureds to select generics

  when available and only refill medications when needed. Conversely, waiving copays discourages

  patients from actively avoiding low-value or medically unnecessary medicines. Copay waivers

  can significantly distort an insured’s economic incentive when choosing between a branded drug




  with Philidor customers on a regular basis and had direct knowledge of Philidor/Valeant’s practice
  and programs with respect to patient copays, and what programs and reductions were available to
  each patient.

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  and its generic alternative, and when refilling a prescription. As a result, PBM contracts with

  pharmacies mandate that pharmacies make every attempt to collect the copayment and submit

  claims reflecting their “actual charges,” taking into account any discounts or waivers applied.

  Defendants routinely waived copays for patients prescribed Valeant drugs, but when submitting

  claims for such prescriptions, Defendants falsely represented to TPPs that the patient had been

  charged the full price of the drug.

                  Fifth, Defendants also made misrepresentations directly to patients in order to boost

  Valeant’s drug sales.     Specifically, Defendants disseminated false statements (including in

  brochures and coupons) to doctors and patients that falsely promised patients Valeant drugs at no

  cost only if they submitted their prescriptions directly to Philidor. By encouraging patients to

  submit claims directly to Philidor, Defendants ensured that prescriptions for Valeant drugs would

  not wind up being filled by a non-captive pharmacy that would substitute cheaper generics for the

  branded drugs, but would instead end up at Philidor, where Valeant’s branded drug would be

  dispensed. To induce these patients to take advantage of these discounts, the coupons falsely

  assured patients that their TPPs would not be billed. For example, in a consumer complaint filed

  with the Better Business Bureau on March 5, 2015, a patient wrote about Philidor:

         Complaint: Received a call from the [Philidor] representative stating that they
         wanted to refill a Rx for ******. They stated that they had a coupon that would
         pay for the medication completely, and even said “at no cost to you”.
         Unfortunately, I said OK. In reviewing my healthcare plan claims, I noticed that
         they bill my Plan for $449.55. Since I have a $1500 deductible, I may be liable for
         this charge. This is not what I agreed to and not what the representative said would
         occur. I would like this claim removed from my healthcare plan immediately. I
         will return the ****** unopened in order to have this taken off my Claims.

         (Emphasis added and all typographical errors in original) (Better Business Bureau,
         customer complaint dated March 5, 2015).

                  In fact, TPPs were billed for these drugs. For example, one patient reported in an

  online forum:
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         My dermatologist provided me with a “Trial Coupon” for JUBLIA; a topical
         solution used to treat toenails. The trial coupon offers a ‘$0 copay for 12 months’
         of this medicine . . . . Philidor RX Services continues to INCORRECTLY bill my
         health insurance which, in turn, is impacting my HSA / MRA Funds - each time,
         removing $100 from MY Medical Reimbursement Account.

         (Emphasis added and all typographical errors in original) (Pissed Consumer,
         customer complaint dated January 2, 2015).

                 Other customer complaints reported similar conduct, as reported to the Better

  Business Bureau:

         Hello. My child had an appointment with a local dermatologist. While we were
         there we were referred to Philidor RX Services for filling two acne prescriptions.
         The dermatologist assured me that I would be charged only $25 and nothing more
         from our health insurance company. She also gave us a coupon to use for one
         of the prescriptions that would make it free. I called Philidor and gave them all
         of the information that was provided to me by the dermatologist. Philidor
         charged me $220 from my FSA account ($110 for each prescription). I contacted
         Philidor and spoke with a man who said his name was Mickey. Mickey told me
         that I needed to submit a statement from my insurance company showing that $220
         was withdrawn from my FSA account. I did as requested and have sent the
         information via email to Philidor, Attn: Mickey, twice. I have received no response
         and no refund. (Business Insider, October 23, 2015, “The secret firm at the heart
         of Valeant’s crisis has an alleged history of shady behavior with customers”).

                 In service of their fraudulent enterprise, Defendants made it as difficult as possible

  for patients to contact Philidor to complain, for example, that their insurers had been billed in

  contravention of promises made in coupons and sales literature or that they had received

  unrequested refills. For example, despite its massive investment in its sales force, Philidor invested

  very little in creating a call center to handle customer complaints and problems. In fact, customers

  and patients would routinely report that they were directed to sales staff when they tried to report

  these problems.

                 Notably, before Valeant’s $100 million payment to Philidor, Valeant’s senior

  management and members of the Board, including the entire Audit Committee, went on site visits

  to Philidor. On these visits, Valeant was provided further access and exposure to Philidor’s


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  business practices and operations. After the payment, Valeant intentionally avoided disclosing its

  relationship with Philidor in its financial statements. Defendants concealed from investors, as well

  as physicians, patients, private payors, and PBMs the $100 million payment, Valeant’s controlling

  relationship and that Philidor’s financials were being consolidated into Valeant’s.

                 In addition, Valeant used the hidden relationship to inflate its revenues. The

  Defendants knew that after the formal consolidation of Philidor was completed, Valeant was

  prohibited from recording revenue for shipping products to Philidor, because that was akin to

  shipping products to itself. Instead, in order to recognize revenue, Valeant would have to wait until

  Philidor shipped the products to patients. Therefore, before the agreement was signed in December

  2014, Valeant shipped millions of dollars of products to Philidor to inflate revenue. This

  manipulative practice clearly violated GAAP. Nevertheless, Schiller, Carro, Ingram, the Audit

  Committee, the Finance and Transactions Committee, and the entire Board of Directors approved

  the accounting relating to Philidor.

                 During a conference call on October 26, 2015, in which Provencio, Melas-Kyriazi,

  Stevenson, Schiller, Pearson, Carro, Rosiello, and Kellen participated, Ingram admitted that the

  Audit Committee of the Board and the full Board had approved the Company’s (improper)

  accounting for Philidor. Slides accompanying the call stated that the “Finance and Transactions

  Committee, Audit and Risk Committee and [the] Full Board reviewed the transaction” and “[t]he

  appropriate accounting treatment was determined by management and reviewed with the Audit

  and Risk Committee.”

         F.      The R&O Lawsuit

                 On December 1, 2014, Reitz, a Southern California pharmacist, sold R&O, a

  specialized dispensary for gastroenterology patients, to Philidor. Through the sale, Reitz learned

  that Philidor was not licensed by the California State Board of Pharmacy.
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                 Following the sale, R&O was inundated with thousands of prescriptions from

  doctors using Philidor’s mail-order service, numbers dwarfing the customary size of R&O’s

  business. Philidor would send R&O bulk orders of Valeant-branded pharmaceuticals, and Reitz

  would dispense these drugs to patients directly or by mail. Payment later arrived in the form of

  paper checks from health insurers, with each check covering hundreds of patients and typically

  made out for over one million dollars.

                 Not only was the volume of Philidor-channeled patients unusually large, the

  prescriptions that Philidor was filling were also extraordinarily expensive, even compared to the

  specialized prescriptions R&O usually dispensed. Yet, most of the overpriced prescriptions R&O

  was filling were Valeant drugs indicated for simple dermatological conditions, such as Solodyn for

  acne, Elidel, an eczema treatment, and Jublia, a topical treatment for toenail fungus.

                 In March 2015, Reitz received an audit from one of his PBMs. The audit showed

  that R&O was being used by Philidor to fill thousands of prescriptions all across the country. These

  prescriptions had been filled with Reitz’s name and R&O’s NPI, but they were dispensed to

  patients of whom Reitz had never heard. Many were for medications that R&O didn’t carry. Some

  prescriptions were even backdated to before Reitz had sold R&O to Philidor. These practices

  continued throughout the summer of 2015.

                 As a result of these suspicious practices, in the summer of 2015, R&O began

  investigating Philidor. Its investigation uncovered that in 2013, Philidor had filed an application

  with the California State Board of Pharmacy – which, as noted above, California denied because

  Philidor made “false statements of fact” in its pharmacy application. Upon learning that Philidor

  had been denied access to the California pharmaceutical marketplace, Reitz realized that the




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  purpose of the R&O purchase was to use R&O as a channel through which Philidor would

  surreptitiously conduct its own business in California and circumvent the licensing board’s denial.

                 On July 14, 2015, Reitz wrote an email to Rice to address “the issue of Philidor’s

  improper, and perhaps illegal, use of my [pharmacy] number without my knowledge or consent to

  bill for prescriptions that were” either filled by other pharmacies or billed before the execution of

  the agreement to purchase R&O. Reitz demanded that they cease the practices immediately. Reitz

  added that the agreement required Philidor/Isolani to apply for a permit and that “this process does

  not take 7 months” and asked for all documents relating to the application.

                 On July 19, 2015, Davenport emailed Reitz stating that Philidor stopped using

  R&O’s NPI number and “halted activity pending coming to some alignment with you.” The next

  day, Reitz wrote back asking why “Philidor is responding to my concerns instead of Eric Rice”

  who executed the agreement on behalf of Isolani. Reitz further stated that he learned that Rice

  signed off on the “Argus-Humana audit, the same audit I refused to sign,” and “Eric Rice is not

  the PIC [pharmacist-in-charge] (I am) and has never stepped through R&O’s doors. I am not sure

  how he could verify the accuracy of anything pertaining to that audit.”

                 On July 21, 2015, Rice and several Philidor executives, including Davenport,

  Fleming, and General Counsel Gretchen Wisehart, flew to California to meet Reitz at R&O. The

  meeting did not satisfy R&O’s concerns, and the next day counsel for R&O sent a letter to Rice

  noting that they “appear[ed] to be engaging in a widespread fraud.” On August 18, 2015, Fleming

  emailed Reitz suggesting responses to an audit. One of the issues identified in the audit was the

  large number of prescriptions being filled by R&O that were shipped to patients from

  Pennsylvania, where Philidor was based.




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                 On August 31, 2015, counsel for R&O sent a notice of termination to Isolani’s law

  firm. R&O’s counsel wrote “[i]t is now crystal clear that Isolani/Philidor fraudulently induced Mr.

  Reitz to sign the [Sale, Management Services, and related] Agreements in order to allow

  Isolani/Philidor to engage in a massive fraud.” R&O’s counsel added that “Isolani is simply a

  shell created by Philidor to perpetrate a massive fraud against not only Mr. Reitz and R&O, but

  also the California State Board of Pharmacy, [and] various payer networks.” R&O’s counsel noted

  that Philidor had been denied a California license and “targeted Mr. Reitz and R&O back in the

  fall of 2014 because it needed access to R&O’s valuable multi-state pharmacy licenses and payer

  contracts” and “Philidor then created Isolani as the instrumentality to improperly use R&O’s

  NCPDP and NPI numbers to distribute pharmaceuticals in jurisdictions that Philidor would not

  have had access to but for R&O.” Counsel added that “Mr. Reitz’s worst fears have been realized,

  as he has obtained irrefutable proof that despite Mr. Davenport’s written assurance,

  Isolani/Philidor continue to use R&O’s . . . NPI numbers to bill payors for prescriptions dispensed

  by Philidor.” R&O’s counsel also asserted that “Mr. Reitz now has concrete evidence that

  representatives of Isolani/Philidor have signed false and misleading payer audits and falsely

  represented themselves as officers or employees of R&O . . . to certain payors.”

                 In response to Reitz’s investigation of Philidor, Reitz received letters, not from

  Philidor, but from Valeant’s General Counsel, demanding $69 million in payments from R&O.

  These letters made clear that Valeant was not simply a drug manufacturer supplying Philidor, but

  rather that Valeant was acting in concert with Philidor to perpetrate the conduct of which Reitz

  complained.

                 On September 6, 2015, Isolani’s counsel sent an email informing R&O’s counsel

  that they were seeking a protective order against Reitz and for an accounting. Counsel for R&O



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  responded that Isolani had known for “at least six weeks that Mr. Reitz was in receipt of checks

  paid to his company to protect himself and his company from the massive potential/actual civil,

  regulatory and even potential criminal liability that your clients have exposed him to due to their

  malfeasance,” adding that the conduct was outlined in prior correspondence “to which your clients

  have provided no denials.”

                 R&O claimed it never received a previous invoice from Valeant for any amount and

  that either Valeant and R&O are “victims of a massive fraud perpetuated by third parties,” or that

  “Valeant is conspiring with other persons or entities to perpetuate a massive fraud against R&O

  and others.”

                 Ultimately, Reitz filed suit against Valeant. The ensuing disclosures, including the

  facts detailed above, set off a chain of events revealing the truth about Defendants’ fraud and

  Valeant’s network of secret pharmacies.

         DEFENDANTS’ FALSE AND MISLEADING
         STATEMENTS DURING THE RELEVANT PERIOD

                 The Relevant Period begins on January 4, 2013, two days after Philidor’s formation.

  Defendants’ false and misleading statements during the Relevant Period, detailed below, were

  material and caused Valeant securities to trade at artificially inflated prices. Defendants’ false

  statements had the inflationary effect of increasing, maintaining, or preventing a decrease in the

  price of Valeant securities.

                 During the Relevant Period, Defendants made many untrue statements of material

  fact and many material omissions necessary to make their statements not misleading. These

  statements and material omissions generally fall within six broad categories. First, that Valeant’s

  growth, profitability, and business prospects were dependent on deceptive practices designed to

  boost sales and prices of the Company’s drugs. Second, that these deceptive practices included


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  price gouging and efforts to conceal such price gouging, including routing prescriptions through

  Valeant’s secret network of captive pharmacies and employing PAP and public relations strategies

  to conceal the practices. Third, that the captive specialty pharmacies were employing deceptive

  tactics to boost the sales prices of Valeant’s drugs and obtain funds from PBMs and private payors

  in amounts greater than would have been obtained if the deceptive tactics were not employed.

  Fourth, that the deceptive practices exposed Valeant to enormous business, reputational, legal and

  financial risks that included increased scrutiny from governmental agencies such as the SEC, the

  Department of Justice (“DOJ”), Congress, and state regulators, as well as decreased sales, refusal

  to pay, and reputational harm from PBMs, payors, physicians, and patients. Fifth, that the

  Company’s reported financials for the third and fourth quarters and full year of 2014, and the first

  nine months of 2015, violated GAAP and its financial guidance for 2016 had no reasonable basis

  in fact. Sixth, that Valeant had deficient compliance programs and ineffective financial and

  disclosure controls.

                 Defendants’ misstatements caused Valeant securities to trade at artificially inflated

  prices during the Relevant Period. Specifically, and as detailed further below, these statements

  were materially false and misleading because:

                 (a)     Philidor was formed with the assistance and for the benefit of Valeant to

  increase the sales prices of Valeant-branded pharmaceutical products and to avoid substitution of

  Valeant drugs with competing generic products; Valeant employees worked at Philidor; Valeant

  was Philidor’s only client and had the ability to shutter its business; Valeant paid Philidor’s owners

  $100 million for the right to acquire Philidor for $0; Valeant was consolidating Philidor’s results

  as its own, and had obtained explicit rights to direct Philidor’s activities; and that these facts were

  being concealed by Valeant from private payors, patients, physicians, PBMs, and investors;



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                 (b)     Valeant’s business strategy relied on a host of deceptive practices and a

  material source of the Company’s growth, including its organic growth, in revenues and sales of

  its key dermatology, neurology and other products resulted from these practices. The deceptive

  practices included: (i) price increases far beyond industry norms which Defendants knew were

  unsustainable but allowed to the Company to meet financial targets; (ii) routing patients into

  Valeant’s secret network of captive pharmacies that were falsely made to appear independent;

  (iii) using patient assistance and public relations strategies to minimize patient complaints,

  resorting to rebate and chargebacks to appease the most hostile complaints; and (iv) concealing

  these practices from payors and physicians in order to obtain reimbursement for drugs that would

  not be reimbursed or not reimbursed at similarly high prices if such practices were known to private

  payors, patients, physicians, and PBMs;

                 (c)     Valeant’s business risks materially increased as a result of these undisclosed

  practices. The increased risks included government investigations, regulatory sanctions, criminal

  charges, reputational harm, contractual violations, decreased sales, and increased scrutiny, as well

  as alienation of PBMs, private payors, and physicians if such practices became known;

                 (d)     Valeant’s reported revenues, earnings per share (“EPS”), profitability, and

  future business prospects were dependent on the Company’s ability to continue to conceal these

  deceptive practices and did not accurately portray Valeant’s financial performance and business

  prospects due to the associated risks;

                 (e)     The Company’s growth and ability to service its debt were dependent on

  acquiring companies and drug portfolios in which it could dramatically increase prices and engage

  in the deceptive practices and any slow-down or cessation of such acquisitions would have a

  material adverse effect on the Company’s business, cash flows, and results of operations;



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                 (f)    Valeant was not employing a “lower risk, output-focused research and

  development model” but employing a strategy that subjected Valeant to enormous risk;

                 (g)    Valeant materially increased its sales volume through Philidor as Philidor

  expanded its network of pharmacies and began selling in states where it did not have, or had been

  denied, a license;

                 (h)    Even though Valeant’s branded products were subject to competition with

  more cost-efficient generics that were preferred by PBMs and substituted by pharmacies, deceptive

  practices allowed Valeant to avoid such substitution;

                 (i)    Valeant improperly recognized Philidor revenue, in violation of GAAP,

  causing revenues, net income, and EPS to be materially misstated and inflated;

                 (j)    Valeant lacked adequate internal controls, compliance and training

  programs which resulted in an “improper tone at the top,” with Defendants prioritizing increasing

  Valeant’s stock price and/or their own compensation over ensuring that Valeant and its undercover

  network of pharmacies complied with applicable laws, regulations, contracts, and ensured that its

  SEC filings and public disclosures were free of material misstatements; and

                 (k)    Valeant’s Board of Directors and senior management reviewed and

  approved the improper accounting which reflected a material weakness in internal controls.

         A.      January 2013 To June 2013

                 On January 4, 2013, Pearson and Schiller hosted a conference call with investors

  and analysts to discuss Valeant’s 2013 financial guidance. Pearson and Schiller made several

  statements concerning Valeant’s business model, financial prospects, and the benefits of its new

  Alternative Fulfillment (“AF”) initiative. Specifically, Pearson stated that “2012 was another very

  strong year for Valeant. From a top line perspective we added over $1 billion in revenue in



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  2012 . . . . On the bottom line, we delivered cash EPS growth of greater than 50% as compared to

  2011, demonstrating once again the sustainability of our business model.”

                    When asked about pricing for Solodyn, a dermatological product acquired in the

  Medicis transaction, Pearson responded, “In terms of Solodyn, we’re not assuming we’re making

  any kind of major price increases in terms of the end consumer. Through the AF [alternative

  fulfillment] programs, it will allow us our sort of average price internally to go up, because of

  the way that system works.” Pearson also discussed the expansion of Valeant’s AF initiative,

  stating:

             Yes, the more we understand about it the more excited we get about it, quite frankly
             because it’s not just a singular sort of initiative that there’s a whole evolution
             being planned in terms of the Stage I, Stage II, Stage III. And there’s some
             exciting opportunities there that we’re not going to give specifics of. And also as
             we had hoped, we think it will apply to more than just Solodyn. Ziana is actually
             also being — already Medicis has Ziana being used in the AF program, and we
             see application for a number of our dermatology products and potentially
             neurology products in the US.

                    When asked what percentage of Solodyn revenue would go through the AF

  initiative, Pearson replied it would increase because there was “evidence” AF was working,

  stating:

             Well the last question, it’s much - it will be much closer to 50% than 10%, that’s
             for sure. And yes, what we - the AF, if it all works out, will both help eliminate
             or get rid of non-revenue producing or non-profitable scripts, but hopefully can
             be used to start generating truly profitable scripts through a different channel.
             That’s the intent, and we’re seeing evidence that that will work.

                    Later in the call, one analyst asked Pearson “why are you so encouraged by the AF

  strategy when net sales have been heading in the wrong direction for the one case study we can

  observe, Solodyn?” Pearson responded that the AF channel had “incentives” in place to get paid

  for drugs that were being rejected by retail pharmacies, stating:

             And again, Medicis is still learning and we’re just still learning about what we can
             do with these AF scripts. So when someone actually makes the call or sends the
             script to the alternate channel, what can be done with that. And a number of things
             can be done. One is you can continue to try to adjudicate the claim just because the

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         claim was or just because the script was rejected at retail pharmacy, does not
         mean that eventually you can’t get the payer to actually pay for it. If you think
         about the retail pharmacist, the retail pharmacist doesn’t have a huge incentive to
         work hard to get that script reimbursed. In fact you might argue they have the
         opposite incentive, because they get paid more if they convert it to a generic.

         So, all of a sudden if it goes to a different channel where the incentives are in
         place to actually try to get that claim adjudicated, then — so there’s a significant
         amount of that volume that gets rejected by retail that you can then adjudicate,
         and actually get fully paid.

                                                ***

         So, I think through as we continue to learn about this AF program, there are some
         things that we can do that might actually change the direction in terms of so
         rather than see a decline in Solodyn, if we’re really successful we can begin
         starting to grow that product again. So it’s things like that that sort of start
         giving us some real optimism in terms of what you can do, and how this
         program can sort of turn out to a much better case than assuming you didn’t have
         the AF program.

                 On February 28, 2013, the Company issued a press release and hosted a conference

  call regarding Valeant’s 2012 financial results. During the call, Pearson and Schiller highlighted

  the purported benefits of their AF strategy but did not disclose the associated improper practices

  and risks. In response to a question about the AF strategy, Pearson represented that “The program

  is working actually quite well. We are going to be rolling out a couple new generations of the

  program but we’re not going to talk about it on this call.” When pressed for details on the

  “Medicis alternate fulfillment channel” and “how that sort of contributes to the growth,” Pearson

  emphasized that it had increased sales volumes but similarly refused to disclose the improper

  practices and risks, stating: “We have never given details. Medicis never gave details. And that

  was probably a smart practice. We are not going to give details in terms of what’s flowing

  through full alternate fulfillment and what’s not. What we can reiterate is that all of our key

  brands in dermatology since our sales force meeting are now growing.”

                 On May 3, 2013, Valeant filed its quarterly report on Form 10-Q for the period

  ended March 31, 2013 (“1Q13 10-Q”). The 1Q13 10-Q represented as a risk factor that “declines


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  in the pricing and sales volume of certain of our products that are distributed by third parties,

  over which we have no or limited control” while concealing that Valeant controlled and had

  significant influence over Philidor.

                 The 1Q13 10-Q was signed by Pearson and Schiller and represented that

  management’s disclosure controls and procedures were effective: “Our management, with the

  participation of our CEO and Chief Financial Officer (‘CFO’), has evaluated the effectiveness of

  our disclosure controls and procedures as of March 31, 2013. Based on this evaluation, our

  CEO and CFO concluded that our disclosure controls and procedures were effective as of

  March 31, 2013” (hereafter, “Internal Controls Statement”).

                 The 1Q13 10-Q included Sarbanes Oxley Certifications signed by both Pearson and

  Schiller pursuant to Rules 13a-14(a) of the Exchange Act, which stated, among other things, that

  the 1Q13 10-Q did not contain any untrue statement of material fact or omit to state a material fact

  (hereafter, the “SOX Certifications”). Specifically, the SOX Certifications stated:

                                                                                        Exhibit 31.1

                  CERTIFICATION OF THE CHIEF EXECUTIVE OFFICER
                            PURSUANT TO RULE 13a-14(a)
                             AS ADOPTED PURSUANT TO
                  SECTION 302 OF THE SARBANES-OXLEY ACT OF 2002

  I, J. Michael Pearson, certify that:

  1.     I have reviewed this quarterly report on Form 10-Q of Valeant Pharmaceuticals
         International, Inc. (the “Company”);

  2.     Based on my knowledge, this report does not contain any untrue statement of a material
         fact or omit to state a material fact necessary to make the statements made, in light of the
         circumstances under which such statements were made, not misleading with respect to the
         period covered by this report;

  3.     Based on my knowledge, the financial statements, and other financial information included
         in this report, fairly present in all material respects the financial condition, results of
         operations and cash flows of the Company as of and for, the periods presented in this report;


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  4.        The Company’s other certifying officer and I are responsible for establishing and
            maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-
            15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange
            Act Rules 13a- 15(f) and 15d-15(f)) for the Company and have:

            a.        Designed such disclosure controls and procedures, or caused such disclosure
                      controls and procedures to be designed under our supervision, to ensure that
                      material information relating to the Company, including its consolidated
                      subsidiaries, is made known to us by others within those entities, particularly during
                      the period in which this report is being prepared;

            b.        Designed such internal control over financial reporting, or caused such internal
                      control over financial reporting to be designed under our supervision, to provide
                      reasonable assurance regarding the reliability of financial reporting and the
                      preparation of financial statements tor external purposes in accordance with
                      generally accepted accounting principles;

            c.        Evaluated the effectiveness of the Company’s disclosure controls and procedures
                      and presented in this report our conclusions about the effectiveness of the disclosure
                      controls and procedures, as of the end of the period covered by this report based on
                      such evaluation; and

            d.        Disclosed in this report any change in the Company’s internal control over financial
                      reporting that occurred during the Company’s most recent fiscal quarter that has
                      materially affected, or is reasonably likely to materially affect, the Company’s
                      internal control over financial reporting; and

       5.        The Company’s other certifying officer and I have disclosed, based on our most
                 recent evaluation of internal control over financial reporting, to the Company’s
                 auditors and the audit committee of the Company’s board of directors (or persons
                 performing the equivalent functions);

            a.        All significant deficiencies and material weaknesses in the design or operation of
                      internal control over financial reporting which are reasonably likely to adversely
                      affect the Company’s ability to record, process, summarize and report financial
                      information; and

            b.        Any fraud, whether or not material, that involves management or other employees
                      who have a significant role in the Company’s internal control over financial
                      reporting.

       Date: May 3, 2013

       /s/J. MICHAEL PEARSON

                      On June 11, 2013, Schiller presented at the Goldman Sachs Healthcare Conference.

  When asked about the Company’s “alternative fulfillment program” by a Goldman Sachs analyst,

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  Schiller responded that the program was increasing profits and that AF was a trend in “the whole

  pharmaceutical industry”:

         Alternative fulfillment, I think a couple things. One is, to me, the alternative
         fulfillments was an example of what the whole pharmaceutical industry —
         certainly what Mike and I believe is the trend, and that is the focus on the
         profitable scripts. There was a day when you could call on anybody, and almost
         any script was profitable. Those days are gone. So segmenting your customer
         base and really focusing on profitability has got to be the future. And that’s —
         alternative fulfillment was the beginning of that journey, but not the endpoint.

         So I probably think under Medicis, alternative fulfillment was held out a little bit
         too much as the holy grail. I really think it’s - it’s actually the starting points, and
         in some ways, it was quite a clumsy starting point. It wasn’t that different, but it’s
         a process where we have generation two and generation three. But it’s all trying
         to focus on profitable scripts, and stay away from those scripts that are
         unprofitable, and more judicious use of copay cards and the rest, and making
         sure when a customer, a patient is covered, you get reimbursed for it. . . . Yes, I
         think — I’m hoping — we’ve got generation two and generation three, which
         I’m hoping sort of turn it into a pure defense, into more of an offensive tool to
         allow us to grow profits. And that’s really the focus, is growing profits.

                 The statements referenced above in Valeant’s January 4, 2014 conference call,

  February 28, 2013 press release and conference call, 1Q13 10-Q, and at the June 11, 2013 Goldman

  Sachs Healthcare conference were false and misleading when made for the reasons provided in

  ¶¶142(a)-(e), and (j)-(k) above. In addition, the “incentives” were in place in the AF channel to

  get rejected claims paid because of Valeant’s secret and controlling relationship with Philidor; and

  the way the AF “system works” to make the “average price internally go up” and get claims

  “rejected by retail” pharmacies “fully paid” was through the deceptive practices described in

  ¶142(b) above, which carried the increased risks set forth in ¶142(c) above.

         B.      July 2013 To January 2014

                 On July 29, 2013, the Company filed a Form 8-K with the SEC, attaching a

  memorandum to employees of Valeant and Bausch & Lomb and a copy of the anticipated

  organizational chart of the combined company upon closing of the merger. The memorandum

  purported to describe Valeant’s “Organizational Design and Philosophy” by stating:


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         In the end, our primary mission is to serve the patients and consumers who use
         our products, the physicians who prescribe / recommend them and the customers
         who provide retail outlets for these products. Healthcare companies are held by
         society to the highest possible ethical standard - and they should be. Adhering to
         this extremely high ethical bar supersedes any financial or other objective.

                                                  ***

         Consistent with our decentralized operating philosophy, our corporate center will
         be small, lean and focused on three things:

                 1.    Ensuring adequate controls to protect our shareholders and to ensure we
         are in compliance with all regulatory requirements.

                 On August 7, 2013, Pearson and Schiller held a conference call with analysts to

  discuss Valeant’s second quarter 2013 (“2Q13”) financial results. During the call Pearson was

  asked whether the Company would need to adopt “more of a mainstream strategy” to “become one

  of the world’s largest healthcare companies.” In response, Pearson continued to defend Valeant’s

  purportedly superior non-traditional acquisitions strategy, stating, in part:

         I don’t - I think we would plan to have our same model. We think we can be
         successful by not doing what large pharma companies are doing, and that’s been
         our strategy, that will continue to be our strategy. And so we’re not looking to
         get into the traditional — we’re not going to go - therapeutic areas are largely
         driven by R&D in terms of why people organize that way, and we don’t plan to
         spend — increase our R&D spend as a percent of sales to what other companies
         are doing. And we’ll continue to focus on both specialty segments and attractive
         geographic markets.

                 Pearson further assured investors that there were no increased compliance risks to

  accompany Valeant’s non-traditional strategy, stating:

         In terms of compliance, compliance is obviously very, very important for us.
         When people come back and they rate our Company on our most positive attributes
         and our most negative attributes, and at the very top of the list of the positive is
         ethical. So our employees really do appreciate it. That’s our most important thing
         that — that comes before everything.

                 Also on August 7, 2013, the Company filed its quarterly report on Form 10-Q for

  the second quarter ended June 30, 2013 (“2Q13 10-Q”), signed by Pearson and Schiller. The 2Q13

  10-Q represented as a risk factor that “declines in the pricing and sales volume of certain of our

  products that are distributed by third parties, over which we have no or limited control” while

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  concealing that Valeant controlled and had significant influence over Philidor. The 2Q13 10-Q

  contained the same Internal Controls Statement and SOX Certifications as set forth in the 1Q13

  10-Q at ¶¶149-50.

                 On October 31, 2013, the Company issued a press release reporting its 2013 third

  quarter (“3Q13”) financial results. The release again emphasized Valeant’s incredibly rapid

  growth, stating that “Valeant’s Developed Markets revenue was $1.14 billion, up 77% as compared

  to the third quarter of 2012” and that “[t]he growth in the Developed Markets was driven by

  continued improvement in many of our Dermatology prescription brands, our aesthetics and oral

  health portfolios, our orphan drug products and CeraVe.”

                 On November 1, 2013, the Company filed its quarterly report on Form 10-Q for its

  3Q13 ended September 30, 2013 (“3Q13 10-Q”), signed by Pearson and Schiller. The 3Q13 10-Q

  represented as a risk factor that “declines in the pricing and sales volume of certain of our

  products that are distributed by third parties, over which we have no or limited control” while

  concealing that Valeant controlled and had significant influence over Philidor. The 3Q13 10-Q

  also included the Internal Controls Statement and SOX Certifications signed by Pearson and

  Schiller, which in all material respects are identical to the ones quoted above.

                 On January 7, 2014, Pearson and Schiller hosted a financial guidance conference

  call with investors and analysts. During the call, Pearson emphasized that the Company’s growth

  in sales volume was the result of its business strategy, stating:

         If we compare Valeant’s performance in 2013 to the company’s average
         performance from 2009 through 2012, you can see a continuing track record of
         consistent strong performance in terms of growth in revenues, earnings, and most
         important, returns to all of you, our shareholders. This is a result of achieving
         strong organic growth in a fiscally responsible manner for the products that we
         already own, coupled with a consistent track record of buying durable assets in a
         very disciplined manner and over-achieving in terms of improving growth rates and
         extracting cost synergies.



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                 Also on January 7, 2014, Pearson took part in the Goldman Sachs Healthcare CEOs

  Unscripted: A View from the Top Conference. When asked about the Company’s dermatology

  business and Valeant’s AF program Pearson continued to conceal the practices, stating:

         The AF program was I think rolled out a little bit too quickly and there were lots
         of bugs in it and we have a next generation that we’re going to - which we are
         implementing, which we aren’t going to talk about the details of, but net-net I
         think Solodyn, it’s a lot less important to us now than when we - than it was to
         Medicis obviously.

                 The statements referenced above in Valeant’s July 29, 2013 Form 8-K,

  August 7, 2013 conference call, 2Q13 10-Q, October 31, 2013 press release, 3Q13 10-Q, Valeant’s

  January 7, 2014 financial guidance conference call, and at the January 7, 2014 Goldman Sachs

  Healthcare CEO’s Unscripted: A View from the Top Conference, were false and misleading when

  made for the reasons provided in ¶¶142(a)-(f) and (j)-(k) above. Regarding price gouging, Valeant

  doubled the price of Syprine on July 12, 2013, doubling it again on August 2, 2013, and doubling

  it yet again on August 30, 2013, for a sevenfold increase in total, from $1,500 to $10,500. In

  addition, adhering to the “extremely high ethical bar” did not “supersede any financial” objective

  and “compliance” did not “come before everything,” due to the reasons set out in ¶142(j) above,

  and by “not doing what large pharma companies are doing” and focusing on the AF strategy over

  R&D, Valeant exposed itself to the risks described in ¶¶142(b) and (c) above.

         C.      February 2014 To June 2014

                 On February 27, 2014, the Company issued a press release detailing its 2013

  financial results. The press release noted that the source of growth was increased volume of

  dermatology sales, stating: “The growth in the Developed Markets was driven by continued

  growth in certain dermatology prescription brands, our aesthetics, consumer, neurology and

  other and oral health portfolios, and our Canadian business unit.”




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                   Also on February 27, 2014, Pearson and Schiller hosted a conference call with

  investors and analysts to discuss Valeant’s fourth quarter 2013 (“4Q13”) and full year 2013

  financial results. While discussing Valeant’s growth in “Neurology and Other,” Pearson stated,

  “When we acquired Medicis, I think we mentioned that we picked up a couple of orphan drugs,

  which they weren’t marketing optimally. And so we have been able to take advantage of that

  and grow those products.”

                   On February 28, 2014, the Company filed its annual report on Form 10-K for the

  year ended December 31, 2013 (“2013 10-K”). The 2013 10-K was signed by Pearson and

  Schiller. The 2013 10-K stated that the Company faced significant competition from generic

  pharmaceutical products without disclosing the deceptive steps Valeant took to prevent substitution

  of its products. It included statements that:

                   (a)    addressed generic competition stating, “Generic versions are generally

  significantly less expensive than branded versions, and, where available, may be required in

  preference to the branded version under third party reimbursement programs, or substituted by

  pharmacies,” and claiming “[t]o successfully compete for business with managed care and

  pharmacy benefits management organizations, we must often demonstrate that our products

  offer not only medical benefits but also cost advantages as compared with other forms of care”;

                   (b)    addressed Variable Interest Entities (“VIE”), which are defined in GAAP as

  a legal entity that is subject to consolidation. Although Philidor was a VIE under GAAP (see

  ¶¶331-33 below) in its 2013 10-K, Valeant explicitly stated that the Company did not hold any

  interests in VIEs: “[t]here were no material arrangements determined to be variable interest

  entities”; and




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                 (c)     included Management’s Conclusion, signed by Pearson and Schiller, “that

  our internal control over financial reporting was effective as of December 31, 2013.” The 2013

  10-K also included the Internal Controls Statement and SOX Certifications, signed by Pearson and

  Schiller, which in all material respects are identical to the ones quoted above.

                 The 2013 10-K included several statements regarding the Company’s purportedly

  lower-risk business strategy. For example, the 2013 10-K stated:

         The growth of our business is further augmented through our lower risk research
         and development model. This model allows us to advance certain development
         programs to drive future commercial growth, while minimizing our research and
         development expense. . . This is achieved primarily as follows: focusing our efforts
         on niche therapeutic areas . . . and acquiring dossiers and registrations for branded
         generic products, which require limited manufacturing start-up and development
         activities.

                 The 2013 10-K represented as a risk factor that “declines in the pricing and sales

  volume of certain of our products that are distributed by third parties, over which we have no or

  limited control,” while failing to disclose that Valeant controlled and had significant influence over

  Philidor.

                 On April 22, 2014, Valeant issued a press release stating that “it ha[d] submitted a

  merger proposal to the Board of Directors of Allergan under which each Allergan share would be

  exchanged for $48.30 in cash and 0.83 shares of Valeant common stock.” In total, this unsolicited

  offer to acquire Allergan, the maker of Botox (a popular anti-wrinkle treatment), was valued at

  approximately $46 billion. The release disclosed that the proposal was made with the full support

  of Ackman and Pershing Square, his hedge fund, which had accumulated 9.7% of Allergan’s

  outstanding stock leading up to the proposed acquisition, making it Allergan’s largest shareholder.

                 On May 8, 2014, the Company issued a press release announcing Valeant’s first

  quarter 2014 (“1Q14”) financial results. The release discussed Valeant’s continued trend of

  extraordinary growth, including revenue growth which represented “an increase of 77% over the


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  prior year,” which “[e]xceeded our expectations,” along with “[p]ositive organic growth in the

  U.S. . . .” The release quoted Pearson as stating, in part, “[o]ur first quarter results demonstrate

  the strong, durable nature of our diversified business model.”

                 That same day, Pearson and Schiller hosted an earnings conference call with

  investors and analysts to discuss its 1Q14 results. When asked about the Company’s dermatology

  products and whether “you’re doing [anything] differently, in terms of how you’re marketing

  them . . . [o]r improving the gross to nets on those products,” Pearson responded, in relevant part:

         I think the other thing is - that we’ve worked on is a much more sophisticated
         alternate fulfillment system that we’ve implemented the US, which is really
         helping. Those scripts don’t show up in IMS, in terms of what’s doing, but we’re
         very pleased that Solodyn is now growing. And we’ve applied that to a number
         of our other products, which is also helping in terms of the growth.

                 On May 9, 2014, Valeant filed its quarterly report on Form 10-Q for the first quarter

  ended March 31, 2014 (“1Q14 10-Q”). The 1Q14 10-Q was signed by Pearson and Schiller. In

  addition to confirming the financial results announced in the Company’s May 8, 2014 earnings

  release, the 1Q14 10-Q included:

                 (a)     numerous statements regarding the Company’s purportedly lower risk

  business strategy, for example:

         The growth of our business is further augmented through our lower risk research
         and development model, which allows us to advance certain development
         programs to drive future commercial growth, while minimizing our research and
         development expense; and

                 (b)     the Internal Controls Statement and SOX Certifications signed by Pearson

  and Schiller, which in all material respects are identical to the ones quoted above.

                 The 1Q14 10-Q represented as a risk factor that “declines in the pricing and sales

  volume of certain of our products that are distributed by third parties, over which we have no or

  limited control” while concealing that Valeant controlled and had significant influence over

  Philidor.

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                   On May 12, 2014, Allergan issued a press release rejecting Valeant’s unsolicited

  bid, stating its Board of Directors “believes that the Valeant business model is not sustainable.”

  During a conference call on the same day, Allergan’s Chairman and CEO referred to “the

  unsustainability of Valeant’s business model,” emphasized Valeant’s lack of organic growth, and

  cautioned investors to “very carefully” check the results “actually achieved” by Valeant’s new

  product launches and “dig in what are the price increases behind those very low [organic growth]

  numbers because there are some eye-popping increases of price.”

                   On May 20, 2014, Valeant issued a press release announcing that it would be

  hosting an investor meeting and webcast on May 28, 2014, “to respond to assertions Allergan has

  made that the Valeant model is not sustainable.” The release continued: “Our goal for this

  meeting is to provide transparency into Valeant’s historic, current, and future operating

  performance and to refute Allergan’s allegations through a thoughtful and fact-based

  presentation.”

                   On May 27, 2014, Allergan filed a Form 8-K with the SEC. Allergan attached a

  slide presentation entitled “Certain Potential Business Risks and Issues With Valeant

  Pharmaceuticals International, Inc.,” which expressed concern about “Valeant’s low organic sales

  growth (driven mostly by price increases.” It asserted that much of Valeant’s growth was

  attributable to “unsustainable price increases - not volume.” The presentation also noted Valeant’s

  “depleted R&D engine” and questioned its “roll-up” business model and “Significant Management

  Turnover.”

                   On May 28, 2014, Valeant issued a press release announcing it had substantially

  increased its merger proposal for Allergan by raising the cash consideration and making the total

  consideration approximately $49 billion. That same day, the Company hosted its previously



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  announced investor meeting and conference call attended by Pearson, Schiller, and Jorn. During

  the conference call, they refuted Allergan’s claims:

                 (a)    Pearson said they would provide investors with “a much deeper

  understanding of our operating model and why we believe it is sustainable for many years to

  come” and show that “ when we buy a platform asset, we have either maintained the growth or

  in most cases, we have accelerated the growth”;

                 (b)    Jorn emphasized the launch of “additional access programs so that patients

  can get the medicines that their physician prescribes for them”;

                 (c)    Jorn reiterated “that in 2014 we have returned the business to growth” and

  highlighted the growth of dermatology products, including Solodyn and Acanya (medications used

  to treat acne which were sold through Philidor) stating:

         We have returned many of our core promoted brands to growth. We have new
         managed care capabilities, we have launched additional access programs so that
         patients can get the medicines that their physician prescribes for them.

                                             ***

         So what type of growth are we talking about? It is important that we recognize
         that we have been able in 2014 to turn around our largest brand, Solodyn. We
         entered the year with 49% share, branded share of the dermatology space. We are
         now up at 51% and as you can see, our competitors have issues. Doryx has been
         declining and Monodox is flat. We are very proud of this accomplishment.

         Further, we continue to maintain greater than 80% share of the branded
         Clindamycin/BPO market with our brand, Acanya. Despite loss in some major
         accounts in managed care, we have been able to achieve this;

                 (d)    Pearson concluded the presentation by claiming Valeant “has delivered

  strong organic growth since I have been here” and “[w]e are very transparent” and “our basic

  underlying growth rate is about 8%”; and

                 (e)    During the question and answer session, Pearson was asked to reconcile

  industry data showing 15% price increases with slides used during the presentation showing a 1%

  increase. Pearson claimed Valeant was “limited” to “9%” price increases in dermatology and
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  denied all of Allergan’s claims stating: “We are limited. For example in the US with our managed

  care contracts, I think the maximum price increase we can take a year is 9% across dermatology,

  across ophthalmology, etc. So that is what limits. It is managed care in the United States.” He

  continued:

         I think we showed that when we went through the 10 points that Allergan asserted
         which was based on just looking at conventional sources and it is just not applicable
         to the way we run our business. And I would argue it would be less and less
         applicable to most pharma companies because the role of specialty pharmacies,
         the role of managed care is changing the landscape in terms of what you can look
         at.

                 Also on May 28, 2014, Pearson participated in the Sanford C. Bernstein Strategic

  Decisions Conference on behalf of the Company. Pearson was asked several questions during the

  conference about price, volume, and the sufficiency of Valeant’s disclosures.

                 (a)    With regard to price and volume, Pearson stated:

         The only country in the world that you can really sustainably increase pricing is the
         United States. And in the United States, you’re governed by managed care
         contracts. And the managed care contract — the highest price increase we could
         take under any managed care contract we have in the US is 9% a year.

         So, we have a lot of constraints, just like other pharma companies do, in terms of
         pricing. So, we focus on volume growth, and the vast majority of our growth on
         a global basis — and we went through some of that this morning - is volume.

                 (b)    In response to why Valeant did not provide more detailed disclosures on

  product sales, Pearson responded, “We’re more like a generics company in terms of the amount

  of revenue we get per product,” adding “[it] just makes no sense” to make such disclosures; and

                 (c)    Pearson was also asked if others were copying Valeant’s business model

  and said they were transparent in what they were doing but it was hard to execute, claiming: “as

  Howard [Schiller] always says, it’s not a very easy model to replicate. It’s very simple. We tell

  you exactly what we’re doing. But it’s very hard. It requires working really, really hard,

  sweating the details every day.”



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                 On June 17, 2014, Pearson and Schiller hosted a conference call “to refute recent

  misleading assertions made by Allergan.” During the call, Defendants made the following

  statements:

                 (a)     During his opening remarks, Pearson emphasized that Valeant’s “business

  is strong” and “[Valeant’s] operating model is both durable and sustainable,” stating, in part:

         I am pleased to update all of you that our business is continuing to perform well. I
         find it very odd that Allergan continues to suggest that our Q2 and in particular our
         Q3 results will demonstrate weakness. . . . In short, our business is strong and I
         can assure you our operating model is both durable and sustainable.

         In Allergan’s investor presentation dated June 10, 2014, they asserted that Valeant
         has experienced volume decreases in 11 of its top 15 worldwide pharmaceutical
         products.

         First, the products listed in the presentation are not Valeant’s top 15 products by
         revenue. Only 6 of the products listed are in Valeant’s top 15 products. The
         presentation also claimed that most of our products are not growing, when in
         fact, 13 of our top 15 products are growing and 9 of the top 15 are growing by
         volume, not just price.

                 (b)     Pearson continued to respond to assertions regarding Valeant’s organic

  growth and price increases later in the call: “I think the other thing we will probably start doing

  again is price volume. People - a lot of assertions are that it’s all about price, but it’s not.” He

  additionally stated:

         So I think what we’re talking about earlier this morning is probably we will report
         what the volume and price parts of our organic growth are. And I suspect it will
         be surprising to people because I think volume is a much larger piece of our
         organic growth than most people would assume it is; and

                 (c)     Pearson further stated during the June 17, 2014 conference call that “[o]ur

  sales force in dermatology now has been stable for a few quarters and . . . all our promoted

  products in dermatology are growing.”

                 The statements referenced above in Valeant’s February 27, 2014 press release and

  conference call, 2013 10-K, April 22, 2014 press release, May 8, 2014 press release and conference

  call, 1Q14 10-Q, May 20 2014 press release, Form 8-K filed on May 27, 2014, May 28, 2014 press

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  release, the Sanford C. Bernstein Strategic Decisions Conference held on May 28, 2014, and

  June 17, 2014 conference call were false and misleading when made for the reasons provided in

  ¶¶142(a)-(f), (h), and (j)-(k) above. Regarding price gouging, Valeant increased the price of

  Cuprimine on February 28, 2014, and again on May 30, 2014, for a total increase of 60%.

                 In addition, Valeant was neither “like a generics company in terms of the amount

  of revenue we get per product,” limited “just like other pharma companies” on pricing, nor

  “limited” to 9% price increases for reasons set forth in ¶¶142(b) and (h) above, and Valeant was

  not competing by demonstrating the “cost advantages” of its products, as Defendants were

  engaging in the deceptive practices referenced in ¶142(b) above. Furthermore, Valeant’s “much

  more sophisticated alternate fulfillment system that we’ve implemented in the US” that was “really

  helping” and driving sales growth, was predicated on the deceptive practices described in ¶142(b)

  and carried the undisclosed risks set forth in ¶142(c) above, and the “additional access programs

  so that patients can get the medicines that their physician prescribes for them” were neither

  designed to make prices more affordable nor to get patients the medicines their doctors prescribed,

  but were used to force patients into Valeant’s controlled distribution channel and reroute

  prescriptions away from retail pharmacies and/or alter physician orders to ensure that prescriptions

  for their branded products, rather than the generic alternatives, would be filled and reimbursed as

  described in ¶142(b) and carried the undisclosed risks set forth in ¶142(c) above. Additionally,

  rather than being like “most pharma companies” with respect to specialty pharmacies, Defendants

  had a close and effectively controlling relationship with Philidor and its network. Finally, in

  violation of GAAP, the 2013 10-K and 1Q14 10-Q failed to disclose Philidor as a VIE as set forth

  in ¶¶331-33.




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         D.      July 2014 To January 2015

                 On July 18, 2014, Valeant issued a press release announcing it had filed an investor

  presentation with the SEC that would be used in meetings with Allergan’s institutional investors

  and proxy advisors. The presentation, entitled “Investor Presentation Regarding the Allergan

  Special Meeting Process,” included “Valeant Operating Principles,” stated as:

                Put patients and our customers first by maintaining the highest ethical
                 standards in the industry

                Select high-growth business segments (therapeutic areas and geographies)
                 where the healthcare professional is still the primary decision maker

                                                ***
                Ensure tight controls and rigorous compliance standards while avoiding
                 overspending[.]

                 On July 31, 2014, the Company issued a press release announcing its second quarter

  2014 (“2Q14”) financial results. The release reported “2014 Second Quarter Total Revenue [of]

  $2.0 billion; an increase of 86% over the prior year.” It quoted Pearson as stating “Valeant once

  again delivered strong quarterly results and, as expected, organic growth has accelerated from

  the first quarter. As we look across the entire business, I have never been more confident about

  the growth trajectory across the entire company.”

                 That same day the Company hosted a conference call to discuss its 2Q14 financial

  results. Pearson and Schiller attended on behalf of the Company. During his opening remarks,

  Pearson stated, in part:

         Turning to medical dermatology. . . The business has now stabilized, with a new
         management team. And the branded market share has increased across all key
         Medicis products since the beginning of 2014. This includes Solodyn, Ziana, and
         Zyclara.

         In the US, dermatology grew approximately 7% in the quarter, including the
         headwinds from generics, driven by the continued growth of Acanya, Targretin,
         and Elidel.

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         Given the strong reception from both physicians and patients of our recently
         launched products Jublia, Ultra, and Luzu, each of them has exceeded our
         expectations. As I mentioned, after only three weeks of being available, last
         week’s script demand for Jublia exceeded over 1,300 scripts. This trend is
         expected to accelerate, as regulatory approval for marketing materials are received
         and our dermatology sales forces is appropriately trained.

                 Later in the call, a Deutsche Bank analyst asked a “question on the alternative

  fulfillment initiatives” and whether Defendants could “just give us a sense of how much volume

  tends to run through that channel.” In response, Pearson stated:

         We’re not going to give specifics. It’s — we think it’s a competitive advantage
         that we have. And it is still primarily the Medicis products, although not
         exclusively the Medicis products. And — but I don’t want to give specific
         numbers, but it is a very successful initiative.

                 On August 1, 2014, the Company filed its quarterly report on Form 10-Q for 2Q14

  (“2Q14 10-Q”), signed by Pearson and Schiller. The 2Q14 10-Q contained the Internal Controls

  Statement and SOX Certifications, signed by Pearson and Schiller, which in all material respects

  are identical to the ones quoted above. The 2Q14 10-Q included a statement regarding the

  Company’s purportedly lower risk business strategy, stating:

         The growth of our business is further augmented through our lower risk research
         and development model, which allows us to advance certain development
         programs to drive future commercial growth, while minimizing our research and
         development expense.

                 The 2Q14 10-Q represented as a risk factor that “declines in the pricing and sales

  volume of certain of our products that are distributed by third parties, over which we have no or

  limited control” while concealing that Valeant controlled and had significant influence over

  Philidor.

                 On August 19, 2014, the Company filed with the SEC a “[c]larification on

  assertions made about Valeant’s business,” which purported to respond to statements made by

  Allergan in its August 5, 2014 press release and in an August 15, 2014 Financial Times article.

  Among other things, Valeant stated that the Company’s “Promoted Pharmaceutical brands (i.e.


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  Dermatology, Dental) are growing from a combination of price and volume” and that “[w]e have

  no knowledge of any exposures or issues other than those disclosed or for which reserves have

  been established.”

                 On September 11, 2014, the Company filed with the SEC a letter sent by Pearson

  to Valeant’s employees referencing Allergan’s “attack[s] [o]n our business” and “our business

  model and our track record of organic growth.” In the letter, Pearson responded that “[h]ighlights

  across Valeant’s businesses include” “return to growth of our U.S. Prescription Dermatology

  business, including the Obagi Medical business, coupled with the early, but exciting launch

  successes of Jublia and Luzu” and “continued tremendous growth in our U.S. Neuro & Other

  and OraPharma businesses.”

                 On October 20, 2014, the Company issued a press release announcing its third

  quarter 2014 (“3Q14”) financial results. The release stated, in relevant part: “Total Revenue [of]

  $2.1 billion . . . GAAP EPS [of] $0.81, [and] Cash EPS $2.11.” The release also reported net

  income of $275.4 million. The release further conveyed that “[t]otal same store sales organic

  growth was 19%, including impact from generics.”

                 The same day, Pearson, Schiller, and Kellen hosted a conference call to discuss

  Valeant’s 3Q14 financial results.     In his opening remarks, Pearson emphasized improved

  marketing and increased dermatology sales as the source of Valeant’s earnings growth, stating, in

  part:

          Revenues for our dermatology business, including the recent Precision acquisition,
          grew 33% quarter over quarter. The turnaround of our dermatology business is
          continuing. New leadership has brought stability to the sales force and has led
          to innovative new marketing approaches that are working well. This has resulted
          in market share and revenue gains across the portfolio, including launch
          products.

          Elidel, Acanya, Zyclara, and Ziana have all gained market share since the
          beginning of 2014. Elidel has had an exceptional year, increasing market share
          from 45% to 52%. And it has overtaken Protopic as the leader in this category.

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          After years of declines Solodyn market share has stabilized. On the new products
          side, both Jublia and Luzu quickly gained share, with Jublia reaching 7% script
          share of the total onychomycosis market, both branded and generics. And Luzu
          accelerated its script share to 13% of the branded topical antifungal market. In
          addition, quarter-over-quarter result growth for all of our dermatology promoted
          brands was over 40%.

                  On October 20, 2014, Allergan filed a response to Valeant’s 3Q14 financial results

  with the SEC and Valeant responded by filing a document entitled “October 20th rebuttal items.”

  In the document, Valeant rebutted Allergan’s assertion that “price is a large drive[r] of growth for

  select Valeant U.S. pharmaceutical businesses” by stating, in part:

                 Overall price/volume for the Valeant business was ~50% volume
                  and ~50% price.

                 Like all PhRMA [Pharmaceutical Research and Manufacturers of America]
                  companies, including Allergan, our managed care contracts restrict our
                  price increases each year, and many of our managed care contracts
                  restrict price increases to less than 10% net price increase per year.
                 Gross price increases could be seen as higher but do not contribute to our
                  reported net sales growth.

                  On October 24, 2014, Valeant filed its quarterly report on Form 10-Q for the third

  quarter ended September 30, 2014 (“3Q14 10-Q”). The 3Q14 10-Q was signed by Pearson and

  Schiller. The 3Q14 10-Q reported 3Q14 revenue of $2.056 billion, net income of $275.4 million,

  and GAAP EPS of $0.81 and included a statement regarding the Company’s purportedly lower

  risk business strategy, stating:

          The growth of our business is further augmented through our lower risk research
          and development model, which allows us to advance certain development
          programs to drive future commercial growth, while minimizing our research and
          development expense. We believe this strategy will allow us to maximize both the
          growth rate and profitability of the Company and to enhance shareholder value.

                  The 3Q14 10-Q also represented as a risk factor that “declines in the pricing and

  sales volume of certain of our products that are distributed by third parties, over which we have

  no or limited control” while concealing that Valeant controlled and had significant influence over

  Philidor.


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                  The 3Q14 10-Q included the Internal Controls Statement and SOX Certifications

  signed by Pearson and Schiller, which in all material respects are identical to the ones quoted

  above.

                  On January 8, 2015, Valeant hosted a guidance call to discuss its expected 2015

  financial performance and strategies for the year. Pearson, Schiller, and Kellen attended on behalf

  of the Company. During the call, Pearson stated, in relevant part:

           We demonstrated tremendous organic growth improvement in 2014 . . .

                                                 ***

           In conclusion, all the successes from 2014 and our [process] for 2015 and beyond
           continue to validate that Valeant’s business model is both sustainable and value
           creating. Our robust organic growth profile is evidenced by our ability to deliver
           double-digit organic growth, not only in 2014 and 2015 but strong organic growth
           for the foreseeable future.

                  The statements referenced above in Valeant’s July 18, 2014 press release,

  July 31, 2014 press release and conference call, 2Q14 10-Q, August 19, 2014 SEC filing,

  September 11, 2014 letter, October 20, 2014 3Q14 financial results, October 20, 2014 rebuttal to

  Allergan, 3Q14 10-Q, and January 8, 2015 guidance call, were false and misleading when made

  for the reasons provided in ¶¶142(a)-(e), (g), (h) and (j)-(k) above. Regarding price gouging,

  Valeant increased the price of Syprine and Cuprimine by 50% on July 18, 2014. Additionally, the

  source of Valeant’s growth of dermatology prescription products such as Solodyn, Ziana, Zyclara,

  Elidel, and Jublia, was not the improved marketing, business strategies, and increased sales volume

  of certain products as Defendants claimed, but rather the deceptive practices described in ¶142(b)

  above. Furthermore, Allergan’s claims were not “unjustified,” as Valeant’s business strategy relied

  upon extraordinary price increases which were not capped at 10% but were far beyond industry

  norms which carried the undisclosed risks detailed in ¶142(c) above and were unsustainable due

  to practices described in ¶142(b) above. In addition, far from “maintaining the highest ethical

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  standards in the industry,” Defendants were engaged in the deceptive practices set forth in ¶142(b)

  above; and despite “ensur[ing] tight controls and rigorous compliance standards” Valeant lacked

  controls and compliance standards as described in ¶142(j) above. Finally, in violation of GAAP,

  the 2Q14 10-Q and 3Q14 10-Q failed to disclose Philidor as a VIE as set forth in ¶¶331-33.

         E.      February 2015 To April 2015

                 On February 22, 2015, Valeant issued a press release announcing its fourth quarter

  2014 (“4Q14”) and full year 2014 financial results. For 4Q14, the release reported “Revenue [of]

  $2.3 billion . . . GAAP EPS [of] $1.56, [and] Cash EPS [of] $2.58.” For the full year 2014, the

  press release reported: “Revenue [of] $8.3 billion . . . GAAP EPS [of] $2.67, [and] Cash EPS [of]

  $8.34, (excluding Allergan gain).” The release also reported 4Q14 net income of $534.9 million

  and 2014 net income of $913.5 million. The press release further reported that “Total Same Store

  Sales organic growth” was 16% and 13% for the 4Q14 and FY 2014, respectively and quoted

  Pearson as claiming Valeant’s strategy “is paying off for all of our stakeholders” and reporting

  “Outstanding growth in the U.S., most notably dermatology.”

                 On February 23, 2015, Pearson and Schiller hosted a conference call to discuss

  Valeant’s 4Q14 and full year 2014 financial results. During the call, Schiller highlighted Valeant’s

  sources of growth, including that “[r]evenues for our dermatology business were very strong and

  increased 70% year-over-year” and:

         The outstanding work of our sales teams, implementation of innovative
         marketing approaches, great leadership, a portfolio of great products, and our
         four new launch products have contributed to the turnaround and the
         outstanding results in our dermatology business in Q4 and 2014.

         Core products such as Zyclara, Elidel, and the RAM franchise continued their
         strong growth. And Solodyn grew in Q4 and grew 5% for all of 2014, after a
         tough year in 2013.

         Jublia continues its rapid growth trajectory and reported more than 20,000
         weekly scripts for the last reported weekly sales report. This yields an annualized
         run rate of greater than $250 million for the product.

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                  On February 25, 2015, the Company filed with the SEC its annual report on Form

  10-K for the year ended December 31, 2014 (“2014 10-K”). The 2014 10-K was signed by

  Defendants Pearson and Schiller, and the relevant third parties. The 2014 10-K:

                  (a)    reported the Company’s 4Q14 revenue of $2.28 billion, net income of

  $534.9 million, GAAP EPS of $1.56, full year 2014 revenues of $8.264 billion, net income of

  $913.5 million, and GAAP EPS of $2.67;

                  (b)    attributed the source of Valeant’s growth to “our lower risk, output-focused

  research and development model, which allows us to advance certain development programs to

  drive future commercial growth, while minimizing our research and development expense”;

                  (c)    claimed “[t]o successfully compete for business with managed care and

  pharmacy benefits management organizations, we must often demonstrate that our products

  offer not only medical benefits but also cost advantages as compared with other forms of

  care. . . .”;

                  (d)    stated that “[t]he consolidated financial statements include the accounts

  of the Company and those of its subsidiaries and any variable interest entities (‘VIEs’) for which

  the Company is the primary beneficiary,” while omitting any mention of Philidor;

                  (e)    stated, under the heading “Business Combinations”:

           During the year ended December 31, 2014, the Company completed other smaller
           acquisitions, including the consolidation of variable interest entities, which are
           not material individually or in the aggregate. These acquisitions are included in
           the aggregated amounts presented below;

                  (f)    included “Reports of Management on Financial Statements and Internal

  Control over Financial Reporting” signed by Pearson and Schiller, stating:

           Financial Statements

           The Company’s management is responsible for preparing the accompanying
           consolidated financial statements in conformity with United States generally
           accepted accounting principles (“U.S. GAAP”). In preparing these consolidated
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           financial statements, management selects appropriate accounting policies and
           uses its judgment and best estimates to report events and transactions as they
           occur. Management has determined such amounts on a reasonable basis in
           order to ensure that the consolidated financial statements are presented fairly, in
           all material respects. Financial information included throughout this Annual
           Report is prepared on a basis consistent with that of the accompanying
           consolidated financial statements.

           Internal Control Over Financial Reporting

           Under the supervision and with the participation of management, including the
           Company’s Chief Executive Officer and Chief Financial Officer, the Company
           conducted an evaluation of the effectiveness of its internal control over financial
           reporting based on the framework described in Internal Control – Integrated
           Framework (2013) issued by the Committee of Sponsoring Organizations of the
           Treadway Commission. Based on its evaluation under this framework,
           management concluded that the Company’s internal control over financial
           reporting was effective as of December 31, 2014;

                  (g)     represented as a risk factor that “declines in the pricing and sales volume

  of certain of our products that are distributed or marketed by third parties, over which we have

  no or limited control”; and

                  (h)     also included the Internal Controls Statement and SOX Certifications

  signed by Pearson and Schiller, which in all material respects are identical to the ones quoted

  above.

                  On March 16, 2015, Valeant announced a $1.45 billion public offering of 7.3

  million shares of common stock at a price of $199 per share, the proceeds of which were used to

  fund the acquisition of Salix and related costs (“March 2015 Stock Offering”). The March 2015

  Stock Offering was conducted pursuant to a June 10, 2013 shelf registration statement and

  prospectus (“Registration Statement”), and a March 18, 2015 prospectus supplement (“Prospectus

  Supplement”; collectively with the Registration Statement, the “March 2015 Stock Offering

  Materials”).

                  The March 2015 Stock Offering Materials represented that:




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                 (a)     A “key element” of Valeant’s business strategy, which allowed it to

  “improve both the growth rate and profitability of the Company” and “enhance shareholder

  value,” was its “low-risk research and development (‘R&D’) model”;

                 (b)     Valeant’s dermatology segment and other segments were “attractive

  markets” in which Valeant operated because they were “high-growth businesses” with

  “sustainable organic growth” where the “healthcare professional or patient is still the primary

  decision maker,” and similarly stated that Valeant’s business strategy operated “to ensure

  decisions are made close to the customer” and that there was “significant opportunity to create

  value through application of the Valeant business model”;

                 (c)     Valeant’s “inventory is held at retail pharmacies and other non-wholesale

  locations over whose buying patterns we will have limited influence” and the “declines in the

  pricing and sales volume of certain of our products (or Salix’s products) that are distributed or

  marketed by third parties, over which we have no or limited control”; and

                 (d)     Valeant’s financial results for the year ended December 31, 2014: total

  revenues of $8.264 billion; net income of $913.5 million; and basic and diluted EPS of $2.72

  and $2.67, respectively, and stated that revenues had grown by approximately 43% year-over-year.

                 The March 2015 Stock Offering Materials also discussed the Company’s “Other

  Recent Acquisitions,” but failed to mention Valeant paid $100 million for the option to acquire

  Philidor just three months prior to the March 2015 Stock Offering, and claimed that the Company

  was “not currently a party to any significant transactions, other than the [Salix merger].”

                 Valeant’s 2014 10-K, which was expressly incorporated into the March 2015 Stock

  Offering Materials, included the same Internal Controls Statement and SOX Certifications as set

  forth above.



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                 On April 29, 2015, the Company issued a press release announcing its financial

  results for the first quarter 2015 (“1Q15”), as well as increased guidance for full year 2015. The

  release reported: “Same Store Sales Organic Growth was 15%, driven by”:

                Growth from launch brands, including BioTrue Multipurpose Solution,
                 BioTrue ONEday Contact Lens, Jublia, Luzu, and Ultra Contact Lens, and

                Double digit growth in U.S. businesses such as Contact Lens,
                 Dermatology, Neurology and Other, Obagi, and Oral Health[.]

                 On April 29, 2015, Pearson, Schiller and Kellen hosted a conference call to discuss

  Valeant’s 1Q15 financial results with investors and analysts. During the call:

                 (a)     Pearson stated, in part:

         Our US dermatology business had an outstanding quarter. Dermatology revenue
         grew 38% year on year and script growth grew 37% year on year. Jublia scripts
         grew 87% in Q1 versus Q4 of last year; and

                 (b)     An analyst asked “if you could quantify a little bit how much was price

  versus volume that contributed to growth in 1Q? And what do you factor in your full-year guidance

  price versus volume?” Pearson responded:

         In terms of price volume, actually volume was greater than price in terms of our
         growth. Outside the United States it’s all volume . . . . And in the US it’s shifting
         more to volume than price, and we expect that to continue with our launch brands.
         A lot of our prices for most of our products are negotiated with managed care. And
         there’s only a limited amount of price that we can take.

                 On April 30, 2015, Valeant filed its quarterly report on Form 10-Q with the SEC

  for the period ended March 31, 2015 (“1Q15 10-Q”). The 1Q15 10-Q was signed by Pearson and

  Schiller and: (a) reported the Company’s 1Q15 revenue of $2.191 billion; (b) included the same

  statement related to Valeant’s “Business Combinations’’ as in the Company’s 2014 10-K,

  discussed above at ¶198(e), which failed to mention the existence of Philidor as a VIE; and

  (c) included the Internal Controls Statement and SOX Certifications signed by Pearson and

  Schiller, which in all material respects are identical to the ones quoted above.



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                 The 1Q15 10-Q also included a statement regarding the Company’s purportedly

  lower risk business strategy, stating:

         The growth of our business is further augmented through our lower risk, output-
         focused research and development model, which allows us to advance certain
         development programs to drive future commercial growth, while minimizing our
         research and development expense. We believe this strategy will allow us to
         maximize both the growth rate and profitability of the Company and to enhance
         shareholder value.

                 The 1Q15 10-Q represented as a risk factor that “declines in the pricing and sales

  volume of certain of our products that are distributed or marketed by third parties, over which

  we have no or limited control” while concealing that Valeant controlled and had significant

  influence over Philidor.

                 The statements referenced above in Valeant’s February 22, 2015 press release,

  February 23, 2015 conference call, 2014 10-K, April 29, 2015 press release and conference call,

  and 1Q15 10-Q were false and misleading when made for the reasons provided in ¶¶142(a)-(k)

  above. Additionally, rather than competing by demonstrating their products’ “cost advantages,”

  Defendants were engaged in the deceptive practices outlined in ¶142(b) above, raising the price of

  products by as much as 5,700% without justification. Furthermore, in violation of GAAP, the 2014

  10-K and 1Q15 10-Q failed to disclose Philidor as a VIE as set forth in ¶¶331-33.

         F.      May 2015 To July 2015

                 On May 19, 2015, Pearson addressed investors at Valeant’s 2015 annual

  shareholder meeting. Pearson made numerous statements about the business strategy, source of

  growth, pricing, and stock price including:

                 (a)     Pearson said that “we have a differentiated R&D model that has and will

  continue to deliver more innovative products to our customers at a lower cost than our

  competitors” adding that “[w]e’ve delivered three consecutive strong quarters of organic growth,

  19% and 16% and 15% respectively”; and
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                 (b)     Valeant had a “unique executive compensation system tied to generating

  disproportionate returns for our shareholders.”

                 On May 21, 2015, Pearson attended a RBC Capital Markets, LLC (“RBC”) Investor

  Meeting on Valeant’s behalf and made numerous statements about the Company’s pricing, source

  of growth, and accounting practices, including:

                 (a)     when asked to discuss pricing in the United States, Pearson said that due to

  managed care contracts, Valeant was “contractually not allowed to raise prices beyond” an

  average of “5%,” including in its Dermatology business;

                 (b)     while discussing pricing, Pearson said of the Neurology and Other business

  segment “that’s where we have the most ability to raise price[s] and play with price” and raising

  prices “is I believe not, at least from your [an investor’s] standpoint a bad thing.” Pearson stated

  that orphan products provided him with the opportunity to be flexible with pricing. He said

  Valeant’s base plan was around 5% price increases adding that Valeant had raised prices more in

  certain areas but that “we don’t plan for them, but again if we can take advantage of - during

  times we’ve had significant price increases in acquisitions.” Rather than disclosing the deceptive

  tactics to implement the price increases, Pearson claimed Valeant was able to raise prices by buying

  products from companies “that did not price their product the right way”;

                 (c)     Pearson said they raised the prices of Isuprel and Nitropress because

  Marathon left money “on the table” and claimed the drugs were priced much lower than

  competitive products, stating they raised prices “because the drugs were mispriced vs.

  comparative products” and adding “that can create lot of value[] for shareholders’’;




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                 (d)     Pearson added that “we’ve been accused of our growth being price and not

  volume” but claimed that “organic growth is more volume than price and will continue to be”;9

  and

                 (e)     turning to Valeant’s accounting practices and financial status, Pearson

  reassured investors “our accounting practices are fine” and added “[w]e get audited all the time,

  by the SEC. . .and we have absolutely no issue from a government standpoint” and that “we

  never had a financial irregularity.”

                 On July 23, 2015, the Company issued a press release announcing its second quarter

  2015 (“2Q15”) financial results and increasing the Company’s full year 2015 guidance. The

  release reported that “Same Store Sales Organic Growth was 19%, driven by: U.S. businesses,

  driven by the strength of dermatology, contact lenses, dental and Obagi.”

                 The July 23, 2015 press release also quoted Pearson as stating: “We once again

  exceeded our guidance and delivered our fourth consecutive quarter of greater than 15%

  organic growth. Our strong second quarter results were driven by outperformance in our U.S.

  businesses.”

                 On July 23, 2015, the Company also hosted a conference call to discuss its 2Q15

  financial results. Pearson, Rosiello, and Kellen attended on Valeant’s behalf. Commenting on the

  Company’s results, Pearson stated, in relevant part:

         We have now delivered four consecutive quarters of more than 15% same-store
         organic growth. Strong performance throughout our businesses resulted in both



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    On May 21, 2015, Schiller, in an email with the subject “price/volume,” wrote to Pearson, “Last
  night, one of the investors asked about price versus volume for Q1. Excluding [M]arathon, price
  represented about 60% of our growth. If you include [M]arathon, price represents about 80%.” In
  addition, on May 26, 2015, a RBC analyst reported that one of the key takeaways from the
  meetings with Valeant management and Pearson, was “volume not price is fueling organic
  growth.”
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         our top and bottom line exceeding the Q2 guidance that we provided on our last
         call.

                                                ***

         Turning to organic growth, our overall same-store total company organic growth
         was 19% for the quarter. The exceptional growth of our US businesses driven by
         the strength of dermatology, contact lenses, dental and Obagi was complimented
         by many of our emerging markets including China, Middle East/North Africa,
         Russia and South Korea.

                                                ***

         Jublia is now our second largest product with annual run-rates sales of
         approximately $450 million. . . .

         Our US dermatology business had another excellent quarter with our launch
         brands leading the way. Both launch and core brands contributed to the
         dermatology revenue growth of 55% year-on-year. Jublia scripts grew 37% in Q2
         versus Q1 . . .

                During the question and answer session of the Company’s July 23, 2015 conference

  call, a Jefferies LLC analyst questioned whether the number of prescriptions for Jublia going

  through specialty pharmacy channels had improved. In response, Kellen, Valeant’s Company

  Group Chairman, concealed Valeant’s control over the Philidor network, and stated:

         Yes, the adoption through multiple specialty pharmacies continues. I think last
         time we said Jublia was around 50%. That trend continues. For derm[atology]
         overall, it varies by product, but it’s around 40%.

                As the call continued, Pearson was asked about the price increase on Glumetza and

  the “extent to which you envision more pricing power . . . broadly speaking, in the U.S.?” In

  response, Pearson stated:

         I think most pharma companies that I’m aware of, as the product gets into the last
         stages of their life, like Glumetza -- we’re going to lose Glumetza within six months
         -- often price increases are taken at the end. So that was just consistent with what
         most companies do.

         Our view on pricing -- across most of our portfolio, we do not take prices. Outside
         the US, there’s like zero price. I think, David, as we get more and more into
         segments like contact lenses and consumer products and other devices, we’re not
         able to take price. So we’re opportunistic when it comes to price. But our base
         strategy is, how do we grow organically through volume, which is -- I think this
         quarter, we once again exhibited our ability to do so.


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                 On July 28, 2015, the Company filed its quarterly report on Form 10-Q with the

  SEC for its 2Q15, ended June 30, 2015 (“2Q15 10-Q”). The 2Q15 10-Q was signed by Pearson

  and Rosiello. The 2Q15 10-Q reported the Company’s revenues for the six months ended

  June 30, 2015 of $4.923 billion. The 2Q15 10-Q also stated:

         As is customary in the pharmaceutical industry, our gross product sales are
         subject to a variety of deductions in arriving at reported net product sales.
         Provisions for these deductions are recorded concurrently with the recognition of
         gross product sales revenue and include cash discounts and allowances,
         chargebacks, and distribution fees, which are paid to direct customers, as well as
         rebates and returns, which can be paid to both direct and indirect customers. . . .
         Provisions as a percentage of gross sales increased to 32% and 33% for the
         second quarter and first half of 2015, respectively, compared with 27% and 26%
         in the second quarter and first half of 2014. The increase was driven by (i) higher
         provisions for rebates, chargebacks, and returns, including managed care rebates
         for Jublia® and the co-pay assistance programs for launch products including
         Jublia®, Onexton®, and Retin-A Micro® Microsphere 0.08% (“RAM
         0.08%”) . . .

                 The 2Q15 10-Q also included a statement regarding the Company’s purportedly

  lower risk business strategy, stating:

         The growth of our business is further augmented through our lower risk, output-
         focused research and development model, which allows us to advance certain
         development programs to drive future commercial growth, while minimizing our
         research and development expense.

                 The 2Q15 10-Q represented as a risk factor that “declines in the pricing and sales

  volume of certain of our products that are distributed or marketed by third parties, over which

  we have no or limited control” while concealing that Valeant controlled and had significant

  influence over Philidor.

                 The 2Q15 10-Q also included the Internal Controls Statement and SOX

  Certifications, but signed by Rosiello and Pearson, which in all material respects are identical to

  the ones quoted above.

                 The statements referenced above in Valeant’s May 19, 2015 annual shareholder

  meeting, May 21, 2015 RBC Investor Meeting, July 23, 2015 press release and conference call,


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  and 2Q15 10-Q, were false and misleading when made for the reasons provided in ¶¶142(a)-(k).

  Additionally, price increases represented 80% of Valeant’s 1Q15 growth compared to only 20%

  attributable to volume increases; and contrary to Pearson’s suggestions that price increases were

  not a “bad thing” for investors and that prior owners had underpriced drugs, Valeant had achieved

  the price increases through the deceptive practices described in ¶142(b) which carried the

  undisclosed risks described in ¶142(c). Furthermore, provisions for rebates and chargebacks,

  including managed care rebates for Jublia, had increased due to the Company’s use of copay

  reimbursements and other methods of financial assistance to conceal its price gouging as described

  in ¶142(b) and were not “customary” deductions. Finally, Valeant’s “unique” compensation

  system was part of Valeant’s improper “tone at the top” as described in ¶142(j) above and that in

  violation of GAAP, the 2Q15 10-Q failed to disclose Philidor as a VIE as set forth in ¶¶331-33.

         G.      September 2015 To December 2015

                 On September 28, 2015, Valeant filed a Form 8-K with the SEC that attached a

  letter from Pearson to the Company’s employees responding to claims that Valeant’s “business

  model and strategy is dependent upon large price increases in our U.S. pharmaceutical business”

  and “[c]oncern around our exposure to U.S. government drug price reimbursement.” In his letter:

                 (a)    Pearson referred to these concerns as a “bear thesis,” claimed they were

  “incorrect on both accounts,” and dismissed the dependency on price increases stating “Valeant

  is well-positioned for strong organic growth, even assuming little to no price increases”;

                 (b)    Pearson added, “[a]s we have stated many times, Valeant’s core operating

  principles include a focus on volume growth and a concentration on private and cash pay markets

  that avoid government reimbursement in the U.S.” and “the majority of our portfolio will continue

  to deliver strong volume-based organic growth and is not dependent on price increases”;



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                  (c)    Pearson went on to “lay out the facts” noting, in part, that: (i) growth in

  dermatology, ophthalmology, Rx and dentistry was based on having “delivered over 30% script

  growth year to date,” and (ii) they expected “double-digit script growth and corresponding

  revenue growth trends to continue” in the “Salix business”; and

                  (d)    Pearson added, “we expect double-digit organic growth in 2016 and

  beyond as we prepare for the launch of Addyi and anticipate other potential product

  approvals . . . ”

                  On October 14, 2015, Valeant issued a press release noting it received subpoenas

  from the DOJ for documents regarding its patient assistance and distribution practices. The release

  quoted Pearson as stating that “All of us at Valeant firmly believe in maintaining strong

  regulatory and financial controls and believe we have operated our business in a fully compliant

  manner.”

                  On October 19, 2015, Valeant issued a press release announcing its third quarter

  2015 (“3Q15”) financial results and hosted an earnings conference call that began before the

  market opened. The release stated, in part, “Same store sales organic growth of 13%; 5th

  consecutive quarter of > 10% organic growth, driven by: Continued outperformance of U.S.

  businesses, particularly dermatology and contact lens. . . .”

                  (a)    As discussed in ¶¶257-72, by this time Valeant’s ties to Philidor were

  beginning to be uncovered by investigative journalists, which forced Valeant to publicly disclose

  the relationship. To offset the negative impact on the price of Valeant securities, the Company

  raised revenue and EPS guidance for the fourth quarter 2015 (“4Q15”) and full year 2015, stating:

          4Q15 Guidance

                 Total Revenue increased to $3.25 - $3.45 billion [midpoint of $3.35 billion]
                  from $3.2 - $3.4 billion [midpoint of $3.3 billion]


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                Cash EPS increased to $4.00 - $4.2 0 [midpoint of $4.10] from $3.98 -
                 $4.18 [midpoint of $4.08]

           Full Year 2015 Guidance

                Total Revenue increased to $11.0 - $11.2 billion [midpoint of $11.1 billion]
                 from $10.7 - $11.1 billion [midpoint of $10.9 billion]

                                                ***

                Cash EPS increased to $11.67 - $11.87 [midpoint of $11.77] from $11.50
                 - $11.80 [midpoint of $11.65]; and

                 (b)    In addition, the press release quoted Pearson as stating, in part, “With our

  strong product portfolio and growth prospects, we feel very confident in our future outlook and

  we are reaffirming our $7.5 billion EBITDA floor for 2016.”

                 That same day, Pearson, Rosiello, and Kellen hosted a conference call. In the slide

  presentation accompanying the earnings conference call, Valeant included a list of anticipated

  “Questions from Investors.” One of the “anticipated” questions was “How does Valeant work with

  specialty pharmacies and what is Valeant’s relationship with Philidor” to which the presentation

  noted:

                We have viewed our relationship with Philidor and our other specialty
                 pharmacies as proprietary and as one of our competitive advantages

                Similar to many pharmaceutical companies in the U.S., an increasing
                 percentage of our revenue is coming from products dispensed through
                 multiple specialty pharmacies

                We find specialty pharmacies improve patients’ access to medicines at an
                 affordable price and help ensure physicians are able to prescribe the
                 medications they believe most appropriate for their patients

                                                ***

                We understand that Philidor:

                       Provides services under our programs for commercially insured and cash-
                        paying claims only. Any claim that would be reimbursed in whole or in part
                        by government insurance is not eligible for our co-pay subsidy programs




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                        Does not restrict prescriptions it fills to any particular manufacturers
                         (including Valeant)10

                        Dispenses generic products as specified in patient’s prescription or as
                         requested by patient

                 During the call, Pearson repeated some of the same claims, saying that the

  relationship with Philidor had not been disclosed previously for “competitive reasons” and

  suggesting Valeant’s use of specialty pharmacies was similar to its competitors and resulted in

  more affordable prices, stating, in part:

         The topic of specialty pharmacies has not been a focus of ours on past calls
         because we believe this was a competitive advantage that we did not want to
         disclose to our competitors. But given all the incorrect assertions by some, we
         will provide an update to this call.

         Similar to many pharmaceutical companies in the US, an increasing percentage
         of our revenue is coming from products dispensed through multiple specialty
         pharmacies. We find specialty pharmacies improve patients’ access to medicines
         at an affordable price, and help ensure physicians are able to prescribe the
         medications they believe most appropriate for their patients. In almost all cases,
         our inventory with specialty pharmacies in this channel and the title to our
         medicine only transfers to the pharmacy when the actual prescription is filled.

                 Pearson also claimed that “[s]ince we do not recognize the revenue of our products

  [sold through Philidor] until the prescriptions are filled, this consolidation has the impact of

  delaying revenue recognition as compared to products that are sold through traditional

  distribution channels.”

                 In reference to media and government scrutiny of Valeant’s pricing practices,

  Pearson claimed that such criticism was an industry-wide problem and told investors that Valeant’s

  forecast was appropriately discounted for such scrutiny, claiming “it’s clear that the

  pharmaceutical industry is being aggressively attacked for past pricing actions. And that’s not

  just Valeant, but I think it’s all companies. I do think given that environment, the pricing that



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    As Defendants knew, and as Philidor admitted on November 25, 2015, Valeant was Philidor’s
  only customer.
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  pharmaceutical companies will take in the future will be more modest, and we built that into our

  forecast for next year.”

                 Regarding the lawsuit filed by R&O, Pearson reassured investors that the business

  practices of Valeant and Philidor were proper by claiming:

         R&O is one of the specialty pharmacies in our network, and Valeant has shipped
         approximately $69 million at wholesale prices to them. This represents
         approximately $25 million at net prices. Any products R&O dispensed to patients
         were recognized as our revenues, and are reflected in our receivables. Any products
         still held by R&O are reflected in our inventory. R&O is currently improperly
         holding significant amounts it receives from payers. We will refrain from
         comment on active litigation, and look forward to showing in court that we are
         owed the money.

                 During the conference call, Rosiello repeated the increased guidance from the press

  release, ¶223, and added that “[w]e expect our gross margins to approach 80% in the fourth

  quarter, driven by continued growth in our dermatology and Salix businesses, the launch of

  Addyi, and decreased sales of Xenazine.” His statements were accompanied by the following chart

  in the slide presentation:

                               Previous Q4      New Q4 2015        Previous full      New full year
                                     2015                              year
           Revenues              $3.2 - $3.4B   $3.25 - $3.45B    $10.7 - $11.1B     $11.0 - $11.2B

           Cash EPS            $3.98 - $4.18    $4.00 - $4.20     $11.50 - $11.80    $11.67 - $11.87
                                  per share       per share          per share          per share
           Adj. Cash                 NA             NA                >$3.2B            >$3.35B
           Flow From
           Operations

                 To further alleviate investor concern, and buoy the price of Valeant’s securities, the

  slide presentation also stated that Valeant was “reaffirming our expectations to exceed $7.5

  [billion] in EBITDA in 2016.” When Pearson was asked during the conference call how the lack

  of price increases going forward may affect the Company’s ability to meet EBITDA guidance in

  2016, he responded, in part, “today . . . we feel very comfortable with the $7.5 billion and we

  expect our guidance next year will exceed that.”
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                 On October 21, 2015, Valeant issued a press release responding “to recent

  accusations made regarding its financial reporting and operations” by Citron Research (“Citron”)

  that Valeant was inflating revenues through its secret network of pharmacies to refute such

  allegations and confirm it was complying with GAAP stating, in part:

                All shipments to Philidor and other pharmacies in the Philidor pharmacy
                 network, including R&O, are not recorded in Valeant’s consolidated net
                 revenue. Sales are recorded only when the product is dispensed to the
                 patient. All sales to Philidor and Philidor network pharmacies are
                 accounted for as intercompany sales and are eliminated in consolidation.
                 They are not included in the consolidated financial results that Valeant
                 reports externally.
                Any inventory at pharmacies in the Philidor pharmacy network are included
                 in Valeant’s consolidated inventory balances – there is no sales benefit
                 from any inventory held at these specialty pharmacies and inventory held
                 at the Philidor network pharmacies is reflected in Valeant’s reported
                 inventory levels.

                                                ***

                The timing of our revenue recognition by selling through the Philidor
                 pharmacy network is actually delayed when compared to selling through
                 the traditional wholesaler channel.

                 On October 26, 2015, the Company filed its quarterly report on Form 10-Q with

  the SEC for the period ended September 30, 2015 (“3Q15 10-Q”). The 3Q15 10-Q was signed by

  Pearson and Rosiello. The 3Q15 10-Q reported the Company’s revenue for the nine months

  ended September 30, 2015 of $7.71 billion.

                 The 3Q15 10-Q disclosed that Valeant had the “power to direct Philidor’s activities”

  and stated that Valeant’s entire Board of Directors had reviewed Valeant’s accounting for Philidor

  and had confirmed its appropriateness. Specifically, the 3Q15 10-Q stated: “During the year ended

  December 31, 2014, the Company completed other smaller acquisitions, including the

  consolidation of variable interest entities, which were not material individually or in the

  aggregate.” The 3Q15 10-Q report further stated:



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         On October 26, 2015, the Company also announced that its Audit and Risk
         Committee and the full Board of Directors have reviewed the Company’s
         accounting for its Philidor arrangement and have confirmed the appropriateness
         of the Company’s related revenue recognition and accounting treatment.

         As is customary in the pharmaceutical industry, our gross product sales are
         subject to a variety of deductions in arriving at reported net product sales.
         Provisions for these deductions are recorded concurrently with the recognition
         of gross product sales revenue and include cash discounts and allowances,
         chargebacks, and distribution fees, which are paid to direct customers, as well as
         rebates and returns, which can be paid to both direct and indirect customers. . . .
         Gross product sales for products dispensed through Philidor Rx Services, LLC
         (“Philidor”) pharmacy network (which is consolidated as a variable interest entity
         within our consolidated financial statements) are recognized when a prescription
         is dispensed to a patient. Net sales recognized through the Philidor pharmacy
         network represents 7% and 6% of our total consolidated net revenue for the three
         months and nine months ended September 30, 2015, respectively;

                 (a)     The 3Q15 10-Q also described the Company’s performance:

         Excluding the items described above, we realized incremental product sales
         revenue from the remainder of the existing business of $236 million and $820
         million in the third quarter and first nine months of 2015, respectively. The growth,
         which incorporates sales directly to wholesalers and retailers as well as use of
         specialty pharmacies (primarily Philidor), reflected (1) higher sales of (i) Jublia®
         (launched in mid-2014), (ii) the Retin-A® franchise (including the launch of RAM
         0.08% in mid-2014), (iii) Xenazine®, (iv) Arestin®, (v) Solodyn®, and (vi) the
         Carac® franchise, and (2) higher sales from other recent product launches,
         including the launches of Biotrue® ONEday, Bausch + Lomb Ultra®, and
         Onexton®;

                 (b)     The 3Q15 10-Q also included a statement regarding the Company’s

  purportedly lower risk business strategy, stating:

         The growth of our business is further augmented through our lower risk, output-
         focused research and development model, which allows us to advance certain
         development programs to drive future commercial growth, while minimizing our
         research and development expense; and

                 (c)     The 3Q15 10-Q included the Internal Controls Statement and SOX

  Certifications (this time signed by Pearson and Rosiello), which in all material respects are

  identical to the ones quoted above.

                 On October 26, 2015, Valeant issued a press release designed to alleviate investor

  concerns and re-inflate the price of Valeant stock, which:



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                  (a)     repeated that Valeant’s “Audit and Risk Committee and the full Board of

  Directors have reviewed the company’s accounting for its Philidor arrangement and have

  confirmed the appropriateness of the company’s related revenue recognition and accounting

  treatment”;

                  (b)     quoted Pearson as stating that “As we have said previously, our accounting

  with respect to the Company’s Philidor arrangements is fully compliant with the law,” and “We

  operate our business based on the highest standard of ethics, and we are committed to

  transparency”; and

                  (c)     quoted Ingram as stating that the Board of Directors “has fully supported

  the company’s specialty pharmacy strategy,” adding that Pearson “operates with the highest

  degree of ethics.’’

                  Also on October 26, 2015, the Company hosted a conference call with investors

  that was accompanied by a presentation. Pearson, Schiller, Rosiello, Ingram, Provencio, Melas-

  Kyriazi, Stevenson, Carro, and Kellen attended on behalf of Valeant. The presentation disclosed

  that “[o]ur specialty pharmacy strategy originated from the Medicis Alternate Fulfillment

  Program.” Among other things, the presentation also stated that:

                  (a)     “Prescriptions through Philidor are less profitable than traditional

  channels due to lower copay rates, lower cash pay rates and more cash pay scripts in Philidor

  than in retail and other channels”;

                  (b)     “We do not own or control Philidor . . .” and “Philidor employees do not

  report to Valeant . . .”;

                  (c)     “Philidor is independent . . .”; and




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                  (d)    “Unless and until Valeant exercises the option to acquire Philidor, Philidor

 remains independent and Valeant has no rights to remove CEO or management.”

                  Pearson assured investors there was no improper accounting or other improper

 practices involving Philidor stating:

                  (a)    “we stand by our accounting treatment of Philidor completely”;

                  (b)    “[w]e follow the law and we comply with accounting and disclosure

 rules’’;

                  (c)    “the sensational claims made by the short seller Andrew Left, through his

 entity Citron, are completely untrue. His motivation is the same as someone who runs into a

 crowded theater to falsely yell fire. He wanted people to run”;

                  (d)    “after we saw the false report from Citron, we promptly coordinated with

 our outside regulatory counsel from Cahill to make a request that the SEC investigate Mr. Left

 and Citron”;11

                  (e)    “We still believe that the strategy of working with specialty pharmacies is

 sound and it’s good for patients and physicians. There have been no issues with regards to the

 accounting or revenue recognition of the business’’; and

                  (f)    “We have been working with outside counsel and we have found no

 evidence of illegal activity whatsoever at Philidor.”

                  Ingram, Valeant’s lead independent director, speaking on behalf of the entire Board

 of Directors, reaffirmed these statements, saying:

            Thank you, Mike [Pearson]. As Mike stated, the Company stands by its
            accounting completely. The audit committee of the Board and the full Board
            have reviewed the Company’s accounting, the Philidor relationship, and have


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   This request eventually led the SEC to investigate Valeant’s accounting, which as noted below,
 resulted in a restatement.
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        confirmed the appropriateness of the Company’s revenue recognition and
        accounting treatment.

                Rosiello reinforced the statements by Pearson and Ingram adding:

                (a)     “Valeant consolidates financials with Philidor and the Philidor network,

 ensuring that revenue recognition and financial statement presentation is appropriate”;

                (b)     “Valeant recognizes revenue only when products are dispensed to patients,

 and Valeant records this at net realized price”;

                (c)     “There is simply no way to stuff the channel of consolidated variable

 interest entities, or VIEs, since all inventory remains on Valeant’s consolidated balance sheet

 until dispensed to patients”; and

                (d)     “Philidor was considered a VIE prior to the purchase option agreement, but

 since Valeant was not determined to be the primary beneficiary, consolidation was not appropriate.

 A purchase option agreement for Philidor was executed in December 2014. The finance and

 transactions committee, audit and risk committee, and full Board, all reviewed the transaction.

 The appropriate accounting treatment was determined by management and reviewed with the

 Audit and Risk Committee.”

                Carro, Valeant’s corporate controller, also defended Valeant’s accounting and lack

 of prior disclosure regarding Philidor. Specifically:

                (a)     Carro claimed that, as of year-end 2014, “Philidor is not considered to be

 material to Valeant’s business for reporting purposes” at the end of 2014 because the “GAAP

 requirement for disclosing sales to large customers is 10% of revenue” and in December 2014

 Philidor’s year-to-date net sales were $111 million; and

                (b)     Carro claimed that for the first two quarters of 2015 “Philidor was not

 specifically mentioned in our disclosures because it had not been material to the consolidated


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 financial statements,” because “[i]t represented 1% or less of total assets and 7% or less of

 consolidated net revenues since the fourth quarter of 2014.”

                Schiller reassured investors that there was no evidence of wrongdoing by Pearson,

 stating “if I had any concerns whatsoever about Valeant or Mike, I would not have stayed on the

 Board. It’s as simple as that. When we announced that I was leaving, and Mike and I had a bit of

 our lovefest, I don’t want to repeat all the words but I meant them in terms of Mike is professional,

 his ethics, his work ethic, his commitment to doing the right thing.”

                To mitigate the impact of the negative news, Pearson reaffirmed Valeant’s recently

 increased 2015 guidance, stating: “Given the continued healthy growth in dermatology, Salix,

 eye health, and the recent Addyi launch, we expect to meet or exceed our fourth-quarter

 projections, excluding the one-time expenses associated with recent events.” He added, “we

 continue to be very comfortable with our 2016 EBITDA expectation of greater than $7.5

 billion.”

                On November 10, 2015, before the market opened, Pearson, Rosiello, Carro, and

 Kellen hosted a conference call with investors to “update [the market] on our strategy with respect

 to specialty pharmacies, to explain our transition plans for Philidor, to discuss our business

 performance for the first half of the quarter, and perhaps most importantly to take questions from

 all of you.”12 Pearson stated, in relevant part:

         We began working with Philidor because we believed a strong relationship with
         one specialty pharmacy would deliver better, faster customer service for doctors
         and patients. We were also looking for a pharmacy which would be willing to
         process prescriptions before adjudicating the claims, which would allow us rather
         than the patient, to assume the risk if the commercial payer denied the claim.




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    As discussed herein, in late October 2015 Valeant announced that it would be terminating its
 relationship with Philidor and that Philidor would be shut down.
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                An analyst noted that there were “two kind[s] of major accusations aimed at the

 Company,” one regarding pricing and the other regarding Philidor, and noted that Valeant “decided

 to limit your pricing going forward” and “cut operations with Philidor.” With regard to Philidor,

 Pearson responded in part:

        Well Philidor was very specific. First, there was the Citron report which claimed
        financial fraud and other things. They quickly came out and there was no
        financial fraud, in terms of Valeant had to do. But then other allegations were
        made in terms of the practices of Philidor. And we felt, both management and the
        Board felt that given these allegations, given what was happening to our stock price
        and given what many of our major shareholders were asking us to do that the best
        thing to do was to sever.

                On December 16, 2015, Valeant issued a press release formally withdrawing the

 inflated guidance it issued less than two months earlier on October 19, 2015. Attempting to offset

 the disappointing revised 2015 guidance and notwithstanding the financial impact of its lost sales

 through Philidor and increased scrutiny by PBMs and private payors, Valeant’s December 16, 2015

 press release projected robust 2016 growth with revenue of $12.5- $12.7 billion, Cash EPS of

 $13.25 - $13.75, and EBITDA of $6.9 - $7.1 billion.

                The same day, Valeant hosted a conference call. Pearson, Rosiello, Jorn, and Kellen

 participated on behalf of the Company. Rosiello repeated the 2016 guidance and Pearson stated

 the guidance was conservative, noting: “I feel very comfortable with the guidance. But each little

 pieces [sic], I feel little less comfortable this year just given - so we put an extra dose of

 conservatism in.” Pearson added: “Addyi . . . a lot of people have said, Addyi is a disaster; today

 you’ll see it’s not a disaster. So we believe we’ll sell between $100 million and $150 million in

 sales of Addyi next year.”

                The statements referenced above in Valeant’s September 28, 2015 Form 8-K,

 October 14, 2015 press release, October 19, 2015 press release and conference call,

 October 21, 2015 press release, 3Q15 10-Q, October 26, 2015 press release and conference call,


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 November 10, 2015 conference call, and December 16, 2015 press release were false and

 misleading when made for the reasons provided in ¶¶142(a)-(k) above. Regarding price increases,

 Valeant increased the price of Cuprimine on July 31, 2015 by more than 400%. Furthermore,

 Valeant’s secret network of captive pharmacies was not concealed because it was a “competitive

 advantage” and designed to make prices more “affordable,” but rather because its disclosure

 carried the impact described in ¶142(c) above, and Philidor was not formed to deliver better service

 or transfer risks to Valeant of non-payment but was part of Valeant’s strategy to implement the

 deceptive practices described in ¶142(b) above.

                Additionally, at the time of issuing increased guidance, Defendants were aware that

 they had doubled the price of Addyi, making it unlikely to be covered by insurance or approved

 by PBMs, cancelled a distribution agreement with Cardinal Health in order to rely on Philidor to

 distribute Addyi, and the disclosure of Valeant’s relationship with Philidor and investigations into

 their price gouging would result in decreased sales, sale prices, revenue, and earnings. In addition,

 as a result of ¶¶142(a)-(k) above and additional reasons stated herein, Defendants had no

 reasonable basis to believe and, in fact did not believe, that Valeant could achieve 4Q15 and full

 year 2015 revenue of $3.25-$3.45 billion and $11-$11.2 billion, respectively; 4Q15 and full year

 2015 Cash EPS of $4.00- $4.20 and $11.67-$11.87, respectively; full year 2016 EBITDA of at

 least $7.5 billion; full year 2016 revenue of $12.5-$12.7 billion, Cash EPS of $13.25-$13.75 billion

 or EBITDA of $6.9-$7.1 billion. At the time Pearson, Schiller, and Rosiello signed their respective

 SOX Certifications in the 10-Qs for 1Q13 through 3Q15, the 2013 10-K, and the 2014 10-K, they

 knew or recklessly disregarded that they were false and misleading for the reasons stated in

 ¶¶142(a)-(k) above.




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        THE TRUTH ABOUT DEFENDANTS’ FALSE
        AND MISLEADING STATEMENTS EMERGES

                Through a series of partial disclosures commencing in September 2015, the truth

 emerged regarding Valeant’s true business operations and prospects.

        A.      Valeant’s Extraordinary Price Gouging Is Revealed

                Beginning in September 2015, public attention began to focus on the practice of

 certain pharmaceutical firms, such as little-known Turing Pharmaceuticals (“Turing”), of acquiring

 drugs and then massively increasing prices. On September 28, 2015, Bloomberg reported that all

 Democratic members of the U.S. House of Representatives Committee on Oversight and

 Government Reform (“House Oversight Committee”) were calling for an investigation of price

 gouging by Valeant, and had sent a letter to Chairman Jason Chaffetz urging him to subpoena

 Valeant. In the letter, these Congressmen wrote that:

        [I]n February, Valeant purchased the rights to sell Nitropress, which is used to treat
        congestive heart failure and hypertensive episodes, and Isuprel, which is used to
        treat heart block and abnormal heart rhythm. The same day, Valeant increased the
        prices of these drugs to $805.61 and $1,346.62, respectively (increases of 212%
        and 525%). When asked about its price increases, a Valeant spokeswoman
        responded: “Our duty is to our shareholders and to maximize the value” of the
        drugs.

                The September 28, 2015 letter also revealed that on July 31, 2015, staff members

 from the House Oversight Committee participated in a call in which Valeant representatives “failed

 to adequately answer our questions about the basis for their skyrocketing prices.” It also revealed

 that on August 12, 2015, “Ranking Member Cummings sent [a] document request to Valeant” and

 on September 3, 2015, “Valeant rejected Ranking Member Cummings’ request in a dismissive

 two-page letter that refused to provide any of the requested documents.”

                Also on September 28, 2015, The Washington Post disclosed that Senator

 McCaskill “sent a detailed list of 22 questions to [Valeant], probing its simple explanation that it


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 increased two heart drug prices because they were ‘significantly underpriced.’” Citron published

 a report the same day revealing that Valeant had more than doubled the price of 30 other drugs

 during the Relevant Period stating: “Martin Shkreli was created by the system. Shkreli is merely

 a rogue trying to play the gambit that Valeant has perfected.” The report also highlighted that

 “Valeant has made little to no effort to improve these products.”

                   On September 28 and 29, 2015, media outlets reported that Valeant was “in [the]

 crosshairs of [the] U.S. Congress” for its practice of “engag[ing] in a business strategy of buying

 old neglected drugs and turning them into high-price specialty drugs,” noting that Valeant was

 using the same business model as Turing. (Turing’s CEO, former hedge fund manager Martin

 Shkreli, resigned three months later following his indictment by federal authorities on securities

 fraud charges.)

                   In response to these developments, Valeant issued a press release on

 September 28, 2015, announcing that it had distributed a letter to its employees in which Pearson

 attempted to address concerns that Valeant’s “business model and strategy is dependent upon large

 price increases in our U.S. pharmaceutical business” and “[c]oncern around our exposure to U.S.

 government drug price reimbursement.”

                   On October 4, 2015, The New York Times questioned Pearson’s September 28, 2015

 letter to employees. The New York Times article called into doubt, among other things, Pearson’s

 claim that Valeant was well-positioned for growth even without price increases. The article

 provided insight into Valeant’s dependency on price gouging compared to the rest of the

 pharmaceutical industry, citing a Deutsche Bank analysis finding that in 2015, “Valeant raised

 prices on its brand-name drugs an average of 66 percent . . . about five times as much as its closet

 industry peers.” The article cited Mephyton, a drug that helps blood clot, as an example of price



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 gouging, noting that the drug has seen eight price increases since July 2014, costing $58.76 a tablet,

 up from $9.37. The article cited additional examples, such as Glumetza, a diabetes pill acquired

 from Salix, whose price was increased over 800% during the year, with a month’s supply rising

 from approximately $500 to $4,600.

                On October 14, 2015, Valeant issued a press release disclosing that the Company

 had recently received subpoenas from prosecutors in the U.S. Attorneys’ Offices for the District

 of Massachusetts and the Southern District of New York. Significantly, the subpoenas did not only

 relate to the Company’s drug pricing practices, but also sought information about the Company’s

 patient assistance programs and distribution practices. Following disclosure of the subpoenas,

 Pearson assured investors that the Company believes in “maintaining strong regulatory and

 financial controls and believe we have operated our business in a fully compliant manner.” The

 Company further stated that Valeant “responded to a letter from Senator Claire McCaskill”

 regarding the pricing of Nitropress and Isuprel and the “reimbursement process for hospital

 procedures involving Nitropress and Isuprel, the analysis and reasons underlying Valeant’s pricing

 decisions.” The Company noted it was “beginning outreach to hospitals where the impact of a

 price change was significantly greater than average.”

                On October 15, 2015, news outlets reported that Senator McCaskill condemned

 Valeant’s response to her letter, stating: “It appears obvious to me that Valeant has been anything

 but responsive or transparent - it refused to take any action until served with federal subpoenas,

 and is still refusing to provide answers to many of the questions I’ve asked.”

        B.      Valeant’s Secret Relationship With Philidor Is Revealed

                On October 19, 2015, Valeant’s control over a secret network of pharmacies began

 to come to light. Early that morning, Ackman sent an email to Laurie Little (“Little”), Valeant’s

 Senior Vice President, Investor Relations, and Pearson regarding a Southern Investigating
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 Reporting Foundation (“SIRF”) report on Valeant, which described the connection between

 Valeant and Philidor. Little responded, “We knew it was coming and will address on today’s call.”

                The same day, Valeant issued a press release announcing its 3Q15 financial results

 and hosted a conference call. Pearson, Rosiello, and Kellen hosted the call using a prepared slide

 presentation. Pearson said he wanted to address “the turmoil over the past few weeks from both

 governmental and media scrutiny.” The Company made limited disclosures, such as confirming

 its relationship with Philidor, the option to acquire Philidor, and that it had been consolidating

 Philidor’s financial results with its own. Valeant also effectively conceded its business strategy

 was neither sustainable nor less risky by disclosing it would rely less on acquisitions and more on

 R&D. Pearson added that Valeant would be “making pricing a smaller part of our growth looking

 forward” and “will pursue fewer, if any, transactions that are focused on mispriced products.”

                Valeant disclosed that it nearly doubled its R&D spending of $56 million in 1Q15

 to $102 million in 3Q15 and that “internal R&D will become more of a focus” signaling the

 unsustainable nature of their business strategy and its illusory lower costs and higher profits.

                Pearson also disclosed that price accounted for approximately 60% of growth in

 2014 (the component portion of the 20% growth was 12% price and 8% volume) as well as in 2015

 (the 41% growth was 24% price and 17% volume). The slide presentation stated that 85 of

 Valeant’s 156 U.S.-branded Pharma products had an average price increase of 36%. With respect

 to the “Neuro and Other” portfolio, the presentation further provided that the year to date volume

 had declined by 7% but the net realized price had increased by 30%. Pearson repeated during the

 call that the Company was “seriously considering spinning off or selling” the “Neuro and Other

 portfolio, which is dependent on price,” and that “internal R&D will become more of a focus.”




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                  Pearson refused to discuss the subpoenas from federal prosecutors, stating “[w]e

 will not be answering questions.” Regarding the government inquiries on price gouging, Pearson

 stated:

           As you all know, Valeant has responded to Senator McCaskill, and addressed her
           questions regarding Nitropress and Isuprel. In a letter to her last Wednesday, we
           discussed . . . , the analysis and reasons underlying Valeant’s pricing decision, and
           Valeant’s programs designed to improve patient access, among other topics. We
           also noted that we are beginning an outreach to hospitals where the impact of a
           price change was significantly greater than average.

                  When asked what percentage of U.S.-branded prescription business flowed through

 “alternative fulfillment” and “how much of that is Philidor” Pearson stated:

           Sure. It’s really primarily our dermatology brands and then some of our specialty
           products like Ruconest, Arestin, and some of the other orphan drugs. For certain
           products it’s quite large. For Jublia it’s probably 15%. For a lot of other
           dermatologies it’s much less. I’m sorry, I can’t - it’s significant but it’s - I don’t
           know the precise number but it’s certainly, of our US portfolio, 10%, 20%, maybe.
           Tanya’s nodding probably closer to 10%.

                  After the market closed on October 19, 2015, The New York Times published an

 article entitled “Drug Makers Sidestep Barriers on Pricing.” The article discussed how Philidor’s

 application for a license in California had been rejected because it had concealed its owners. The

 article reported that Valeant used Philidor to “keep the health system paying for high-priced drugs”

 and to keep prices high for its dermatology products, quoting a Florida dermatologist as stating

 that Valeant’s program was designed to buffer physicians and insurers from complaints about high

 prices. Discussing Philidor, the article stated, in part:

           Valeant had said little about Philidor until Monday, when J. Michael Pearson,
           Valeant’s chief executive, revealed on his company’s quarterly earnings call that
           Valeant had purchased an option to acquire Philidor late last year. He said that
           Valeant consolidated Philidor’s results in its own financial reports.

                                                *    *    *
           Specialty pharmacies are most known for providing patients with assistance with
           complex drugs, many of them requiring refrigeration and injections, for diseases

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        like cancer, multiple sclerosis and rare genetic disorders. But the drugs dispensed
        through the specialty pharmacies used by . . . Valeant are for common ailments like
        arthritis pain, acne, and toenail fungus. What was started as administering complex,
        costly drugs has been co-opted as a sales/marketing tool to drive the growth of
        minor differentiation standard retail drugs.

                On October 21, 2015, the news took another turn for the worse as Citron published

 a report entitled “Valeant: Could this be the Pharmaceutical Enron?” questioning the propriety of

 Valeant’s accounting and prior disclosures. The report – which resulted in rapid decline in the

 price of Valeant stock and caused trading to be halted – asked “Why would Valeant, a major big

 cap pharma, a darling of the hedge fund crowd. . . be secretly maneuvering to buy a little known

 pharmacy [Philidor] with a dubious ownership structure” and inquired as to why this entity was

 “NEVER disclosed in any prior company disclosure?” The Citron report asserted that Valeant was

 using a network of mail-order pharmacies under its control to prop up sales and keep patients and

 their insurance companies from switching to less costly generics. Citron also questioned whether

 Valeant’s revenues were inflated through Philidor.

                The Citron report linked Philidor to other pharmacies through shared phone

 numbers, identical privacy notices, a shared facsimile number, and shared websites. Citron

 claimed “it appears to Citron that Valeant/Philidor have created an entire network of phantom

 captive pharmacies,” which included West Wilshire, SafeRx and Orbit Pharmacy. The report also

 provided investors with details of the R&O lawsuit, noting that Valeant resembled a “house of

 cards” and could be “Enron part Deux.” When trading resumed, Valeant shares plummeted nearly

 40%, resulting in another trading suspension.

                In response, Philidor issued a press release on October 21, 2015, disclosing that it

 had a contractual relationship with “affiliated pharmacies,” including R&O, and that Philidor “does

 not currently have a direct equity ownership in R&O Pharmacy or the affiliated pharmacies, but



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 does have a contractual right to acquire the pharmacies now or in the future subject to regulatory

 approval.”

                The following day, October 22, 2015, BMO Capital Markets Corp. (“BMO”) stated

 that it “cannot defend the specialty Pharmacy structure” Valeant was using and downgraded the

 shares to “market perform.” The BMO report further stated: “We’ve been strong, vocal Valeant

 bulls,” but “we find Valeant’s arrangements with specialty pharmacy Philidor as not just

 aggressive, but questionable.” The same day, a Bloomberg article titled “Valeant Still Has

 Explaining to Do, Citron Research’s Left Says,” reported on Valeant’s option to buy Philidor and

 noted it was “a relationship other [drug] companies don’t appear to have” with pharmacies. The

 article noted that when manufacturers previously owned PBMs in the 1990s they were all spun off

 because it was “perceived” as a conflict of interest.

                Revelations of Valeant’s improper practices continued as Philidor employees came

 forward disclosing the improper business practices employed by Philidor. On October 25, 2015,

 The Wall Street Journal reported that it had interviewed former Philidor employees who revealed

 that Valeant employees worked directly at Philidor and were using fictitious names to “conceal the

 ties so it didn’t appear Valeant was using the pharmacy to steer patients to the drug company’s

 products . . . .” A former employee interviewed by The Wall Street Journal noted that the Valeant

 employees’ “real identities were well known to the other Philidor employees.”

                That night, Ackman forwarded a media article to Pearson, Schiller, Rosiello,

 Ingram, and Little which reported that Pearson’s explanation that Valeant did not disclose Philidor

 because it was a competitive advantage “comes up short.” The article noted that “[w]hile Valeant

 may argue it didn’t think the consolidation of Philidor was material, the market’s reaction shows

 investors think otherwise. And since materiality is a qualitative, not a quantitative, concept the



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 company shouldn’t try to stonewall . . . .” Ackman suggested the Company admit that “some

 mistakes were made.” As an example, Ackman wrote “it a mistake not to disclose Philador [sic]?

 In retrospect, it certainly appears to have been a mistake as the lack of disclosure made the

 company a potential target for a short attack which implied the company was hiding something.”

 Ackman observed that “the lack of disclosure on Philidor was a big surprise and raised concerns

 among shareholders.” Ackman suggested that they “explain whether or not the board, audit

 committee, auditors understood and agreed with the accounting, strategy, and disclosure of this

 business,” adding that “Investors fear fraud.”

                On October 26, 2015, the Company filed its 3Q15 10-Q which included disclosures

 related to Philidor, including that the Company now had the “power to direct Philidor’s activities.”

 The 3Q15 10-Q also revealed that Valeant established a special “ad hoc” committee of the Board

 of Directors to investigate Valeant’s relationship with Philidor to be led by Ingram, the Company’s

 lead outside director, and to include Provencio, chairman of the Audit and Risk Committee,

 Goggins, and Mason Morfit (“Morfit”), the President of ValueAct Capital (one of Valeant’s largest

 shareholders), who had been added to the Valeant Board that morning and immediately placed on

 the ad hoc committee.

                As discussed above, on October 26, 2015, the Company hosted a conference call

 which included a presentation that stated, among other things:

               That “44% of Jublia revenue flowed through Philidor in Q3 2015”;

               That “we maintain regular communication, have a joint steering committee,
                have rights (and have utilized them) to approve key positions (e.g., in-house
                lawyer, chief compliance officer), included Philidor in Valeant’s SOX 404
                Internal Control Testing and Internal Audit program for 2015”;

               That “Valeant [has] contractual rights [to Philidor] including: Joint Steering
                Committee, Right to require hires for certain positions, Substantial
                information rights, Covenants respecting Philidor’s compliance with all
                applicable laws”; and
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                In a section addressing Valeant’s “Management Rights” over Philidor, that
                 “Valeant has the right (but not the obligation) to appoint or cause Philidor
                 to hire: Advisor to the CEO, Head Compliance Officer, In-House lawyer,
                 Head IT officer, Other employees as reasonably requested.”

                 On the conference call, Rosiello disclosed Philidor’s status as a VIE, and stated:

 “Philidor was considered a VIE prior to the purchase option agreement, but since Valeant was not

 determined to be the primary beneficiary, consolidation was not appropriate. A purchase option

 agreement for Philidor was executed in December 2014.” Moreover, Carro admitted that “Valeant

 reviews the financials of the Philidor network pharmacies on a regular basis.” Shortly after the

 call, Bloomberg reported that the remarks on the call “left investors skeptical, failing to answer

 critical questions on Valeant’s continuing relationship with Philidor, according to analysts.”

        C.       Valeant Reveals The Closure Of Philidor

                 On October 27, 2015, Ackman emailed Pearson and Schiller stating “I don’t think

 you are handling this correctly and the company is at risk of getting into a death spiral as a result.”

                 In another email that day, Ackman wrote to Ingram, Pearson, Schiller, Morfit, and

 Little regarding The New York Times article by Joe Nocera on whether Valeant was the “Next

 Enron?” in which the reporter wrote that “Valeant . . . is a sleazy company.” Ackman said, “when

 one of the most credible journalists in the world accuses you of being the next Enron, time is

 short.” He warned that “[y]our reputation and that of the rest of the board along with the company

 is at grave risk of being destroyed on a permanent basis.” Ackman criticized Pearson for ending

 the last conference call abruptly, and said: “When Mike said that you were running out of time on

 the call, he was right in that the company is running out of time to save itself. When shareholders

 hear that management doesn’t have time to address their concerns, they assume the worst. There

 is no amount of time that should [be] spared addressing shareholders [sic] concerns.” Ackman

 noted that it took a “short seller to bring Philador [sic] to light and that has destroyed managements


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 [sic] compact with shareholders.”

                In his October 27, 2015 email to Pearson and Schiller, Ackman advised, “I strongly

 recommend you immediately hold a conference call to address every remaining question from

 shareholders” of “unlimited duration.” Ackman pleaded with the executives to “answer the

 questions honestly no matter how embarrassing the answers are and no matter what the legal

 implications are.” Ackman noted the business risks, including, “Valeant has become toxic.

 Doctors will stop prescribing your products” and “Regulators around the world will start

 investigating and competing to find problems with every element of your business.” Ackman said,

 “The only people that need scripts and limited questions are crooks. Joe Nocera is right. You look

 like Enron.” Ackman added, “You should assume that the truth will come out eventually so there

 is zero downside to having it out now” and “If mistakes have been made, admit them immediately

 and apologize.” Ackman closed the email by stating: “You have previously made the mistake of

 waiting while Rome was burning. There is now a conflagration. It takes no time to prepare for a

 conference call to tell the truth. The time to do it is today. We are on the brink of tragedy. Please

 do the right thing.”

                Pearson did not follow Ackman’s advice, but the truth continued to emerge. After

 the market closed on October 28, 2015, Bloomberg reported that an internal Philidor training

 manual showed that Philidor relied on “back door” tactics to boost payments and “instructed

 employees to submit claims under different pharmacy identification numbers if an insurer rejected

 Philidor’s claim - to essentially shop around for one that would be accepted.”

                In light of the revelation of Philidor and the secret pharmacy network, on

 October 29, 2015, Valeant announced it would cut all ties with Philidor. That same day, Bloomberg

 Businessweek reported additional accounts by former Philidor employees of the improper tactics



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 by Philidor, some of which were formally documented, reporting that, in order “to fill more

 prescriptions with Valeant products instead of generics”:

               “[w]orkers at . . . Philidor . . . were given written instructions to change
                codes on prescriptions in some cases so it would appear that physicians
                required or patients desired Valeant’s brand-name drugs - not less expensive
                generic versions - be dispensed, the former employees said”;

               that “[a]n undated Philidor document obtained by Bloomberg provides a
                step-by-step guide on how to proceed when a prescription for Valeant
                dermatological creams and gels . . . is rejected”; and

               that an October 2014 employee manual noted that “[w]e have a couple of
                different ‘back door’ approaches to receive payment from the insurance
                company.”

                Later that day, while the market was still open, reports disclosed that CVS

 Caremark (one of the three largest PBMs in the United States) terminated its relationship with

 Philidor, citing “noncompliance” with its provider agreement after an audit of Philidor’s practices.

                On October 29, 2015, Express Scripts and UnitedHealth’s OptumRx, the other two

 largest PBMs, similarly announced that they had terminated their relationships with Philidor.

 Thus, in the same day, the three largest PBMs in the country announced they would no longer pay

 for medication dispensed by Philidor. The following day, just after underscoring the purported

 benefits and independence of Philidor, Valeant announced that Philidor would be shutting down as

 soon as possible.

                On November 4, 2015, it was reported that the U.S. Senate formally launched a

 probe into Valeant’s price increases for three drugs. On the same day, Bloomberg reported further

 information regarding the financial impact of closing Philidor, disclosing that, just weeks earlier,

 Valeant was planning to expand its use of the specialty pharmacy. Also on November 4, 2015, The

 Wall Street Journal reported that Ackman told Valeant’s lead director, Ingram, that Pearson might

 need to leave Valeant and that Ackman was considering liquidating his hedge fund’s entire $3.8


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 billion investment in the Company. The Wall Street Journal article further noted that Ackman had

 pushed Valeant to hold a conference call to “come clean” and disclose the full extent of executives’

 knowledge regarding Philidor, and that he was disappointed the Company did not comply.

                   On November 10, 2015, the Company hosted a conference call with investors to

 “update [the market] on our strategy with respect to specialty pharmacies, to explain our transition

 plans for Philidor, to discuss our business performance for the first half of the quarter, and perhaps

 most importantly to take questions from all of you.” Pearson, Rosiello, Carro, and Kellen

 participated on Valeant’s behalf. Pearson stated that, “As of last week, Philidor has stopped

 adjudicating claims. . . . Philidor has committed to cease operations by January 30, 2016 at the

 latest.”

                   Pearson also began to disclose the negative financial impact the closing of Philidor

 and the government inquiries into its practices were having, stating, in relevant part:

            In the very short term, disruption in our dermatology business will be significant.
            Last week, we asked Philidor to stop adjudicating claims and to fill all prescriptions
            at no cost for the week.

            Turning to Neuro, we are also seeing some short-term pressure in our Neuro
            business, in particular with respect to Nitropress and Isuprel, given all the publicity
            around those two drugs. We’re working with our large customers and providing
            direct discounts to protect volume.

                   Despite having just raised guidance less than a month before, on October 19, 2015,

 Pearson suggested it would be withdrawn and lowered, stating:

            Turning to guidance. In terms of guidance, we are working to quantify the potential
            short-term impact of recent events, including the termination of our relationship
            with Philidor. Specifically, the downsides in Q4 will be primarily in dermatology
            and to a lesser extent, neurology RX. Obviously, what has happened will impact
            Q4. We are working to quantify the impact on Q4 and 2016 and we will provide
            you with updated guidance at our investor day in December.

                   During the call, Pearson was asked about the impact the Company would see in

 4Q15 in the dermatology division and responded:

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         So, again, based on the data we have, we’ve not seen volume declines. It’s largely
         the value of the average selling price for a script. Now, I would not be shocked to
         see some volume declines over the next few weeks.

         In fact, I would expect that. But I don’t think they’re going to be hugely material.
         The onus is on us to get some sort of a Plan B in place, and we are quite confident
         that we’ll be able to get that done quite quickly.

                In response to an analyst question regarding pricing scrutiny, Pearson stated, “if

 we’re viewed as aggressive, we’re going to have to listen to that.” Pearson acknowledged “the

 past few weeks have been a painful learning experience for me personally” and that “[t]he other

 things I’m dedicated to doing going forward is listening more to our patients, our partners, and our

 critics.”

                On November 11, 2015, Bloomberg reported that Valeant creditors were “spooked

 by possibility of revenue squeeze” and that concern was “growing that disruption to Valeant’s cash

 flow could heighten the risk of the company violating lender limits on its debt burden.” According

 to one creditor, “The Big question is: What is the true cash-flow generation nature of the company?

 Will it be materially different?” The report noted that Valeant’s dermatology and neurology

 business accounted for 24 percent of company revenue, which Pearson stated would be

 “significantly” disrupted. The next day, November 12, 2015, Bloomberg released another article

 regarding Valeant’s relationship with Philidor and media reports recounted how numerous analysts

 had lowered their price targets for the Company.

                On November 16, 2015, Bloomberg reported that U.S. Representative Elijah

 Cummings wrote Pearson requesting that Pearson make Tanner, Patel, and Pritchett available for

 interviews based on allegations “that a group of Valeant employees helped launch Philidor’s

 business in 2013 and have remained involved in its daily operations.” Representative Cummings

 also asked for contact information for Kornwasser, who recently left the Company. Later that day,

 The Washington Post published an article entitled “House Committee to hold hearing on

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 prescription drug pricing.” The article reported that the House Oversight Committee would hold

 a formal hearing in early 2016 focusing on prescription drug pricing, and that the Committee had

 reached out to Valeant to gather information. The article also stated that members of the House

 Oversight Committee were calling for Valeant’s executives to testify at the hearing.

         D.      Further Disclosures Of The Financial Impact Of The Fraud

                 On December 15, 2015, Valeant issued a press release announcing that it had

 entered into a deal with Walgreens to distribute its products which included 10% price reductions

 for its branded prescription-based dermatological and ophthalmological products.

                 On December 16, 2015, Valeant issued a press release formally withdrawing the

 inflated guidance it issued on October 19, 2015. Valeant issued new fourth quarter revenue

 guidance of $2.7 - $2.8 billion (a reduction of approximately $600 million and 17% from $3.25 -

 $3.45 billion) and new fourth quarter Cash EPS guidance of $2.55 - $2.65 (a reduction of

 approximately $1.50 and 37% from $4.00 - $4.20). Valeant also issued new 2015 full year revenue

 guidance of $10.4 - $10.5 billion (a reduction of approximately $700 million and 16% from $11.0

 - $11.2 billion) and new 2015 Cash EPS guidance of $10.23 - $10.33 (an approximately $1.50, or

 13% decline from $11.67 - $11.87). Finally, Defendants issued new 2016 EBITDA guidance of

 $6.9 - $7.1 billion (a reduction of approximately $500 million and 7% from $7.5 billion).

                 On December 16, 2015, an analyst for Piper Jaffray reported that Valeant was not

 “well positioned for significant [price/earnings] recovery anytime soon given the credibility gap

 associated with senior management.” The next day, Mizuho Securities USA (“Mizuho”) cut its

 rating on Valeant stock to “neutral” from “buy” pointing to a lack of clarity regarding Valeant’s

 agreement with Walgreens and stating that Valeant management had “not done a good job in

 articulating the details” and that “[w]e still don’t understand how this partnership will improve

 filled prescriptions if payer restrictions persist.”
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               On December 28, 2015, Valeant announced that Pearson had left the Company,

 effective immediately, on a medical leave of absence. To fill the gap, Valeant created an “Office

 of the CEO,” which included its General Counsel Robert Chai-Onn, Kellen, and Rosiello, to serve

 in an interim capacity. The Board also formed a committee to “oversee and support” the Office of

 the CEO, which included Ingram, Morfit, and Schiller. On January 6, 2016, Valeant announced

 that Schiller would serve as the Company’s interim CEO while Pearson remained on medical leave

 and that Ingram would serve as the interim Chairman of the Board of Directors.

               On January 22, 2016, but undisclosed to investors, Valeant entered into a

 termination agreement with Philidor that was effective as of November 1, 2015. Schiller signed

 on behalf of Valeant and Rosiello signed on behalf of KGA. The agreement included a retroactive

 mutual release dated November 1, 2015.

               On February 19, 2016, a Wells Fargo report by analyst David Maris (“Maris”)

 providing a detailed analysis of Valeant drew significant media attention. The media noted that

 Maris had identified inconsistencies with regard to Defendants’ disclosures concerning Philidor’s

 impact on the business. Specifically, Maris found that Valeant initially claimed that Philidor

 accounted for 7% of sales, yet lowered 4Q15 revenue guidance by 17%-19% (from $3.25-$3.45

 to $2.7-$2.8 billion) and EPS guidance by nearly 37% (from $4.00-$4.20 to $2.55-$2.65). The

 analyst commented that “Valeant has not explained how the unwinding of a business that

 represents only approximately 7% of total revenue, and is, according to Valeant, less profitable

 than traditional prescriptions, results in a 36.6% reduction in EPS.”      Maris added that at

 approximately 7% of revenue, Philidor would have represented approximately $227.8 million in

 revenue for 4Q15, yet guidance was lowered by $526.5 million. The analyst concluded that “the




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 new guidance is not compatible with the data presented by Valeant” and “the reduction in guidance

 does not match the impact, as described by Valeant.”

                Second, according to media reports, Maris commented on the Company’s

 management, stating “we believe investors are likely questioning the judgment and decision

 making of [the] management team and board,” adding that “corporate cultures . . . are difficult to

 change without management and board changes.” Maris noted that “the slide in Valeant’s shares

 is directly related to decisions that the board and management have made” including “the board

 review and approval of a relationship with Philidor, which later caused a significant decline in

 shareholder value and corporate reputation.”

                Third, according to media reports, Maris discussed the reduced financial outlook

 for Valeant. Maris noted that “management has said that it is not planning to complete any

 acquisitions in 2016, nor is it planning to raise prices excessively” and concluded that “this will

 pose significant risk for a company that was dependent on both.” The Wells Fargo analyst

 commented that “the model of cutting R&D and spending, and dramatically raising prices, in

 pursuit of higher and higher EPS to fuel a roll-up strategy built on earnings accretion for deals is

 shortsighted, as often the cuts undermine the longer- term prospects of the business.”

                Fourth, according to media reports, Maris identified how Valeant’s accounting was

 misaligned with Valeant’s purported performance. The analyst said “receivables growth has

 outstripped sales growth over the past several years.” Maris noted that a screening tool it uses “to

 predict the likelihood of accounting misstatements, puts Valeant in the ‘substantial risk’ category,”

 adding that when “receivables are increasing faster than revenue, it can often indicate that

 customers are hesitant to pay for products” and “[a]n alternative explanation for a dramatic rise in

 receivables is a company’s improperly timed recognition of revenue.” Maris stated that “gross-



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 to-net revenue adjustments” in 2012 were 19.1% of gross revenues but had steadily increased to

 41.1% of gross revenues by 3Q15, and that “Valeant suggests the reason for the increasing

 provision is growing returns, rebates, and co-pay assistance programs related to select dermatology

 products . . . .”

         E.          Valeant’s Fraudulent Accounting Is Revealed

                     On February 22, 2016, Market Watch reported that Valeant “likely needs to restate

 some of its previous financial results based on the findings of an internal investigation into its

 business, according to people familiar with the matter.” Market Watch noted that the “potential

 revisions concern revenue that Valeant booked when its drugs were shipped to a distributor” and

 involved “late 2014 and early 2015.”

                     That evening, Valeant issued a press release confirming the financial restatement.

 In the release, Valeant admitted that “the Company has preliminarily identified certain sales to

 Philidor during 2014, prior to Valeant’s entry into an option to acquire Philidor, that should have

 been recognized when product was dispensed to patients rather than on delivery to Philidor.” The

 release stated that the “Company currently believes that approximately $58 million of net revenues

 previously recognized in the second half of 2014 should not have been recognized upon delivery

 of product to Philidor,” and “[c]orrecting the misstatements is expected to reduce reported 2014

 GAAP EPS by approximately $0.10.”

                     Valeant also revealed internal control problems, stating that the Company would

 “delay filing its 2015 10-K pending completion of the review of related accounting matters by the

 Ad Hoc Committee . . . and the Company’s ongoing assessment of the impact on financial

 reporting and internal controls.” Schiller assured investors that the Company was “committed to

 improving reporting procedures, internal controls and transparency for our investors” and “[w]e



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 have made mistakes in the past and our focus today is on executing our business plan and

 rebuilding trust.”

                On February 28, 2016, Valeant issued a press release announcing that Pearson was

 returning from his medical leave but that the Company was separating the role of CEO and

 Chairman of the Board, naming Ingram as Chairman. The release further disclosed that “[i]n the

 interim, the Company is withdrawing its prior financial guidance,” adding that “[a]s previously

 announced, the Company will delay filing its 2015 10-K pending completion of the review of

 certain accounting matters by the Ad Hoc Committee” and “the Company’s ongoing assessment

 of the impact on financial reporting and internal controls.” Pearson was quoted as admitting that

 “I realize that recent events are disappointing to everyone” and that among his priorities would be

 “improving Valeant’s reporting procedures, internal controls and transparency.”

                On March 15, 2016, Valeant reduced its financial guidance for 2016 and provided

 unaudited financial information regarding its 4Q15 performance. With regard to 2016 guidance,

 Valeant lowered revenue guidance to $11 - $11.2 billion (a reduction of approximately $1.5 billion

 and 12% from the full year 2016 $12.5 - $12.7 billion guidance given on December 16, 2015),

 Cash EPS guidance to $9.50 - $10.50 (a reduction of approximately $3.50 and 26% from the prior

 $13.25 - $13.75 guidance), and full year 2016 EBITDA guidance to $5.6-$5.8 billion (an

 approximately $1.3 billion and 19% reduction from the prior $6.9-$7.1 billion guidance). The

 Company blamed “reduced revenue assumptions for certain businesses, new managed care

 contracts, and increased investment in key functions, such as financial reporting, public and

 government relations and compliance, as well as the impact of the weak first quarter of 2016.”

                The Company hosted a conference call that same day. During the call, Rosiello

 stated that Valeant’s first quarter results were below guidance in part due to “realizing a slower-



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 than-expected rebound in dermatology,” and Pearson added that “increases in rebates are due to

 more competitive pressure in response to our store price increases for our late life cycle products.”

 In a press release that was also issued on March 15, 2016, Valeant disclosed $51.3 million in “wind

 down costs” for Philidor which included write-downs of fixed assets and bad debt expenses during

 the “wind down period November 1, 2015 through December 31, 2015.” Furthermore, the

 Company disclosed a “$79.0 million impairment charge related to Philidor Rx Services.”

                During the conference call, Pearson explained why the guidance was being

 lowered. In particular, Pearson cited “higher-than-expected inventory reductions that transition

 from Philidor to Walgreens and the cancellation of almost all price increases.” Pearson added that

 “any future price increases will be more modest and in line with industry practices and managed-

 care contracts. We have experienced increased competitive pressure at the payer level, resulting

 in increased rebates for access for our key growth products, like Jublia . . . .” Pearson revealed

 that the Company had already committed to reducing pricing on certain dermatology products

 “within the Walgreens’ portfolio, on average, 10%” and that the “price reduction is on WAC and

 will impact and will be taken across all channels, not just Walgreens.”

                During the March 15, 2016 conference call, an analyst noted “the fact that

 management needs to rebuild credibility with investors” and that the guidance was “lowered far

 more than any investor anticipated.” The analyst asked “how can we be confident in what you’re

 saying today about the business, given that you were positive in December and January?” Pearson

 responded, in part “we have to earn back the credibility.” In a publicly disclosed message to

 Valeant employees the next day, Pearson reiterated that “Restoring the public’s confidence will

 take time.”




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                   On March 21, 2016, Valeant filed a Form 8-K announcing the restatement of its

 prior financial statements. The Company disclosed that in light of the Ad Hoc Committee’s review

 of recent allegations and related matters it was determined that “approximately $58 million in net

 revenues relating to sales of Philidor during the second half of 2014 should not have been

 recognized upon delivery of product to Philidor.” Valeant therefore disclosed that the Company’s

 last four financial statements, the 2014 10-K and the 10-Qs for the first, second, and third quarters

 of 2015, along with PricewaterhouseCooper’s audit report on the 2014 10-K, should no longer be

 relied upon.

                   Specifically, the Ad Hoc Committee determined that the Company’s revenue

 recognition “on a sell-in basis (i.e., recorded when the Company delivered the product to Philidor)”

 prior to the Company’s purchase option agreement with Philidor was improper. Instead, “revenue

 for certain transactions should have been recognized on a sell-through basis (i.e., record[ed]

 revenue when Philidor dispensed the products to patients) prior to entry into the option agreement.”

 As a result, the Company was no longer able to record revenues for shipments to Philidor and

 could only record revenues on shipment to the patient. The March 21, 2016 press release further

 disclosed that:

         Management, in consultation with the [Ad Hoc] committee, has concluded that one or
         more material weaknesses exist in the Company’s internal control over financial
         reporting and that, as a result, internal control over financial reporting and disclosure
         controls and procedures were not effective as of December 31, 2014 and disclosure
         controls and procedures were not effective as of March 31, 2015 and the subsequent
         interim periods in 2015 and that internal control over financial reporting and disclosure
         controls and procedures will not be effective at December 31, 2015.

                   Significantly, the Company admitted that its “improper revenue recognition”

 related to Philidor was not innocently made, but rather was the result of the “improper conduct”

 of the Company’s former CFO and former Corporate Controller. Additionally, the Company


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 specifically attributed as a “contributing factor” to its ineffective controls over financial reporting

 the unethical “tone at the top” by senior management. Specifically, Valeant’s March 21, 2016

 press release stated that:

         “The improper conduct of the company’s former chief financial officer and former
         corporate controller, which resulted in the provision of incorrect information to the
         committee and the company’s auditors, contributed to the misstatement of results. In
         addition, as part of this assessment of internal control over financial reporting, the
         company has determined that the tone at the top of the organization and the
         performance-based environment at the company, where challenging targets were set
         and achieving those targets was a key performance expectation, may have been
         contributing factors resulting in the company’s improper revenue recognition.”

 The Company further stated it would begin searching for a new CEO to replace Pearson, who

 would continue to serve as CEO and a Director until his replacement was appointed.

         F.      Additional Revelations Regarding The Fraud And Its Impact

                 On March 22, 2016, the Business Insider, in an article entitled “Bill Ackman’s Plan

 to Fix Valeant Is Doomed,” attempted to quantify the impact of the change in business strategy

 from Valeant’s non-traditional approach to that of a traditional pharmaceutical company. The

 article noted that without price hikes, “Valeant would lose 10% of its revenue.” The analysis

 showed that operating margins would decrease from 24% to 7% and with an increase in R&D

 spending to 13% instead of 3% that “Valeant would be losing money. A lot of money.” (Emphasis

 in original.) The article noted that, according to an analysis conducted by Bloomberg, “[i]f Valeant

 was operating more like a traditional specialty pharma company, it could have had a trailing

 12-month (4Q15) loss of $2.44 rather than an adjusted EPS of $1.53. Ebit could have dropped to

 $606 million from $2.5 billion . . .Valeant could have had an adjusted net loss of $842 million

 instead of net income of $527 million.”

                 On April 9, 2016, The New York Times published an article titled “The Female

 Viagra, Undone by a Drug Maker’s Dysfunction” which noted that “Valeant dismissed the entire


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 sales force behind [Addyi]” and “doctors had prescribed the drug fewer than 4,000 times as of

 February.” Citing interviews with former employees, analysts, investors and doctors, the article

 attributed Addyi’s failure to Valeant’s pricing actions and reliance on Philidor. The article

 explained that Sprout (the maker of Addyi) had determined that Addyi should be sold at $400 and

 “Anthem, one of the nation’s largest insurers, said it would cover the drug at the $400 price.”

 However, once Valeant acquired the drug, it doubled the price to $800 causing payors to reconsider

 their coverage. Valeant also terminated Sprout’s distribution agreement with Cardinal Health,

 deciding instead to rely on Philidor.


                On April 29, 2016, Valeant released its annual report on Form 10-K for the year

 ended December 31, 2015 (“2015 10-K”) which confirmed the financial restatement and the

 Company’s material weaknesses. Additions to the 2015 10-K demonstrated the inadequacy of the

 disclosures in the Company’s prior annual and quarterly reports.

                On May 3, 2016, Valeant announced the appointment of Joseph C. Papa (“Papa”)

 as its CEO and Chairman of the Board, reuniting the roles it recently separated. Three weeks later,

 on May 23, 2016, Papa spoke publicly at the UBS Global Healthcare Conference. While

 answering questions from investors and analysts, Papa described Valeant as “a great turnaround

 opportunity” and discussed a number of the challenges he inherited. Papa acknowledged that with

 Philidor “clearly we had some question marks” and that “there were some pricing mistakes that

 were made” and “some transparency things that [could be] improve[d] on at Valeant.” Regarding

 internal controls, Papa recognized “there are some functions that we need to put some additional

 [] controls” and “there is some investment that needs to happen in areas,” such as finance, “where

 [Valeant] just need[s] to bring some additional financial capabilities.” To that end, Papa disclosed

 that the Company “just recently hired a new Controller.”


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                 On June 7, 2016, Valeant made additional disclosures regarding the financial impact

 of shutting down its captive pharmacy network, restricting the Company’s ability to price gouge

 and engage in deceptive practices. That day, Valeant filed its first quarter 2016 10-Q (“1Q16

 10-Q”), issued a press release, and hosted a conference call regarding the Company’s long-awaited

 first quarter 2016 (“1Q16”) financial results, which had been delayed by several months. Valeant

 disclosed a GAAP loss per share of ($1.08) for 1Q16 and significantly lowered its 2016 guidance

 again to total revenue of $9.9 - $10.1 billion (down from $11 - $11.2 billion), adjusted EPS (non-

 GAAP) of $6.60 - $7.00 (down from $8.50-$9.50), and adjusted EBITDA (non-GAAP) of $4.80 -

 $4.95 billion (down from $5.6-$5.8 billion). During the conference call that day, Rosiello stated

 that “[t]he base business in Q1 declined by $289 million, driven by dermatology . . . and the

 transition to Walgreens. . . .”

                 Further revealing the detrimental effect that the loss of Philidor was having on

 Valeant’s pricing, volume, and drug refills, Rosiello added that:
         Following the launch of the Walgreens program in January, we saw volume
         flattening and ASPs [average selling price] declining post launch. Overall volume
         challenges were exacerbated by the loss of refills following the shutdown at the end
         of January of our previous specialty pharmacy [Philidor] relationship, as well as the
         negative external narrative and some internal disruptions. . .

                 Papa added that the “vast majority” of Valeant’s “revenue shortfall in dermatology

 in our revised guidance relates to this average selling price shortfall.” During the question and

 answer portion of the call, Papa further revealed how much the Company’s drug pricing and

 profitability were suffering as a result its cessation of price gouging and deceptive practices and

 the termination of its relationship with Philidor:
         The issue is that there is a percentage of the business where the average selling
         price is significantly below what we had previously expected as we put the
         program together. And in fact, in some places that average selling price is negative
         and by that [it] means, every time a prescription goes out the door we’re taping

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         dollar bills to that prescription as it goes out the door. That’s something that we
         have to get fixed.

                On July 31, 2016, The New York Times published an article titled, “How Valeant

 Cashed In Twice on Higher Drug Prices,” which detailed Valeant’s use of “price appreciation

 credits” to inflate the Company’s revenues. The article explained that the credits – which come

 about when a drug company increases the cost that its wholesalers must pay for a product they

 have contracted to distribute – were “an obscure but vital source of cash to Valeant that is directly

 linked to its pricing practices.” As reported by The New York Times, “[n]ow that those practices

 are under scrutiny, the money Valeant receives from these credits is likely to decline substantially

 or disappear outright,” noting the “unique” and “outsize contributions” of the credits to Valeant’s

 cash flows. “In recent periods, they have equaled one-fifth or more of Valeant’s operating cash

 flow,” the article emphasized, based on the Company’s reported financials.

                On August 9, 2016, Valeant issued a press release and hosted a conference call

 regarding the Company’s second quarter 2016 (“2Q16”) financial results. In the release, Valeant

 disclosed a GAAP loss per share of ($0.88) for 2Q16 and a drop in revenue of 11.4%, with the

 Company blaming the slow recovery in its dermatology division, which suffered greatly from

 Philidor’s closing. The release disclosed that Valeant’s dermatology revenue dropped 55%

 compared to 2Q15, with Solodyn and Jublia sales down 74% and 69%, respectively, year-over-

 year. The two Valeant drugs singled out by Congress at the start of its probes, the heart drugs

 Nitropress and Isuprel, experienced year-over-year revenue declines of 46% and 19%,

 respectively. In the conference call that day, Papa stated: “I don’t want to suggest for an instant

 that there [aren’t] challenges” and that it “will take time to implement and execute our turnaround

 plan.” Additionally, the Company cited lower price appreciation credits as one of the reasons

 revenues declined 14% in Developed Markets.


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                Also on August 9, 2016, in an article titled “Valeant Begins to Look Like A Normal

 Drug Company, But With Way Too Much Debt,” Forbes reported on analysis by Wells Fargo

 analyst Maris. Further demonstrating the challenges facing the Company following the closure of

 its secret pharmacy network and the cessation of its deceptive practices, Forbes noted that by

 Maris’ calculations, “Papa will have to deliver a 55% sequential increase in adjusted EPS and a

 30% increase in adjusted EBITDA in the second half of 2016 to meet guidance” and that “Xifaxan

 remains off pace to hit $1 billion in 2016 sales, a previous Valeant target.” Quoting Maris, Forbes

 added that: “If Papa falls short in coming quarters, it is likely many will see the company’s new

 reign as ‘just new paint on the same old shed’ . . . .”

                On August 10, 2016, The Wall Street Journal reported that federal prosecutors at

 the U.S. Attorney’s office in Manhattan are considering bringing criminal mail and wire fraud

 charges against Valeant and former Philidor executives. According to sources with knowledge

 cited by The Wall Street Journal, federal prosecutors are investigating whether Valeant and Philidor

 “defrauded insurers by hiding their close relationship.” The sources added that prosecutors are

 also examining “some of Philidor’s business practices, including rebates and other compensation

 provided by the pharmacy to customers who used Valeant products, as well as Philidor’s efforts to

 seek reimbursement from insurers.” The Wall Street Journal reported that, based on its sources,

 “the probe is expected to be the most serious Valeant faces.”

        RECENT EVENTS CONTINUE TO EVIDENCE
        MASSIVE FRAUD AT THE COMPANY

                On October 31, 2016, Bloomberg reported that Valeant’s former CEO, Defendant

 Pearson, and the Company’s former CFO, Defendant Schiller, are the focus of a criminal probe by

 prosecutors at the Justice Department concerning accounting fraud related to Valeant’s

 concealment of its ties to Philidor and the secret pharmacy network. Bloomberg further reported


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 that U.S. prosecutors in Boston and Philadelphia are conducting additional, separate inquiries of

 Valeant. The investigation by federal prosecutors in Boston is centered on Valeant’s payments to

 charities that then helped patients make co-payments for the high cost of Valeant drugs. The

 investigation by federal prosecutors in Philadelphia focuses on Valeant’s improper billing of

 government health care programs.

                On November 17, 2016, then-United States Attorney for the Southern District of

 New York, Preet Bharara, announced the arrests of Tanner and Davenport.                 The Justice

 Department’s complaint alleges that Tanner and Davenport engaged in a multi-million dollar fraud

 and kickback scheme. The claims for wire fraud, money laundering, and conspiracy carry

 sentences of up to 20 years in prison. In announcing the criminal complaint, Mr. Bharara

 emphasized that the charges were only the first charges brought by the Government in its ongoing

 probe of Valeant. Mr. Bharara rebuked Tanner and Davenport for engaging in a “fraudulent

 scheme to illegally use Philidor as a vehicle for personal profit and self-dealing,” which “illegally

 converted Valeant shareholder money into their own personal nest eggs.”

                On March 13, 2017, Ackman’s Pershing Square withdrew its investment in Valeant

 at a massive loss, estimated by Fortune to be in excess of $4 billion. In Pershing Square’s 2016

 Annual Report, released March 28, 2017, Ackman admitted to investors that investing in Valeant

 was “a huge mistake” and questioned the credibility of Valeant’s former executives,

 acknowledging that he had “misjudged the prior management team.”

                Valeant has also overhauled its Board of Directors since the end of the Relevant

 Period. In addition to removing Defendants Pearson and Schiller from the Board, on June 19,

 2017, Valeant announced that it had expanded the Board of Directors to a total of eleven members,

 ten of whom are independent.



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        VALEANT’S FINANCIAL STATEMENTS VIOLATED GAAP AND SEC RULES

                As discussed above, throughout the Relevant Period, Valeant’s periodic financial

 statements with the SEC represented that Valeant’s financials were prepared in accordance with

 GAAP. Financial statements filed with the SEC are presumed to be misleading and inaccurate if

 they have not been prepared in conformity with GAAP. See Regulation S-X, 17 C.F.R. § 210.4-

 01(a)(1). This presumption also exists for interim financial statements filed with the SEC. See

 17 C.F.R. § 210.10-01.

                Valeant has admitted that its reported revenues for the financial periods below were

 overstated by the following amounts during the Relevant Period:

               Financial Period:                       Reported revenue overstated by:
         3 months ended Sept. 30, 2014                           $12.9 million
        3 months ended Dec. 31, 2014                             $44.6 million
        12 months ended Dec. 31, 2014                            $57.5 million
         3 months ended Mar. 31, 2015                            $20.8 million
         6 months ended June 30, 2015                            $20.8 million
         9 months ended Sept. 30, 2015                           $20.8 million

                Valeant’s financial statements during the Relevant Period were materially misstated

 and violated GAAP (and certain of the Company’s critical accounting policies) in numerous ways,

 including (i) by improperly recognizing Philidor revenue, in violation of GAAP; (ii) by concealing

 Philidor as a VIE, in violation of GAAP as well as Financial Accounting Standards Board

 (“FASB”) Accounting Standards Codification Topic 810, Consolidation; (iii) by falsely certifying

 that the Company’s internal controls over financial reporting and its disclosure controls were

 effective, in violation of SOX and SEC rules, as well as the Committee of Sponsoring

 Organizations, Internal Control – Integrated Framework; (iv) by concealing information regarding

 the impact of Philidor and price increases on its reported revenue and earnings, in violation of SEC


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 disclosure rules; and (v) because Defendants’ false and misleading statements were quantitatively

 and qualitatively material, including pursuant to SEC Codification of Staff Accounting Bulletins

 Topic 1-M, Materiality.

        A.      Valeant Improperly Recognized Philidor Revenue

                On March 21, 2016, Valeant confirmed that it had materially overstated Philidor

 revenue in violation of GAAP and would be restating its financial statements for fiscal year 2014

 and the first nine months of fiscal year 2015, and that, as a result, the Company’s 2014 10-K and

 10-Qs for first, second, and third quarter of 2015 could no longer be relied upon. Valeant

 concluded that, prior to the Company’s purchase option agreement with Philidor in 4Q14, certain

 sales transactions involving Philidor were not executed in the normal course of business and

 collectability was not reasonably assured at the time the revenue was recognized. See FASB

 Accounting Standards Codification Topic 605, Revenue Recognition; SEC Staff Accounting

 Bulletin No. 104 (“SAB 104”).

                As detailed above, Valeant entered into a purchase option agreement with Philidor

 on December 15, 2014. Before the option agreement, Valeant recognized revenue on sales to

 Philidor when Valeant delivered products to Philidor, i.e., on a sell-in basis. After the option

 agreement, Valeant was required to recognize revenue when Philidor distributed the products to

 the end customers (patients), i.e., on a sell-through basis.

                In 4Q14, leading up to the option agreement’s execution, Valeant improperly

 recognized revenue on sales transactions with Philidor that were not executed in Valeant’s normal

 course of business, but rather to inflate revenues. As admitted in Valeant’s 2015 10-K, these

 purported sales transactions included: “fulfillment of unusually large orders with extended

 payment terms and increased pricing, an emphasis on delivering product prior to the execution of

 the purchase option agreement and seeking and filling a substitute order of equivalent value for an
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 unavailable product.” As a result of these improper sales transactions, Valeant recorded revenue.

 After recording revenue on those fictitious sales, and after execution of the option agreement,

 Valeant recognized revenue a second time as Philidor sold the same products to end customers.

               With regards to the 4Q14 Philidor transactions, collectability was not reasonably

 assured at the time the revenue was originally recognized, and thus should not have been

 recognized. Valeant acknowledged in its March 21, 2016 press release that, as a result, the

 Company’s financial statements for the year ended December 31, 2014, were materially

 misleading and required restatement.

               The Philidor-related misstatements and disclosure violations were each

 quantitatively and qualitatively material to Valeant’s financial statements during the Relevant

 Period. For example, Valeant emphasized its U.S. organic sales growth and dermatology sales

 growth throughout the Relevant Period, of which Philidor constituted a material portion. Further,

 the improperly recognized revenue from Philidor transactions enabled Valeant to meet its “Cash

 EPS” of $2.58 for 4Q14 and exceed its 4Q14 Cash EPS guidance of $2.55. Had such revenues

 been recognized properly, Valeant would have missed its guidance and reported Cash EPS of

 $2.51.

          B.   Valeant Concealed Philidor As A VIE

               Valeant also failed to disclose Philidor as a VIE. Pursuant to ASB Accounting

 Standards Codification Topic 810, Consolidation (“ASC 810”), a company must disclose in its

 financial statements both unconsolidated and consolidated VIEs. In its October 26, 2015 investor

 presentation, Valeant admitted that it considered Philidor a VIE prior to the purchase agreement.

 Hence, under ASC 810, Valeant was required to determine if Philidor needed to be consolidated in

 its financial statements. The relevant test for determining if a VIE should be consolidated is

 determining whether or not the company is the “primary beneficiary” of the VIE.
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                On October 26, 2015, Valeant claimed that it was not the primary beneficiary of

 Philidor until after the purchase option agreement was executed in December 2014. However,

 ASC 810’s guidance still requires disclosure of material unconsolidated VIEs. Hence, before the

 December 15, 2014 option agreement, Valeant was required to disclose its unconsolidated VIE

 relationship with Philidor because it was material. In particular, Valeant was required to disclose

 in its pre-December 2014 financial statements (i) quantitative and qualitative information about

 Valeant’s involvement with Philidor, including Philidor’s nature, size, purpose, activities, and how

 it is financed; and (ii) methodology for concluding that Valeant is not the primary beneficiary of

 Philidor, including disclosure of key factors, assumptions, and significant judgments used in

 making the determination. See ASC 810-10-50-5A. In violation of GAAP, Valeant stated in its

 2013 10-K that: “There were no material arrangements determined to be variable interest entities.”

                Moreover, following the execution of the purchase option agreement (in which

 Valeant concluded it was the primary beneficiary of the Philidor VIE and consolidated Philidor’s

 results), Valeant was required under ASC 810 to disclose, in addition to the information noted

 immediately above, which factors resulted in a change of the reporting with respect to the VIE,

 including the impact of the change on the Company’s consolidated financial statements. See ASC

 810-10-50-5A. Valeant failed to disclose this information in its 2014 10-K. Valeant also failed to

 make additional VIE disclosures necessary to comply with the principle disclosure objective of

 ASC 810, i.e., to provide users of its financial statements with information concerning

 (i) significant judgments and assumptions made in determining whether it needs to consolidate the

 VIE and/or disclose information about its involvement with the VIE; (ii) the nature of and changes

 in the risks associated with its involvement with the VIE; and (iii) how its involvement with the

 VIE affects its financial position, financial performance, and cash flows. See ASC 810-10-50-8.



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 However, Valeant did not make any required disclosures related to its VIE relationship with

 Philidor until the Company’s 3Q15 10-Q.

        C.      Defendants’ False Statements Regarding Internal Controls

                As discussed above, Valeant has admitted that Defendants’ representations during

 the Relevant Period concerning the effectiveness of the Company’s internal and disclosure controls

 were false.

                Valeant management was responsible for establishing and maintaining effective

 internal controls over financial reporting and disclosure controls pursuant to the Sarbanes-Oxley

 Act of 2002 (“SOX”). This requirement included annual assessments of Valeant’s financial and

 disclosure controls and the issuance of a report on whether such controls were effective and free

 from material weaknesses. SOX required the use of an appropriate framework in making such

 assessments, such as the “COSO Framework.” See Committee of Sponsoring Organizations,

 Internal Control - Integrated Framework.       During the Relevant Period, Valeant’s financial

 statements represented that management’s evaluations were based on the COSO Framework.

                According to the COSO Framework, the control environment sets the tone for the

 entire structure of internal control and has a pervasive influence on all business activity. As a

 result, deficiencies affecting the control environment are strong indicators of a material weakness.

 Circumstances that may indicate that a company’s control environment is ineffective include, but

 are not limited to, “[i]dentification of fraud of any magnitude on the part of senior management”

 and “[i]neffective oversight of the company’s external financial reporting and [internal controls

 over financial reporting] by the company’s audit committee.”          See Exchange Act Release

 No. 54976 (Dec. 20, 2006). The concept of “tone at the top” has become widely accepted within

 the accounting profession to describe the attitude and actions of a company’s senior management

 toward internal financial controls and the control environment. Indeed, SEC Staff has referred to
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 the tone set by top management – i.e., “the corporate environment or culture within which financial

 reporting occurs” – as “the most important factor contributing to the integrity of the financial

 reporting process.” See SEC Staff Accounting Bulletin No. 99.

                Control deficiencies that are determined to be a material weakness13 must be

 disclosed in management’s annual report on its assessment of the effectiveness of the company’s

 internal controls over financial reporting. Management may not disclose that it has assessed its

 internal financial controls as effective if there is one or more control deficiencies determined to be

 a material weakness. See Exchange Act Release No. 54976. Indicators of material weaknesses in

 a company’s internal controls over financial reporting include: (i) identification of fraud, whether

 or not material, on the part of senior management; (ii) restatement of previously issued financial

 statements to reflect the correction of a material misstatement; (iii) identification by the auditor of

 a material misstatement of financial statements in the current period in circumstances that indicate

 that the misstatement would not have been detected by the company’s internal control over

 financial reporting; and (iv) ineffective oversight of the company’s external financial reporting and

 internal control over financial reporting by the company’s audit committee. See AS 5.

                As detailed above, Defendants repeatedly represented during the Relevant Period

 that Valeant’s internal controls functioned properly to prevent or detect material misstatements.

 This included SOX Certifications contained in each of the Company’s quarterly reports and annual

 reports.   However, in connection with the restatement, Valeant has admitted that material




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    Pursuant to Public Company Accounting Oversight Board Auditing Standard No. 5 (“AS 5”), a
 “material deficiency” is a “deficiency, or a combination of deficiencies, in internal control over
 financial reporting, such that there is a reasonable possibility that a material misstatement of the
 Company’s annual or interim financial statements will not be prevented or detected on a timely
 basis.”

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 weaknesses in its internal financial controls existed during the Relevant Period, and that its

 disclosure controls and procedures were not effective. Specifically, on March 21, 2016, the

 Company disclosed:

        As a result of the restatement, management is continuing to assess the Company’s
        disclosure controls and procedures and internal control over financial reporting.
        Management, in consultation with the committee, has concluded that one or more
        material weaknesses exist in the company’s internal control over financial reporting
        and that, as a result, internal control over financial reporting and disclosure controls
        and procedures were not effective as of December 31, 2014 and disclosure controls
        and procedures were not effective as of March 31, 2015 and subsequent interim
        periods in 2015 and that internal control over financial reporting and disclosure
        controls and procedures will not be effective at December 31, 2015.

                                                 ***

        [A]s part of this assessment of internal control over financial reporting, the
        company has determined that the tone at the top of the organization and the
        performance-based environment at the company, where challenging targets were
        set and achieving those targets was a key performance expectation, may have been
        contributing factors resulting in the company’s improper revenue recognition and
        the conduct described above.

                Valeant’s 2015 10-K, filed with the SEC on April 29, 2016, confirms the

 Company’s ineffective financial controls, including the existence of two separate material

 weaknesses as of December 31, 2014 (i.e., the improper “tone at the top” and the failure to detect

 the Philidor accounting fraud).

        D.      Defendants Concealed The Impact Of
                Philidor And Price Increases On Revenues

                Valeant also failed to disclose the Philidor relationship and its impact on the

 Company’s revenues, and Valeant’s dependency on price increases, in the Management’s

 Discussion and Analysis (“MD&A”) section of each of quarterly and annual report filed during

 the Relevant Period.

                With regard to Philidor, Valeant was required to disclose, among other things,

 (i) Philidor’s impact on Valeant’s revenue growth; (ii) Philidor’s existence as a distinct sales

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 channel; and (iii) that Philidor sales were unsustainable. During the Relevant Period, Valeant

 repeatedly emphasized U.S. organic sales growth and sales growth in its dermatology segment, as

 well as the role of volume increases, as opposed to price increases, on its revenue growth.

                As detailed above, the Valeant pharmacy network and price increases were major

 drivers of the Company’s purported revenue and profitability growth trends during the Relevant

 Period, including U.S. organic sales growth, dermatology and neurology sales growth, and overall

 prescription volume growth. As a result, Valeant was required to disclose the impact of Philidor

 and price increases on its revenue growth trends. See SAB 104. However, Valeant failed to

 disclose Philidor in its MD&A until 3Q15.

                Valeant was also required to disclose the trend of increasing sales through Philidor

 because Philidor was a separate sales channel with different characteristics than Valeant’s

 traditional sales channels.   The SEC Staff provides specific examples of required MD&A

 disclosures regarding sales channels, including “[c]hanging trends in shipments into, and sales

 from, a sales channel or separate class of customer that could be expected to have a significant

 effect on future sales or sales returns.” See SAB 104, Topic 13.B. During the Relevant Period,

 Valeant disclosed “Provisions to reduce gross product sales to net product sales” in its financial

 statements. The sales provisions as a percentage of gross sales increased dramatically throughout

 the Relevant Period, including increases of 47%, 7%, and 28% in 2013, 2014, and 3Q15,

 respectively. However, Defendants concealed the fact that these significant increases in provisions

 were tied to deceptive practices, such as routing patients into Valeant’s secret pharmacy network

 and the improper use of PAPs. Valeant failed to disclose Philidor as a distinct sales channel and,

 as a result, its reported growth was not indicative of future performance.




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                As described above, Philidor also employed practices to deceive TPPs. As a result,

 Valeant’s sales, through its concealed relationship with Philidor, were unsustainable. When private

 insurers and PBMs became more aware of Philidor and its practices in late 2015, they immediately

 stopped reimbursing Philidor. Consequently, Valeant closed Philidor. The significant financial

 impact that the Philidor closing ultimately had on Valeant’s future financial results, including its

 revenues and earnings, is precisely the type required to be disclosed by Valeant under the SEC’s

 MD&A rules.14

                Finally, Valeant’s price gouging was another major driver of Valeant’s revenue and

 profitability growth trends requiring disclosure in the Company’s annual and quarterly reports.

 Indeed, at the April 27, 2016 Senate Hearing, Pearson testified that 1Q13 to 3Q15 revenue growth

 and profitability were driven primarily by price, not volume. When asked if he could name a single

 drug that Valeant acquired where it did not raise the price, Pearson responded “[n]ot in the United

 States.” Valeant was required to disclose its dependency on and the impact of price increases on

 its reported revenues and earnings, as Item 303 explicitly requires reporting issuers to report details

 in MD&A disclosures describing changes in volume or price that impact reported revenues.

 Moreover, in SAB 104, the SEC Staff makes it clear that an analysis of volume and price changes

 affecting changes in revenue are required MD&A disclosures. As detailed above, Valeant’s

 dependency on price increases and their impact on Valeant’s reported revenues was concealed from

 investors during the Relevant Period.

                The SEC MD&A rules require disclosure of material events that would cause

 reported financial information to not necessarily be indicative of future operating performance.



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    Valeant was required to warn investors that its results were not indicative of future results due
 to the significant financial impact Valeant would suffer upon Philidor closing.

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 Because of the unsustainable nature of Valeant’s deceptive practices, Valeant was required to

 disclose the practices and associated risks and that its financial performance was not indicative of

 future results. In October 2015, Valeant provided certain price and volume disclosures as part of

 its 3Q15 earnings presentation. These disclosures of how price and volume impacted Valeant’s

 sales growth were not provided throughout the Relevant Period. The October 19, 2015 investor

 presentation showed that through the first nine months of 2015, volume had declined 7% while net

 realized price had increased 30% for Valeant’s neurology business. This showed that without price

 increases, revenues for neurology would have declined. As another example, Valeant doubled its

 revenues from Wellbutrin XL from 2013 to 2015, despite declining volume, by repeatedly

 increasing the drug’s price. Valeant provided similar disclosures about price and volume in its

 1Q16 10-Q filed on June 7, 2016. However, during the Relevant Period, in violation of SEC rules,

 Valeant failed to provide adequate disclosures showing how increases or decreases in price and

 volume impacted its revenue growth.

        E.      Defendants’ False And Misleading Statements
                Were Quantitatively And Qualitatively Material

                In evaluating the materiality of financial statement items, SEC rules require that

 both “quantitative” and “qualitative” factors be considered. See SEC Topic 1-M.15 SEC Topic

 1-M notes that assessing materiality solely on a quantitative basis “has no basis in the accounting

 literature or the law” and that the FASB “has long emphasized that materiality cannot be reduced

 to a numerical formula.” As alleged herein, each of Defendants’ Relevant Period misstatements




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   SEC Topic 1-M provides: “there are numerous circumstances in which misstatements below 5%
 could well be material. Qualitative factors may cause misstatements of quantitatively small
 amounts to be material.”

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 and disclosure violations were quantitatively and/or qualitatively material to investors as they

 related to central aspects of Valeant’s business, operations, and prospects.

                Valeant has restated its financial statements for the quarter and year ending

 December 31, 2014, and the first nine months of 2015 disclosing that, as originally reported, its

 financial statements should no longer be relied upon. Valeant’s financial restatement is an

 admission that the financial statements it issued to investors during the Relevant Period were

 materially false and misleading, as only materially misstated financial statements and measures

 need be corrected and reissued on a retroactive basis. As discussed above, the material impact of

 Philidor on Valeant’s revenue growth is further evident from Valeant’s closing of Philidor. For

 example, Valeant disclosed that the “Philidor separation” would negatively impact 4Q15 financial

 results by approximately $250 million in revenue, $0.65 in EPS, and its dermatology prescriptions

 would decline by 20%.

                Each of the Philidor-related misstatements and disclosure violations were also

 material from a qualitative perspective. First, SEC Topic 1-M provides that quantitatively small

 misstatements may be material if management has intentionally violated GAAP. Here, Valeant has

 acknowledged that an improper “tone at the top” and “improper conduct” of its Controller and

 CFO contributed to the misstatements. Second, Philidor masked Valeant’s sales trends throughout

 the Relevant Period. Philidor was a key driver of Valeant’s publicly reported, and highly touted,

 dermatology segment revenue growth rate. As detailed above, Valeant emphasized U.S. organic

 sales growth and dermatology sales growth – each of which Philidor represented a material portion.

 Third, SEC Topic 1-M states that “the demonstrated volatility of the price of a registrant’s

 securities in response to certain types of disclosures may provide guidance as to whether investors

 regard quantitatively small misstatements as material.” Here, when Valeant disclosed the existence



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 of Philidor on October 19, 2015, the price of Valeant stock plummeted over 17% in just two trading

 days. As reported by the The Wall Street Journal on October 25, 2015, “[w]hile Valeant may argue

 it didn’t think the consolidation of Philidor was material, the market’s reaction shows investors

 think otherwise. And since materiality is a qualitative, not a quantitative concept, the company

 shouldn’t try to stonewall with answers that try to purport that it wasn’t enough of assets to talk

 about it.”

                Finally, in addition to the foregoing quantitative and qualitative considerations, the

 MD&A disclosure violations and omissions were also material under SEC disclosure rules, which

 place an emphasis on materiality in regards to MD&A disclosure.

         Companies must provide specified material information in their MD&A, and they
         also must provide other material information that is necessary to make the required
         statements, in light of the circumstances in which they are made, not misleading.

                See SEC Release Nos. 33-8350, 34-48960; FR-72. Each of the MD&A disclosure

 violations and omissions discussed above were either required MD&A disclosures on their own,

 or at a minimum, were required in light of the existing MD&A disclosures that Valeant made

 regarding revenue trends. Valeant has conceded the materiality of Philidor and the Company’s

 price increases by belatedly making additional MD&A disclosures.

                The Company’s Forms 10-K and 10-Q were also materially false and misleading

 because they failed to, as required by Item 303 of Regulation S-K, disclose known trends,

 demands, commitments, events, and uncertainties that were reasonably likely to have a material

 adverse effect on the Company’s liquidity, net sales, revenues and income from continuing

 operations.

         ADDITIONAL INDICIA OF DEFENDANTS’ SCIENTER

                As discussed above, Defendants participated in an intricate scheme that operated

 for years to defraud investors by issuing false and misleading statements about Valeant and its

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 operating performance. They also defrauded PBMs, physicians, and payors by creating secretive

 improper practices to boost sales and sale prices of Valeant products. The Executive Defendants

 were personally aware of, designed, and implemented the deceptive practices detailed herein. The

 Executive Defendants were also personally aware of, or were severely reckless in disregarding,

 the improper and deceptive tactics employed by Philidor by virtue of their frequent meetings,

 effective control over, and contractual right to review and approve Philidor’s records and policies.

 Additionally, the Executive Defendants had significant motives to engage in the fraudulent

 conduct. Other facts demonstrating the Executive Defendants’ scienter are detailed below.

        A.      The Executive Defendants’ Role In Valeant’s Business Strategy

                Pearson was the architect of the Company’s business strategy and orchestrated the

 dramatic price increases and deceptive business practices along with the other Executive

 Defendants. Pearson implemented the strategies discussed herein when he became Valeant’s CEO,

 i.e., acquiring existing drugs, cutting R&D, and engaging in price gouging while hiding such

 practices by intentionally concealing that Valeant’s network of captive pharmacies formed the core

 of Valeant’s operations. It was a strategy well known to the Executive Defendants who designed,

 implemented and/or approved of the strategy that allowed Defendants to claim profit margins as

 high as 99%.

                A former Valeant executive told Forbes that Pearson “wanted to win at all costs and

 surrounded himself with people who would basically do whatever he told them to do.” According

 to Forbes, Pearson “liked to hire cronies like his former McKinsey partner Robert Rosiello, (now

 Valeant’s CFO),” his “brother-in-law [Robert Brabandt], who was paid $299,000 a year,” and

 “Ryan Weldon, head of Valeant’s U.S. dermatology operation,” who was the son of Pearson’s




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 former client, Johnson & Johnson CEO Bill Weldon. Other members of the Board of Directors

 and executives also had prior ties to Pearson.

                Former employees interviewed by Bloomberg Businessweek confirmed that

 Pearson had a hands-on management style and “had his fingers in everything, from operations to

 making decisions about the salaries of individual employees.” Forbes also confirmed that Pearson

 “micromanaged things he deemed important.”

                Pearson held weekly calls with the leaders of Valeant’s business groups on

 Tuesdays at 11:00 a.m., during which Valeant’s senior management would assess the business,

 address developing issues, and ensure that there were no surprises facing the Company at each

 quarter end.

                During the April 29, 2015 conference call, Schiller commented on his resignation

 as CFO and confirmed the role that he and Pearson played in implementing the non-traditional

 practices, stating that, “Mike [Pearson] sets the tone at Valeant” and adding, in part:

         I’ve completely bought into our unique strategy and culture, the transparency and
         fact-based approach to running our business, and our relentless focus on building
         a great Company and on creating shareholder value.

         . . . . Valeant’s business has never been stronger and its prospects have never been
         brighter. . . .

                In addition, Valeant documents, former Valeant/Philidor employees, and sworn

 testimony confirm that the Executive Defendants were directly involved in the business and pricing

 strategies implemented by Valeant. For example, when Isuprel and Nitropress were acquired,

 Pearson, Schiller, Kornwasser, Davis, Steve Sembler (former Senior Vice President of Neurology

 and Other), and Sandeep Lalilt (Senior Director of Marketing) held a meeting to discuss pricing.

 The Wall Street Journal reported that Pearson wanted to dramatically increase prices to reach profit

 targets, while the rest of the group recommended smaller price increases implemented over time.

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 At the Senate hearing, Schiller confirmed that despite the recommendation of the business unit

 “Mr. Pearson made a decision to go with the higher price.” In a written statement to the Senate

 Committee, Pearson admitted that he, “as [Valeant’s] leader, was too aggressive – in pursuing price

 increases on certain drugs.” At the Senate hearing, Pearson confirmed his hands-on style,

 testifying in response to questions about patient complaints that “we do track every patient that

 calls and make sure that it’s run to the ground” and “I read the reports.”

                In a May 28, 2014 conference call with investors, Schiller stated that he and Pearson

 “religiously track each deal on a quarterly basis. Our Board of Directors receives a report every

 quarter on each deal. We review every quarter and ask ourselves how are we doing, we are our

 own biggest critics.”    Later the same day, at a Sanford C. Bernstein Strategic Decisions

 Conference, Pearson stated, “we’re tracking every product around the world.”

                Moreover, throughout the Relevant Period, the Executive Defendants held

 themselves out to investors as the persons most knowledgeable about Valeant’s business, operating

 model, and strategies (including pricing, the AF initiative, and specialty pharmacies), acquisitions,

 organic growth, internal controls, ethical standards, compliance programs, and the volume, pricing,

 and performance of Valeant’s products. The Executive Defendants voluntarily and repeatedly

 chose to discuss these issues throughout the Relevant Period and in doing so either knew or

 recklessly disregarded that their statements were contrary to the underlying facts alleged herein,

 while making the specific and detailed statements alleged herein.

                The Executive Defendants were active and culpable participants in the fraudulent

 scheme and course of business alleged herein by virtue of their receipt of information reflecting

 the true facts regarding Valeant, their control over and/or receipt of Valeant’s materially misleading

 misstatements, and/or their associations with the Company that made them privy to confidential



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 proprietary information concerning Valeant’s unsustainable business model and its reliance on

 deceptive practices. The ongoing fraud as described herein was pervasive, multi-faceted, and

 carefully designed. Such a sophisticated fraudulent scheme could not have been perpetrated for

 so many years without the knowledge and/or recklessness and complicity of personnel at the

 highest level of the Company, including the Executive Defendants.

                During the Relevant Period, the Executive Defendants, as senior executive officers

 and/or directors of Valeant, were privy to confidential and proprietary, non-public information

 concerning Valeant’s operations, finances, financial condition, and present and future business

 prospects, including in connection with due diligence undertaken as part of Valeant’s acquisitions,

 via internal documents and conversations with other officers and employees, and/or attendance at

 management and/or board of directors meetings and committees thereof.             Because of their

 possession of such information, the Executive Defendants had the ability and opportunity to

 prevent the issuance of the Company’s reports and releases alleged herein to be false or misleading

 and/or to cause them to be corrected. The Executive Defendants’ materially false and misleading

 statements during the Relevant Period violated their duty to promptly disseminate accurate, full,

 and truthful information with respect to Valeant’s operations, business, financial statements, and

 financial metrics, so that the market price of Valeant securities would be based upon truthful and

 accurate information.

                Moreover, Pearson, Schiller, and Rosiello assumed the responsibility of obtaining

 the requisite knowledge to ensure the Company’s disclosures to the market were true by executing

 SOX Certifications. Pearson, Schiller and Rosiello participated in the drafting, preparation, and/or

 approval of the various SEC filings, releases, and other public statements complained of herein




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 and because of their managerial positions had control over the information that was disclosed and

 the true facts relating to those disclosures.

          B.     Monitoring Of And Decision To Close Philidor

                 The Executive Defendants were personally aware that Valeant used Philidor and its

 secret network of pharmacies to engage in deceptive practices from Philidor’s inception until its

 closure. They also knew that the relationship was being concealed. The Executive Defendants

 were intimately involved in the acquisition of Medicis, which employed an AF strategy and led to

 the formation of Philidor on January 2, 2013.

                 On January 3, 2013, Valeant announced the hiring of Kornwasser. Kornwasser and

 Tanner were Valeant’s main contacts for Philidor. Tanner reported to Kornwasser, who reported

 to Pearson. Kornwasser’s position and compensation within the Company make clear that Philidor

 was of critical importance to Valeant. Kornwasser received over $8.8 million in total compensation

 (cash and stock awards) in his first year of employment.

                 Pearson, Schiller, and senior management signed the Philidor agreements, and

 Pearson and other executive officers often touted Valeant’s new “alternative fulfillment program.”

 The Executive Defendants knew that several Valeant employees were assisting in the formation of

 Philidor, working at Philidor, and eventually transferred employment to Philidor, where these

 employees (both while still employed at Valeant and after transferring to Philidor) would oversee

 the deceptive business practices designed to artificially boost the sales and sale prices of Valeant

 drugs.

                 Prior to obtaining the option to acquire Philidor, Pearson, Schiller, and Valeant’s

 Board of Directors performed due diligence, including multiple site visits. In fact, the majority of

 Valeant’s Board of Directors, including the entire Audit and Risk Committee, toured the Philidor

 facility in Pennsylvania in person and prior to the transaction. Additionally, Valeant’s entire Board
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 of Directors, including the Finance and Transactions Committee and the Audit and Risk

 Committee, reviewed and approved the Philidor transaction and accounting treatment that violated

 GAAP.

                Valeant effectively controlled Philidor from the day it was created. Philidor was

 formed to orchestrate Defendants’ fraudulent scheme to inflate revenues. Valeant had a contractual

 right to inspect Philidor’s books, records, and facilities and to audit its practices for compliance

 and either did so, and knowingly approved of the deceptive practices, or was severely reckless in

 failing to do so. As Philidor employees have confirmed, the deceptive practices were widely

 known, discussed, and even documented in Philidor’s training manuals. Philidor was included in

 Valeant’s internal control testing and internal audit program for 2015. Valeant and Philidor formed

 a joint steering committee which held regular meetings to discuss, among other things, Philidor’s

 “Strategic Plan,” contractual obligations with TTPs, and “internal policies, manuals and

 processes.”

                As a further example that Pearson was personally monitoring Philidor’s practices,

 on March 9, 2015, Kellen sent an email to Pearson updating him on their earlier conversation

 stating “Met with Deb [Jorn]. . . . Suggested we get all the DMs [District Managers] in for a day. . .

 goal to go over the practices in each district where Philidor is working well and identify next

 [approximately] 10 practices where we should push harder to build it out. That [sic] will help fuel

 growth.” Pearson responded, “Good stuff.” Philidor managers were invited to meet with Valeant’s

 Board in July 2015.

                When asked if Valeant entered into a relationship with Philidor in order to boost

 sales, Philidor’s Call Center Agent from August 2014 to October 2014 (see ¶101 n.6), responded,

 “Absolutely they did.” Furthermore, the former Call Center Agent stated: “Straight up they would



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 tell you in training that they [Valeant] were having difficulty getting their branded medications out

 to consumers, so they created Philidor to get it out.” According to the former Call Center Agent,

 Greenfield provided this information.

                According to multiple former Valeant/Philidor employees, internal policies strictly

 prohibited employees from mentioning a relationship between Philidor and Valeant to customers

 and physicians. Employees that violated these policies were reprimanded by management. These

 disciplinary measures taken by Philidor/Valeant to conceal their relationship provide further

 evidence that the Executive Defendants were monitoring the deceptive practices at Philidor and

 did not want Valeant to be associated with those practices.

                For example, a Philidor Call Center Agent (see ¶101 n.6) was reprimanded for

 mentioning Valeant on the phone with a patient. While explaining to a patient how Philidor could

 fill prescriptions with no copay, she told the patient “Don’t worry if your insurance company

 doesn’t cover this prescription because Valeant is going to cover it.” After this occurred “Philidor’s

 attorneys got all upset” according to the former Call Center Agent. Upon learning of this

 interaction, Greenfield issued a written warning reprimanding her for mentioning Valeant to a

 patient stating that her actions were “putting the entire business at risk.” She was not allowed to

 keep a copy of the written warning. Similarly, in May 2015, a Philidor Customer Service

 Representative (see ¶102 n.7) was instructed by his supervisor not to mention Valeant anymore on

 calls with customers. The former Customer Service Representative, who has prior experience

 working in managed care, was reprimanded because he would “get too much into the insurance

 field of things” with Philidor customers.

                In addition, as detailed above (see ¶84) multiple former Philidor/Valeant employees

 described company policies and practices demonstrating Valeant’s control over Philidor.



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                Defendants also monitored the network of pharmacies through which Philidor

 operated. For example, Valeant made approximately 75 shipments to R&O between January and

 August 2015 and received millions of dollars in payment directly from R&O in return. On

 September 4, 2015, after R&O began withholding invoices upon suspicion of fraudulent conduct,

 Valeant’s general counsel sent a letter to R&O’s owner seeking “immediate payment.” In the

 October 19, 2015 conference call, Pearson told investors that R&O was a part of the Company’s

 specialty pharmacy network and discussed the lawsuit.

                On October 19, 2015, as questions about Philidor arose, Pearson, at a conference

 attended by Rosiello and Kellen, defended Philidor and the decision to conceal the relationship as

 “a competitive advantage that we did not want to disclose to our competitors.” Pearson repeated

 this at the October 26th conference attended by Schiller, Rosiello, Ingram, Provencio, Melas-

 Kyriazi, Stevenson, Carro, and Kellen and added that Philidor was purportedly “independent” and

 sales through it were “less profitable.” Just days later, on October 30, 2015, Valeant announced

 Philidor would cease operations as Philidor’s improper practices were publicly revealed.

 Defendants’ decision to shut down Philidor so quickly, rather than investigating to confirm the

 devastating allegations, shows they were aware of Philidor’s deceptive practices.

                Pearson repeatedly spoke of the purported benefits of the AF strategy during the

 Relevant Period but refused to provide details of the particular practices when asked. In addition,

 when Valeant’s relationship with Philidor was uncovered, Pearson admitted that it was a conscious

 decision to conceal Philidor for purported “competitive” reasons, and Ingram made clear that the

 Board “has fully supported the company’s specialty pharmacy strategy.”

                Furthermore, when Citron issued its report questioning whether Valeant was

 inflating revenue through Philidor, Pearson, Ingram, and Carro all publicly defended Valeant’s



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 accounting. On October 26, 2015, Ingram noted that the entire Board and Audit Committee had

 reviewed and confirmed the appropriateness of the accounting relating to Philidor. The 3Q15 10-Q

 Valeant filed that same day, signed by Pearson and Rosiello, repeated this fact. In a conference

 call with investors, Ingram forcefully defended Pearson, saying, “I also want to reiterate the

 Board’s complete and total faith in Mike Pearson” because “[h]e operates with the highest degree

 of ethics and he has the Board’s unanimous support.” However, once the SEC investigation was

 underway, Carro and Schiller were asked to leave for engaging in “improper conduct” related to

 the accounting. Valeant admitted it had improperly inflated revenues through Philidor and would

 need to restate its previously issued financial statements.

                Finally, the efforts by Philidor to cover up its wrongdoing further support an

 inference of scienter considering Valeant’s effective control over Philidor. Specifically, as reported

 by Reuters, starting in September 2015, “Philidor began requiring employees to sign

 confidentiality agreements empowering the pharmacy to sue workers who divulged information

 about its activities.” Indeed, a Patient Care Specialist at Philidor from June 2015 to November

 2015 (see ¶84 n.3) stated that Philidor instructed her to sign a non-disclosure in September 2015.

 The fact that Philidor compelled its employees to sign such agreements, two years after it began

 operations and just after the R&O dispute and government inquiries, demonstrates such efforts

 were intended to conceal wrongdoing rather than protect purported business secrets.

        C.      Valeant’s Refusal To Pursue Remedies Against Wrongdoers

                Valeant’s failure to pursue remedies against Pearson, Schiller, Philidor, and Philidor

 executives supports an inference that the deceptive business practices alleged herein were fully

 approved.    Valeant, therefore, could not pursue such remedies for the very wrongdoing it




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 condoned, and thus was limited to terminating the employment of the wrongdoers and shutting

 down Philidor.

                  In 2014, Valeant instituted a clawback policy, allowing the Company to recover

 incentive compensation from management if a restatement is required within three years of the

 relevant period and an executive is found to have participated in fraudulent or illegal conduct.

 However, as Ingram noted, the Board approved the accounting for Philidor and thus,

 notwithstanding this clawback right, Valeant’s Board has taken no public action to recover

 payments to Pearson, Schiller, or the other executives.

                  To the contrary, the Company retroactively modified Pearson’s employment

 contract to provide him with a $2 million salary for 2016, along with other financial benefits,

 although Pearson was only supposed to receive a performance bonus but no salary for 2016, a

 month after announcing that Pearson would be replaced as the CEO. Valeant has since provided

 him a $9 million severance.

                  Similarly, Valeant’s purchase option agreement with Philidor provides broad

 indemnification rights to the Company, including that Philidor “shall indemnify, defend, and hold

 harmless” Valeant “from and against any and all Losses” to Valeant “as a result of the operation of

 the Pharmacy or the performance by the Pharmacy of its duties.” However, the purchase option

 agreement further provides that such liability “shall be reduced by the extent . . . that such Losses

 are caused by or arise out of (a) the negligence or intentional misconduct of Manufacturer.” Rather

 than pursue its claims against Philidor, Valeant entered into a mutual release with Philidor,

 effective as of November 1, 2015.




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        D.         Valeant’s Admissions Of Wrongdoing

                   As detailed above, Valeant has admitted that several Defendants’ Relevant Period

 statements were false and misleading, that Carro and Schiller engaged in improper conduct, and

 that Valeant had an unethical “tone at the top.”

                   On February 3, 2016, Valeant admitted that Pearson’s April 29, 2015 statement that

 “volume was greater than price in terms of our growth” was false. On February 22, 2016, Valeant

 issued a press release wherein the Company stated it had improperly recognized revenues. On

 March 21, 2016, the Company issued a press release and Form 8-K disclosing that it had material

 weaknesses in internal controls and the 2014 10-K and three 10-Qs during 2015 could no longer

 be relied upon.

                   Further, Schiller was accused of “improper conduct” and the Company “determined

 that the tone at the top of the organization and the performance-based environment . . . may have

 been contributing factors resulting in improper revenue recognition.16 Valeant asked Schiller to

 resign from the Board and forced Pearson and Carro out, quickly replacing them.




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   Valeant regularly reported non-GAAP financial disclosures in an effort to make Valeant appear
 more profitable. On December 4, 2015, the SEC raised concerns regarding the “overall format
 and presentation of the non-GAAP measures” and regarding the prominence given to such
 numbers. In a March 18, 2016 letter to the Company, the SEC noted that “over the past four years,
 you have reported approximately $9.8 billion of non-GAAP net income” compared to having
 “reported [a] GAAP net loss of approximately $330 million.” The Executive Defendants’
 insistence on providing opaque and misleading disclosures and resistance to the SEC’s repeated
 requests for reform further supports an inference of scienter. On April 8, 2016, the Company
 informed the SEC it would change its approach to non-GAAP financial measures.
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         E.      The Congressional Hearings

                 Congressional committees began investigating Valeant’s business practices in

 2015. Numerous admissions during the course of these investigations further support an inference

 of scienter.

         February 4, 2016 House Oversight Committee Hearing

                 Valeant produced 75,000 pages of documents to the House Oversight Committee.

 A summary of those documents corroborates the allegations herein confirming: (i) “that

 Mr. Pearson purchased Isuprel and Nitropress in order to dramatically increase their prices” and

 “Valeant identified goals for revenues first, and then set drug prices to reach those goals,” (ii) “that

 Valeant used its patient assistance programs to justify raising prices and to generate increased

 revenues by driving patients into closed distribution systems,” (iii) that Valeant “sought to exploit

 this temporary monopoly by increasing prices dramatically to extremely high levels very quickly,”

 and (iv) that “Mr. Pearson utilized this strategy with many more drugs than Isuprel and Nitropress”

 as Valeant had increased the prices of 20 prescription drugs by more than 200% from 2014 to 2015.

                 During the February 4, 2016 hearing, Schiller demonstrated his intimate familiarity

 with and knowledge of Valeant’s drug pricing practices and spoke as an authority on the subject.

 In his prepared testimony, Schiller acknowledged that Valeant had acquired Nitropress and Isuprel

 in February 2015 and that even though they were only two of 1,800 total Valeant products (0.1%),

 they accounted for 4% of full year 2015 revenues (and even more of Valeant’s profits given their

 99% margins). Schiller further acknowledged that federal anti-kickback laws prohibited the

 “patient assistance” programs Valeant provided.

                 In live testimony at the hearing, Schiller admitted that the previously concealed

 risks of the Company’s price gouging practices included: “increased pressure for rebates from the


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 payers, decreased sales volumes from hospitals, increased substitution of alternative products, and

 heightened competition from new generic or branded drugs.”

                In addition, Schiller effectively admitted that Valeant’s business strategy was

 neither sustainable nor more profitable, a notion which Defendants previously denied repeatedly

 during the Relevant Period. Schiller did so by acknowledging “we made a lot of mistakes” and

 would no longer pursue such “aggressive” price increases and would be lowering prices. Schiller

 also admitted they were “too aggressive” in raising the prices of Nitropress and Isuprel, and said

 “[w]e are not going to be looking for those kinds of acquisitions going forward.” Schiller also

 acknowledged that Valeant would spend more heavily on R&D in the future.

                Representative Maloney asked if “price increases represented 80 percent of your

 company’s growth for the first quarter of 2015” and Schiller admitted they did. Schiller was also

 asked if Pearson’s statement, “do not bet on science, bet on management,” was Valeant’s operating

 philosophy. Schiller responded that the Company was “chang[ing] quite a bit.”

        Senate Aging Committee Hearing

                On April 27, 2016, the Senate Aging Committee held hearings relating to Valeant.

 Pearson (who had been terminated as CEO after returning from a leave of absence) along with

 Schiller and Ackman testified.

                Pearson submitted a written statement admitting “the company was too aggressive -

 and I, as its leader, was too aggressive - in pursuing price increases on certain drugs.” He said he

 “regret[ted] pursuing transactions where a central premise was a planned increase in the prices of

 the medicines, such as our acquisitions of Nitropress and Isuprel.” During the hearing, Pearson

 and Schiller displayed their intimate familiarity with and knowledge of the Company’s drug

 pricing practices and spoke as authorities on the subject.



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                Pearson further acknowledged in his written statement:

        In retrospect, we relied too heavily on the industry practice of increasing the price
        of brand name drugs in the months before generic entry. Instead, in my view, we
        should have abandoned the transaction with Marathon when it became clear the
        expected arrival of generic competition made the economics of the deal dependent
        on significant price increases.

                Pearson admitted during the hearing: “Yes. Our pricing has driven more growth

 than volume, although that is changing over time.” He also stated “we have also made mistakes,

 including those that bring me here today.”

                Senator Kaine noted that Pearson previously claimed Valeant’s business model was

 not fully understood by all investors and the Company had “nothing to be ashamed of.” Senator

 Kaine asked if Pearson still felt that way and Pearson testified “No,” adding, “we have been too

 aggressive on pricing.”    Pearson also admitted he had raised prices higher than Valeant’s

 consultants recommended.

                Senator McCaskill noted that, since 2013, price had been more responsible for

 growth than volume in all quarters except one, and Pearson confirmed that was correct. This

 admission contradicted Pearson’s April 29, 2015 statement and his October 14, 2015 letter to

 Senator McCaskill, wherein Pearson claimed “[t]here is a misperception in the media that Valeant’s

 revenue growth for existing products has been driven primarily by price.”

                The Congressional committee hearings exposed other false and misleading

 statements that Defendants had made to investors during the Relevant Period. For example,

 Pearson claimed in his October 30, 2015 letter to Senator McCaskill that “for those institutions

 where the impact was significantly greater, we are beginning to reach out to hospitals to determine

 an appropriate pricing strategy.” Soon thereafter, Valeant announced a 30% discount program.

 But, at the hearing, Senator McCaskill noted that she had not found a single hospital that had

 received the discounts. Hospital affiliated witnesses at the hearing also denied receiving the
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 discounts and several more sent letters to the Senate Aging Committee stating they had not

 received any such discounts.

                For example, Cleveland Clinic noted that it called Stolz of Valeant to ask about the

 discounts, and Stolz promised to get back to them but never did. Similarly, University of Utah

 Health Care wrote to the Senate Aging Committee that “Valeant noted in a letter to Ranking

 Member McCaskill that their company would be reaching out to hospitals that were impacted by

 the new pricing” but when they called “Valeant refused to talk to me about better contracted

 prices.”   Valeant essentially conceded that Pearson’s claim was inaccurate, when, on

 April 23, 2016, Stolz submitted a written response admitting that “[a]s of this date, Valeant has not

 entered into contracts with individual hospitals to provide volume-based discounts for Nitropress

 and Isuprel” but had entered into contracts with only three hospital groups. Valeant issued a public

 statement that they formed a committee which was working to “develop solutions so any hospital

 that is eligible for discounts on Nitropress and Isuprel receives them,” and Stolz left the Company.

                During the hearing, Senator Collins commented that Valeant’s “price-gouging

 strategy appears to be based on careful study of the FDA approval process. The Company knows

 it often takes years before generic competitors can clear the hurdles imposed by that process to

 enter the market and to compete. During that period, Valeant exploits its de facto monopoly.”

 Senator Collins further stated “[i]t is also apparent that these medications make an out-sized

 contribution to the company’s net income, we can find nothing to explain these dramatic price

 increases beyond Valeant’s desire to take advantage of monopoly drugs.” Senator McCaskill

 commented that “[e]ven Valeant’s patient assistance program appears to be set up solely to increase

 Valeant’s bottom line,” with Senator Collins adding that Valeant’s PAP was used “so that you can




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 still get the payments primarily from commercial insurers, which dwarf the amount that you’re

 giving in customer assistance.”

                Senator Warren asked Pearson “[w]hy don’t you use these co-pay reduction

 programs for federal government insurance programs, like Medicare Part D or Medicaid,” to which

 Pearson acknowledged “we’re not allowed to.” Warren responded, “Yeah, because it’s illegal.”

 She additionally stated “These programs are illegal because Medicare and Medicaid understand

 that the programs are scams to hide the true cost of the products from the consumer and drive up

 the cost of all the taxpayers.”

                Finally, in connection with the Congressional probes, Philidor was asked why

 Valeant did not simply purchase Philidor outright rather than acquire the option to purchase it for

 $0. Philidor’s counsel, in a written response, said that “Philidor concluded that Valeant’s conduct

 was consistent with a concern about the economic impacts of any PBM response if Valeant had

 purchased Philidor.” Thus, Philidor confirmed that Valeant knew PBMs would refuse to reimburse

 Philidor prescriptions if PBMs knew of the controlling relationship.

        F.      Executive Departures

                Widespread executive and director departures, including many of the Executive

 Defendants, in close temporal proximity to revelations regarding the deceptive practices by Valeant

 and Philidor, further support an inference of scienter.

                On April 29, 2015, just a few months before the scandal would reach the public and

 just after the false 2014 financial statements were issued, Valeant announced that Schiller would

 be leaving his position as CFO once a successor was appointed.

                Kornwasser left the Company in July 2015. CNBC subsequently attempted to

 contact Kornwasser, but received a call from Valeant’s crisis management department who said


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 Kornwasser was not interested in discussing Valeant or Philidor. Representative Cummings noted

 Kornwasser was never made available when the House Oversight Committee asked Valeant to

 produce him for an interview.

                On or about March 2, 2016, it was reported that Jorn, head of the U.S.

 Gastrointestinal and Dermatology divisions was “leaving the company effective immediately.”

 Jorn was responsible for some of Valeant’s top selling drugs, including Jublia, a dermatology drug

 which was sold in massive quantities through Philidor.

                On March 21, 2016, Valeant issued a press release regarding the restatement and

 material weaknesses of its internal controls. It also confirmed Pearson would be leaving the

 Company. Moreover, the Company admitted that Schiller and Carro engaged in “improper

 conduct” and provided inaccurate information to the Ad Hoc Committee investigating the false

 revenues. Schiller was asked to resign from the Board. Carro was replaced as Controller.

                After joining the Board, Ackman was asked by the media and Congress about the

 corrective actions Valeant was taking and he responded by stating that Pearson was replaced as

 CEO. Ackman responded that “[w]e have a new CEO starting” and a “lot of the board is going to

 turn over, so we’re going to have a new board for the most part.”

                On April 29, 2016, Valeant announced that seven of its board members would not

 be standing for re-election. This included Pearson and Schiller, as well as Mason Morfit (of

 ValueAct), Provencio (chair of the Audit Committee), Goggins, Farmer, and Melas-Kyriazi

 (member of the Audit Committee). Notably, Provencio, Goggins, and Morfit were also members

 of the Ad Hoc Committee.

                On May 20, 2016, Valeant stated in a filing with the SEC that Stolz had resigned as

 Senior Vice President of Neurology, Dentistry and Generics. Stolz had been involved in both the



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 price increases and the purported pricing discounts Pearson promised Congress but failed to

 deliver.

            G.   Pearson’s Misrepresentations To Ackman

                 The fact that Pearson concealed his deceptive practices from Ackman, a large

 investor with whom Pearson had a cooperative business relationship, provides another strong

 inference of Pearson’s scienter. Although Ackman met with Pearson on many occasions to discuss

 Valeant’s business, Pearson kept Ackman in the dark regarding the deceptive practices herein,

 while using Ackman to refute Allergan’s claims and defend Valeant’s business model.

                 In 2014, Ackman, who controlled one of the Company’s largest stakeholders

 (Pershing Square), met with Pearson to form a partnership between Valeant and Pershing Square

 in an effort to take over Allergan. According to the plan, Pershing Square would acquire stock in

 Allergan both to assist in providing shareholder support and to validate the value of Valeant’s

 stock.

                 Pershing Square is, as Ackman has described, an investment company whose

 business is to thoroughly investigate companies before taking large investment positions. In an

 October 2014 deposition, Ackman testified that because Valeant was attempting to acquire

 Allergan with Valeant stock, Pershing Square “had the benefit really for the first time of doing due

 diligence on a company with full access to management and access to inside information, so we

 could vet Valeant as a company, we could assess its value and we could have helped, you know,

 vet the credibility of the currency [Valeant’s stock].”

                 When Allergan resisted Valeant’s takeover attempt and challenged the

 sustainability of Valeant’s business and its pricing practices (which claims Valeant denied),

 Pershing Square engaged in further due diligence before investing $4 billion in Valeant in early


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 2015. Ackman and Pearson had frequent contact, through calls, emails, and dinners. Ackman also

 introduced other investors to Pearson, offered to help Pearson prepare for earnings calls, and gave

 advice after those calls. In short, during 2014 and 2015, Ackman had numerous conversations

 with Pearson about Valeant’s business.

                Despite these extensive contacts and Ackman’s “full access to management,”

 Pearson concealed the extent of Valeant’s price gouging and other deceptive practices from

 Ackman, in order to have Ackman publicly endorse Valeant’s “currency,” i.e., stock value, during

 the attempted Allergan acquisition and defend Pearson and Valeant’s business practices. For

 example, on April 22, 2014, Pearson emailed Ackman, asking him to “emphasize [the] quality of

 our company” to the media.

                On April 9, 2015, Ackman emailed Warren Buffett (“Buffett”) in response to

 criticism of Valeant and Pearson by Buffett’s partner, Charlie Munger (“Munger”), vice-chairman

 of Berkshire Hathaway. Ackman wrote that Munger “has gotten this one wrong,” that “[w]e have

 gotten to know Valeant and Pearson well over the last year,” and that others also “hold Mike

 Pearson in extremely high regard.” Ironically, Ackman claimed that Pearson was “an extremely

 direct person,” and offered to set up a meeting to “meet Mike Pearson and ask him anything you

 would like.” Ackman continued stating “Mike would like the opportunity to clear his reputation

 in response to Charlie’s recent comments.” Buffett suggested that Ackman contact Munger

 directly.

                On April 11, 2015, Ackman sent an email to Munger. He claimed there “was a lot

 of misinformation disseminated by Allergan about Valeant,” and “[p]erhaps that is the source of

 your misinformation.” Ackman asked him to meet with Pearson, stating, “I think you have the

 facts wrong,” and “it seems fair that you would give Mike an opportunity to respond to your



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 concerns . . .” Further demonstrating Ackman’s belief that Allergan’s claims were false and

 revealing the extent of his ignorance about the true state of affairs at Valeant, Ackman even claimed

 that Pearson followed a “rational approach to operations,” and that “Valeant stock has been and

 continues to remain perennially undervalued,” even though it was trading at over $200 per share.

                  Even as late as October 6, 2015, Ackman had not been told of the extent of Valeant’s

 price gouging. In a media interview that day, Ackman claimed a “[v]ery small part of Valeant’s

 business is repricing drugs” and said it was price increases by other companies that were resulting

 in Valeant getting “dragged into the story.” Ackman went on to claim that Valeant was “the most

 undervalued” stock Pershing Square owned at the time.

                  After the truth regarding Valeant’s deceptive practices came to light and Ackman

 joined the Board, Ackman dramatically reversed course in his defense of Pearson and Valeant’s

 business practices. Ackman testified to the Senate under oath that he was unaware of what he

 called the “horrible” and “wrong” price increases that were later publicly disclosed with regard to

 Cuprimine, Isuprel, and Nitropress, and testified that Pershing Square did not approve of the “rapid

 and large increases in the prices of certain drugs.” Ackman testified, “[c]learly [there] were things

 I did not understand about the business.” Ackman also told the Senate Aging Committee, and

 repeated on CNBC and in other media interviews, that replacing Pearson as CEO was

 “appropriate.”

                  After the disclosures, Munger’s criticism was even sharper, stating “Valeant of

 course is a sewer, and those who created it deserve all the opprobrium that they got.” Buffett

 added: “I don’t think you’d want your son to grow up and run a company in the manner that Valeant

 was run.” This time, rather than defend Pearson, as he had to Munger and Buffet in the past,




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 Ackman essentially concealed Pearson’s misconduct by stating only that “it is not fair to indict

 an[] entire company based on the actions of a few.”

        H.      Executive Compensation

                Valeant’s unusual compensation structure provided incredibly rich compensation

 packages based on achieving increasingly challenging performance goals, backed by the threat of

 termination. This emphasis on results over ethics led to a culture of fraudulent practices.

                For example, at a May 28, 2014 conference, Pearson stated “there’s been a lot of

 turnover at the senior ranks; but that has been, by and large, our decision, not their decisions, as

 we continue to upgrade talent.” Pearson bluntly acknowledged “[t]here’s no tenure at Valeant. It’s

 up and out. . . . It’s more like a professional services firm than a sort of traditional pharmaceutical

 company.” Pearson also admitted that the compensation system at Valeant was entirely dependent

 on increasing the stock price, stating:

        So, our Company senior management and the Board -- we -- there’s only one metric
        that really counts, and it’s total return to shareholders. That’s how we’re paid. We
        have a unique pay model, that at least we -- at least -- if we don’t at least achieve a
        15% total return to shareholders each year, compounded annual growth rate, that
        basically the equity we receive in terms of our stock grabs is worth nothing.

 A December 12, 2013 Board of Directors presentation regarding Valeant’s 2014 budget reflected

 these aggressive targets. The presentation noted that “[b]udget reflects stretched targets for all

 business units,” and there would be “[n]o bonuses to be paid for performance <90% of base

 budget.”

                While missing budgets was punished with forfeiture of bonuses or worse, Valeant’s

 highest ranking executives received millions of dollars for achieving the increasingly aggressive

 financial targets. For example, in 2014, Pearson’s base compensation was $2 million and

 Schiller’s was $1 million. However, under the bonus program they could earn multiples of their



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 base salary. For example, Pearson received an $8 million bonus, an amount equal to 4 times

 Pearson’s base compensation, and Schiller received a $2.4 million bonus, nearly 2.5 times

 Schiller’s base compensation.

                 The lavish salaries and bonuses paled in comparison to the rewards for bringing

 Valeant’s stock price as high as possible until 2017. Industry observers noted that Valeant’s

 compensation scheme paid Pearson “like a hedge fund manager.” For example, on April 22, 2014,

 the Company filed a proxy statement with the SEC disclosing that the value of Pearson’s shares

 on March 31, 2014, was approximately $1.3 billion. During an April 22, 2014 presentation in New

 York, Ackman appeared with Pearson and referred to the $1.3 billion, stating that “this is one of

 the more unusual and leveraged shareholder aligned compensation packages we’ve ever seen.”

 Ackman also highlighted that a large portion of Pearson’s compensation was tied to the grant of

 performance share units that vest only if he delivered incredibly aggressive annual returns over

 three years of between 15% and 60%, which compounded each successive year.

                 The compensation program provided Pearson the opportunity to become a

 billionaire and obtain wealth far beyond even a typical highly paid CEO. It also incentivized

 Pearson and other Valeant executives to use any means necessary to increase the stock price

 through 2017 at the expense of the long-term health of the Company and shareholder interests.

 Moreover, Pearson was allowed to effectively cash out a portion of his stock, pledging it as

 collateral for $100 million loaned to him by Goldman Sachs in 2014.

                 With such powerful incentives, Pearson made statements to drive up the stock price,

 including in an October 27, 2014 letter Pearson wrote to Allergan’s Board of Directors, which was

 publicly disclosed by the Company. In it, Pearson stated: “We believe our stock is trading at

 artificially low levels.”



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                   On January 13, 2015, the Company filed a Form 8-K with the SEC announcing it

 had entered into an amended and restated employment agreement with Pearson. Pearson stopped

 earning an annual base salary, but his “target bonus opportunity” was increased from $6 million to

 $10 million. Again, as large as it was, the cash bonus paled in comparison to the hundreds of

 millions of dollars in compensation Pearson would receive if he successfully drove Valeant’s share

 price higher.17

                   During the Relevant Period, Schiller also had millions of dollars of his executive

 compensation connected with meeting challenging share price increase. On top of their extreme

 compensation, Pearson and Schiller were permitted personal use of Valeant’s $60 million fleet of

 private jets which were used by them to fly friends and family for vacations.

                   On March 21, 2016, the Company admitted that its aggressive compensation and

 performance goal practices contributed to the wrongdoing stating: “the Company has determined

 that the tone at the top of the organization and the performance-based environment at the Company,

 where challenging targets were set and achieving those targets was a key performance expectation,



 17
      Pearson’s amended employment agreement stated, in relevant part:
          The Employment Agreement provides for the grant of 450,000 PSUs with a base
          price of $140.63 (with the potential to earn between zero and 2,250,000 PSUs
          depending on performance). The PSUs vest based on achievement of the following
          performance metrics (applying linear interpolation for performance between the
          applicable thresholds): if the total shareholder return (“TSR”) over the five year
          measurement period is less than 10% over the base price, none of the PSUs will
          vest; if the TSR over the five year measurement period is 10% over the base price,
          450,000 of the PSUs will vest; if the TSR over the five year measurement period is
          20% over the base price, 900,000 of the PSUs will vest; if the TSR over the five
          year measurement period is 30% over the base price, 1,350,000 of the PSUs will
          vest; if the TSR over the five year measurement period is 40% over the base price,
          1,800,000 of the PSUs will vest and if the TSR over the five year measurement
          period is 50% or more over the base price, 2,250,000 of the PSUs will vest.



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 may have been contributing factors resulting in the Company’s improper revenue recognition” and

 other misconduct detailed in the press release.

                The “tone at the top” material weakness further supports an inference of scienter as

 accounting and internal control guidance makes clear the importance “top management” has

 setting an appropriate tone. (SEC Staff Accounting Bulletin No. 99 at 16). As CEO during the

 Relevant Period, Pearson had ultimate responsibility for Valeant’s internal control system and

 setting the “tone at the top” to prioritize ethical business and accounting practices and compliance

 over personal financial compensation, which he failed to do. As the COSO Framework states,

 “[t]he influence of the CEO on an entire organization cannot be overstated.” (COSO Framework

 at 84).

           I.   Inflating Valeant’s Stock Price To Facilitate Acquisitions

                In addition to personal compensation, the Executive Defendants had motive to

 conceal their fraudulent business practices described herein in order to artificially inflate Valeant’s

 stock price to more cheaply acquire other companies and further its acquisition strategy.

                For example, in 2014, Valeant offered cash and shares of Valeant stock in exchange

 for Allergan shares of stock. Thus, Defendants had an incentive to increase the price of Valeant

 shares to hit or exceed their $46 billion offer to Allergan, which was to be substantially funded

 with Valeant shares. On May 28 and 29, 2014, Valeant held meetings with some of Allergan’s

 largest shareholders to gather their support for Valeant’s bid. Ackman reported that Allergan’s

 shareholders would support the transaction if Valeant could “deliver $180 a share in Valeant in the

 value of the bid.” The higher Valeant’s stock price, the lower the cash required to deliver $180 per

 Allergan share.




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                 Valeant also took advantage of the artificially inflated price of its securities to

 conduct numerous debt and equity offerings during the Relevant Period, including one of the

 largest high-yield debt offerings in history, which generated in the aggregate nearly $15 billion of

 cash for the Company from the investing public at artificially inflated prices. For example, Valeant

 used proceeds from a $9.5 billion offering of senior notes in March 2015 to acquire Salix, and

 proceeds from a $3.2 billion offering of senior notes in July 2013 to acquire Bausch & Lomb.

         LOSS CAUSATION

                 Defendants’ wrongful conduct, as detailed herein, directly and proximately caused

 Plaintiff’s economic loss. Defendants’ statements and material omissions caused, or were a

 substantial contributing factor, in causing Valeant stock to trade at artificially inflated prices during

 the Relevant Period, with the price of Valeant stock reaching over $260 per share on

 August 5, 2015. As Defendants’ false and misleading statements and omissions were revealed to

 the market beginning in the third quarter of 2015 and continuing through the second quarter of

 2016, the price of Valeant stock declined precipitously, ultimately closing as low as $24 per share

 on June 7, 2016. As the artificial inflation was removed from Valeant’s stock price, tens of billions

 of dollars in shareholder market capitalization was destroyed, causing substantial damage to

 investors, including Plaintiff.

                 September 28, 2015. The relevant truth began to emerge on September 28, 2015,

 when Bloomberg reported that members of Congress were calling for an investigation of price

 gouging by Valeant. Bloomberg reported that all Democratic members of the House Committee

 had directed Chairman Chaffetz to subpoena Valeant for documents related to massive price

 increases for two heart rate medications, and that, according to the House Committee members,

 Valeant had failed to “adequately answer” questions and provide documents requested by House


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 Committee staff members regarding the Company’s basis for such “skyrocketing prices.” Also on

 September 29, 2015, numerous additional news reports were released detailing that Valeant was

 being targeted by Congress for the Company’s practice of purchasing older drugs and then

 dramatically raising their prices.

                In response to this partial disclosure regarding the Company’s reliance on, and the

 associated risks of, price gouging, the price of Valeant stock dropped more than 16%, from a close

 of $199 per share on Friday, September 25, 2015, to a closing price of $166 per share on Monday,

 September 28, 2015, on unusually high trading volume. The price of Valeant stock continued

 falling the following day, dropping an additional 5% to close at $158 per share on

 September 29, 2015, also on unusually high trading volume. The total stock price decline over

 this two-day period was over 20%, or $41 per share.

                October 4, 2015. On Sunday, October 4, 2015, additional details regarding

 Valeant’s reliance on price gouging were revealed when The New York Times published a highly

 critical article concerning Pearson’s September 28, 2015 letter to employees, specifically, his claim

 that Valeant was well-positioned for growth even without any price increases. The article noted

 that extraordinary price increases on eight Valeant drugs accounted for approximately 7% of the

 Company’s revenue and 13% of its earnings before taxes and interest in the second quarter, and

 that Valeant raised the prices on its branded drugs nearly five times as much as its closest

 competitor. On this news, the price of Valeant stock declined by more than 10%, falling from a

 close of $182 per share on Friday, October 2, 2015, to a close of $163 per share on Monday,

 October 5, 2015, on unusually high trading volume.

                October 14-15, 2015. After the market closed on October 14, 2015, concerns about

 the legality of the Company’s financial assistance programs were revealed when Valeant issued a



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 press release disclosing that it had received subpoenas from the U.S. Attorney’s Offices for the

 District of Massachusetts and the Southern District of New York requesting documents related to,

 among other things, Valeant’s PAPs, financial support provided by Valeant for patients, distribution

 of Valeant’s products, and pricing decisions. The press release also noted that the Company was

 beginning to reach out to hospitals impacted by above average price increases in response to

 Congressional inquiries. On October 15, 2015, additional information was revealed to the market

 as news reports detailed Valeant’s failure to be responsive or transparent with Congress’s

 investigation, and that despite being served with a federal subpoena, Valeant was still refusing to

 provide adequate answers regarding its price gouging and improper practices. On this news, the

 price of Valeant stock dropped by 4.75%, from a close of $177 per share on October 14, 2015, to

 a close of $168 per share on October 15, 2015, on elevated trading volume.

                October 19-20, 2015.       On October 19, 2015, the market learned additional

 information related to Valeant’s dependence on price increases and its controlling interest in

 Philidor and a related secret network of specialty pharmacies, when the Company reported its third

 quarter 2015 financial results and hosted an earnings conference call (which started before the

 market opened). During the conference call, the Company revealed its direct relationship with and

 reliance on certain specialty pharmacies to increase the price of Valeant’s drugs and volume of

 Valeant’s sales, including Philidor, and Valeant’s option to purchase Philidor. In addition, the

 Company disclosed that pricing accounted for approximately 60% of its growth in 2014 and 2015,

 that it would be making drug pricing a smaller part of growth going forward, and that R&D would

 become an increased area of focus. After the market closed on October 19, 2015, The New York

 Times published an article that described Philidor as not a “typical” specialty pharmacy, noted that




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 Philidor’s application for a license in California had been rejected for submitting false statements,

 and stated that Valeant was using Philidor as a tool to keep its drug prices high.

                On this news, the price of Valeant stock declined by nearly 8%, falling from a close

 of $177 per share on Friday, October 16, 2015, to a close of $163 per share on Monday,

 October 19, 2015, on elevated trading volume. The following day, Valeant shares fell an additional

 10% to close at $146 per share on October 20, 2015, also on unusually high trading volume. The

 total stock price decline over this two-day period was over 17%, or $30 per share.

                October 21-22, 2015.       On October 21 and 22, 2015, the market learned of

 additional problems regarding Valeant’s secret relationships with specialty and “affiliate”

 pharmacies, including Philidor and R&O, and related issues regarding Valeant’s accounting

 practices. On that day, Citron published a research report questioning the relationship between

 Valeant and Philidor and Valeant’s attendant accounting practices, and suggesting that Valeant had

 created a network of “phantom” specialty pharmacies for the purpose of inflating the Company’s

 revenues. The Citron report also provided further details of the lawsuit between R&O and Valeant,

 where R&O accused Valeant of “conspiring . . . to perpetuate a massive fraud.” After Citron’s

 report was published, trading in Valeant shares was temporarily halted because of the rapid decline

 in the price of Valeant shares. Specifically, as a result of the information provided to the market

 on October 21, 2015, the price of Valeant stock dropped more than 19%, from a close of $146 per

 share on October 20, 2015, to a close of $118 per share on October 21, 2015, on extraordinary

 trading volume.

                Moreover, after the market closed, Philidor issued a press release disclosing its

 contractual relationship with “affiliated pharmacies,” including R&O, and that it had a right to

 acquire such pharmacies now or in the future subject to regulatory approval. The following day,



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 analysts reacted to the troubling disclosures regarding Philidor. For example, before the market

 opened on October 22, 2015, BMO issued a report downgrading its rating of Valeant and

 concluding that Valeant’s arrangements with Philidor were “not just aggressive, but questionable.”

 As analysts reacted to the disclosures and the market continued to digest the negative news, the

 price of Valeant stock continued to decline on October 22, falling an additional 7%, to close at

 $109 per share on unusually high trading volume. The total stock price decline over this two-day

 period was over 25%, or $36 per share.

                October 25-26, 2015. On October 25 and October 26, 2015, the market learned of

 additional issues concerning Valeant’s improper relationship with and reliance on specialty

 pharmacies to increase the prices of Valeant products and to boost the volume of Valeant sales, and

 that the Company might be forced to terminate these clandestine relationships. On Sunday,

 October 25, 2015, The Wall Street Journal reported that former Philidor employees had revealed

 that Valeant employees worked directly at Philidor and were using fictitious names in order to

 conceal the companies’ relationship “so it didn’t appear Valeant was using the pharmacy to steer

 patients” to Valeant products. Before the market opened on October 26, 2015, Valeant filed its

 3Q15 10-Q and hosted a conference call, which acknowledged that the Company had the “power

 to direct” Philidor’s activities, and that the Company was conducting an investigation, through an

 ad hoc Board committee, into its relationship with Philidor. Later that day, Bloomberg reported

 that the remarks on the call “left investors skeptical, failing to answer critical questions on

 Valeant’s continuing relationship with Philidor.” As a result of this news, the price of Valeant

 stock dropped more than 5%, from a close of $116 per share on Friday, October 23, 2015, to a

 close of $110 per share on Monday, October 26, 2015, on unusually high trading volume.




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                October 28-30, 2015. On October 28 and 29, 2015, further information was

 revealed to the market regarding Valeant’s secret relationship with and reliance on specialty

 pharmacies, including Philidor, to increase the prices of Valeant products and boost the volume of

 Valeant’s sales. On that day, Bloomberg reported that Philidor used “back door” tactics to increase

 payments and “instructed employees to submit claims under different pharmacy identification

 numbers if an insurer rejected Philidor’s claim - to essentially shop around for one that would be

 accepted.” Then, on October 29, 2015, Bloomberg Businessweek reported on additional improper

 business practices at Philidor, including that Philidor was falsifying prescriptions to boost Valeant

 sales, based on the accounts of former Philidor employees and internal company documents.

 Additionally, during market hours on October 29, 2015, reports surfaced that CVS Caremark – one

 of the nation’s three largest PBMs – had terminated its relationship with Philidor following an

 audit of Philidor’s practices. As a result of this news, the price of Valeant stock dropped nearly

 5%, from a close of $117 per share on October 28, 2015, to a close of $111 per share on

 October 29, 2015, on unusually high trading volume.

                After the market closed on October 29, 2015, the nation’s other largest PBMs,

 Express Scripts and OptumRx, announced that they too had terminated their relationships with

 Philidor. Before the market opened on October 30, 2015, the Company issued a press release

 stating that it would be terminating its relationship with Philidor and that Philidor would be ceasing

 operations as soon as possible. On this news, Valeant shares fell by nearly 16%, from a close of

 $111 per share on October 29, 2015, to a close of $93 per share on October 30, 2015, on unusually

 high trading volume.

                November 4-5, 2015. On November 4, 2015, before the market opened, the Senate

 Aging Committee announced that it had formally launched a probe and requested documents and



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 information from Valeant regarding its skyrocketing drug prices. That same day, also before the

 market opened, Bloomberg reported that just weeks prior to the Company’s announcement that it

 was cutting ties with Philidor, Valeant had planned to expand its use of Philidor, which further

 called into question the viability of the Company’s recently issued financial guidance. After the

 market closed on November 4, 2015, The Wall Street Journal reported that Valeant’s largest

 shareholder, Ackman, was considering liquidating his entire $3.8 billion stake in the Company and

 had demanded that Valeant management “come clean” about Philidor.

                  On this news, the price of Valeant stock dropped by approximately 6%, from a close

 of $97 per share on November 3, 2015, to a close of $91 per share on November 4, 2015, on

 elevated trading volume. Valeant shares continued to decline the following day, falling by more

 than 14%, to close at $78 per share on November 5, 2015, on extraordinary trading volume. The

 total stock price decline over this two day period was 19.5%, or $19 per share.

                  November 10-12, 2015. On November 10, 2015, before the market opened,

 Valeant hosted a business update call and disclosed the “significant” negative financial impact that

 Philidor’s closing and the Government’s spiraling probes into its pricing practices were having on

 the Company, including with respect to its financial guidance. In particular, Valeant disclosed that

 there would be a significant short-term disruption to the Company’s dermatology division, that the

 Company was seeing short-term pressure in its neurology business, and that the Company was

 “working to quantify the potential short-term impact” on 4Q15 of the termination of its relationship

 with Philidor.     The Company also acknowledged that filling prescriptions for free would

 “obviously” have an impact on the rest of the quarter and that if Valeant’s pricing is “viewed as

 aggressive we’re going to have to listen to that.” On this news, Valeant stock dropped 2%, from a




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 close of $85 per share on November 9, 2015, to a close of $83 per share on November 10, 2015,

 on unusually high trading volume.

                After the market closed on November 10, 2015, it was reported that the Sequoia

 Fund, Valeant’s biggest shareholder, had paid and was offering to pay Philidor employees in order

 to obtain information regarding Valeant’s practices. The next day, before the market opened,

 Bloomberg reported that Valeant’s creditors were “[s]pooked” by a possible “[r]evenue [s]queeze”

 and concern was “growing that disruption to Valeant’s cash flow could heighten the risk of the

 company violating lender limits on its debt burden.” During market hours on November 11, 2015,

 analysts at Nomura cut their Valeant price target. On this news, the price of Valeant stock

 continued to decline, falling by over 5%, to close at $78 per share on November 11, 2015.

                On November 12, 2015, before the market opened, Bloomberg published another

 article regarding Valeant’s relationship with Philidor, and multiple media outlets reported that

 analysts at several firms had lowered their price targets for Valeant. On this news, Valeant’s stock

 price dropped an additional 6.5%, to close at $73 per share. The total stock price decline from

 November 10 through November 12, 2015, was over 13%, or $11 per share.

                November 16, 2015. On November 16, 2015, during market hours, Bloomberg

 reported that Congressman Elijah Cummings wrote Pearson requesting that Pearson make certain

 Valeant employees available for interviews. After the market closed that day, The Washington Post

 reported that the House Oversight Committee announced it would hold a hearing in early 2016 on

 prescription drug pricing, and that it had contacted Valeant to gather information. The article also

 disclosed that members of the House Oversight Committee were urging Valeant’s executives to

 testify at the hearing and for Valeant to be subpoenaed. On this news, the price of Valeant stock

 dropped by nearly 3%, from a close of $75 per share on November 13, 2015, to a close of $73 per



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 share on November 16, 2015, on unusually high volume. The price of Valeant stock continued to

 decline on November 17, 2015, dropping an additional 4% to close at $70 on high trading volume.

                December 17, 2015. On December 17, 2015, before the market opened, Mizuho

 cut its rating on Valeant stock to “neutral” from “buy.” The Mizuho analyst cited a lack of clarity

 regarding Valeant’s agreement with Walgreens, and stated that Valeant management had “not done

 a good job in articulating the details” and that “[w]e still don’t understand how this partnership

 will improve filled prescriptions if payer restrictions persist.” During market hours that day,

 Bloomberg published an article reporting on the Mizuho downgrade. On this news, the price of

 Valeant stock declined nearly 6%, falling $7 from a closing price of $118 on December 16, 2015,

 to close at $111 on December 17, 2015.

                February 19, 2016. On February 19, 2016, media outlets reported on a Wells Fargo

 analyst report issued the prior day that included an in-depth analysis on Valeant and questioned

 whether the Company had been truthful about Philidor. In particular, the report questioned whether

 the Company had been truthful regarding Philidor and Valeant’s relationship, including the adverse

 consequences to Valeant of terminating that relationship, management’s credibility, and

 irregularities with the Company’s accounting. The analysis noted that Valeant’s “new guidance is

 not compatible with the data presented by Valeant” and “the reduction in guidance does not match

 the impact [of Philidor], as described by Valeant.” The report stressed that “the slide in Valeant’s

 shares is directly related to decisions that the board and management have made” including “the

 board review and approval of a relationship with Philidor.” The report further noted that Valeant’s

 accounting was misaligned with its purported performance, and suggested that the dramatic rise in

 Valeant’s accounts receivables could be an indication of Valeant’s “improperly timed recognition

 of revenue.” On this news, the price of Valeant stock dropped by nearly 10%, falling from a close



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 of $94 per share on February 18, 2016, to a close of $84 per share on February 19, 2016, on

 elevated trading volume.

                February 22, 2016. On February 22, 2016, a Wells Fargo analyst released an

 updated note regarding Valeant that included two additional valuation models and a $62 price

 target. Also on February 22, 2016, CVS announced it would restrict the use of Jublia, one of

 Philidor’s most heavily distributed drugs, by requiring patients to first try a less expensive generic

 drug. After the market closed on February 22, 2016, The Wall Street Journal reported that Valeant

 was likely to restate its 2014 and 2015 earnings following an internal review of its financials. Later

 that evening, the Company confirmed in a release that it would be restating its 2014 earnings by

 at least $58 million, which would reduce 2014 GAAP EPS by approximately $0.10. The Company

 disclosed that it had been improperly recognizing revenue upon the delivery of products to

 Philidor, instead of when the products were dispensed to patients. The Company also announced

 it would delay filing its 2015 10-K pending completion of related accounting matters. Schiller

 commented that the Company would be “improving reporting procedures, internal controls and

 transparency for our investors.” On this news, the price of Valeant stock dropped by over 10%,

 from a close of $84 per share on February 19, 2016, to a close of $75 per share on

 February 22, 2016, the next trading day, on unusually high trading volume. Valeant shares

 continued falling in after-hours trading on February 22, 2016, as news of the impending

 restatement hit the market, dropping as low as $68 per share.

                February 28-29, 2016. On Sunday, February 28, 2016, Valeant issued a press

 release announcing Pearson’s immediate return as CEO, Ingram’s appointment as Chairman of the

 Board, and the cancellation of a conference call set for February 29, 2016, concerning preliminary

 4Q15 financial results and updated guidance for 2016. The press release also disclosed that the



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 Company was withdrawing its prior financial guidance, and confirmed that it would delay filing

 its 2015 10-K pending completion of the review of accounting matters by the ad hoc committee

 “and the Company’s ongoing assessment of the impact on financial reporting and internal

 controls.” Numerous media outlets reported on these disclosures prior to the market’s opening on

 February 29, 2016. Also during market hours, Moody’s placed Valeant ratings on review for

 potential downgrade on concerns that the Company’s operating performance was weaker than

 expectations, potentially impeding deleveraging plans. As the day progressed, additional reports

 surfaced, and the Company ultimately confirmed that Valeant was under investigation by the SEC

 and had received a subpoena during 4Q15.

                On this news, the price of Valeant stock dropped by more than 18%, from a close

 of $80 per share on February 26, 2016, to a close of $65 per share on February 29, 2016, the next

 trading day, on unusually high trading volume.

                March 15, 2016. On March 15, 2016, before the market opened, Valeant issued its

 preliminary unaudited 4Q15 financial results and held a much anticipated conference call. The

 Company revealed that it was reducing its financial guidance for 2016, and provided certain

 unaudited financial information concerning its 4Q15 performance. In particular, the Company

 slashed its 2016 revenue guidance from $12.5 - 12.7 billion to $11 - 11.2 billion; reduced its Cash

 EPS guidance from $13.25 - 13.75 to $9.50 - 10.50; and cut its EBITDA guidance from $6.7 - $7.1

 billion to $5.6 - $5.8 billion. The Company cited as reasons for these substantial downward

 revisions “reduced revenue assumptions for certain businesses, new managed care contracts and

 increased investment in key functions, such as financial reporting, public and government relations

 and compliance, as well as the impact of the weak first quarter of 2016.” The Company also

 reported $51.3 million in “wind down costs” for Philidor, including “write-downs of fixed assets



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 and bad debt expenses,” and a $79 million impairment charge related to Philidor. As to price

 increases, Pearson stated that all increases going forward “will be more modest and in line with

 industry practices and managed-care contracts.” During the conference call, Defendants disclosed

 that even the Company’s release from earlier that morning was inaccurate because its reporting

 forecasted adjusted EBITDA for the next four quarters of $6.2 to $6.6 billion, when the figure

 should have been only $6.0 billion. That same day, Moody’s further downgraded Valeant’s credit

 ratings, as well as those of its subsidiaries, by several levels.

                 On this news, the price of Valeant stock plummeted by more than 50%, from a close

 of $69 per share on March 14, 2016, to a close of $33 per share on March 15, 2016, on extremely

 high trading volume.

                 June 7, 2016. On June 7, 2016, Valeant issued a press release and hosted a

 conference call regarding the Company’s long-delayed 1Q16 financial results. The Company

 reported a GAAP loss per share of $1.08 and significantly lowered its 2016 guidance, and revealed

 that the poor financial results and outlook were caused, in large part, by the loss of Philidor. For

 example, Rosiello stated that sales volume declines were “exacerbated by the loss of refills

 following the shutdown at the end of January of our previous specialty pharmacy relationship.”

 Papa, the Company’s new CEO, added that with respect to dermatology, “a significant portion of

 our Walgreens prescriptions have profitability significantly below our internal projections and

 meaningfully below non-Walgreens prescriptions” and that “[i]n some instances, these

 prescriptions actually have a negative average selling price.”

                 In response to this news, which further revealed the extent to which Valeant relied

 on Philidor to boost prescription drug sales, refills, and prices during much of the Relevant Period,




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 the price of Valeant stock dropped by nearly 15% to close at $24 on June 7, 2016, on unusually

 high trading volume.

                August 10-11, 2016. On August 10, 2016, after the market closed, The Wall Street

 Journal reported that Valeant is under criminal investigation by the DOJ for whether it defrauded

 insurers by concealing its relationship to Philidor and for a variety of other deceptive business

 practices. According to The Wall Street Journal article, which was quickly picked up by a variety

 of media outlets, federal prosecutors in the U.S. attorney’s office in Manhattan are investigating

 possible mail and wire fraud violations based on whether Valeant “defrauded insurers by shrouding

 its ties to a mail-order pharmacy [Philidor] that boosted sales of its drugs,” and for deceptive

 business practices used to sell Valeant drugs, such as rebates and other compensation provided to

 patients. According to sources interviewed by The Wall Street Journal familiar with the matter,

 “[p]rosecutors are investigating not only the level of control Valeant exerted over Philidor’s

 business, but the extent of the ties, including Valeant’s role in Philidor’s growth.” The Wall Street

 Journal cited these sources as stating that, “the probe is expected to be the most serious Valeant

 currently faces, and could lead to criminal charges against former Philidor executives and Valeant

 as a company.” The article quoted a statement by Valeant that it “has been cooperating and

 continues to cooperate with the ongoing Southern District of New York investigation.”

                In response to this news, which further revealed the enormous risks presented by

 Valeant’s secret pharmacy network and other undisclosed business practices, the price of Valeant

 stock declined by over 10% to close at $24.49 on August 11, 2016, on unusually high trading

 volume.

                These declines in Valeant stock were the direct and proximate result of the nature

 and extent of Defendants’ prior materially false and misleading statements and omissions being



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 revealed to the market. The partial removal of artificial inflation from the price of Valeant

 securities following each of these disclosures would have been greater had Defendants fully

 disclosed the truth. But, because of Defendants’ materially false and misleading statements and/or

 failure to disclose the full truth, the price of Valeant securities remained artificially inflated.

                 The timing and magnitude of the price declines negate any inference that Plaintiff’s

 losses were caused by changed market conditions, macroeconomic or industry factors or

 Company-specific factors unrelated to Defendants’ wrongful conduct. The following chart

 demonstrates the clear divergence of the prices of Valeant stock from relevant peer group and

 industry indexes, as the truth became known to the market:




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        PLAINTIFF’S RELIANCE

                During the Relevant Period, Plaintiff relied on the materially false and misleading

 statements alleged herein when purchasing Valeant common stock.

                There is a presumption of reliance established by the fraud-on-the-market doctrine

 in this case because, among other things:

                (a)    The Defendants made public misrepresentations or failed to disclose

 material facts during the Relevant Period;

                (b)    The misrepresentations and omissions were material;

                (c)    The Company’s common stock traded in efficient markets;

                (d)    The misrepresentations and omissions alleged would induce a reasonable

 investor to misjudge the value of the Company’s common stock; and

                (e)    Plaintiff purchased Valeant common stock between the time Defendants

 misrepresented or failed to disclose material facts, and the time the true facts were disclosed,

 without knowledge of the misrepresented or omitted facts.

                At all relevant times, the markets for Valeant common stock were efficient for the

 following reasons, among others: (a) Valeant’s common stock was listed, and actively traded, on

 the NYSE, a highly efficient and automated market; (b) Valeant filed periodic reports with the

 SEC; (c) Valeant regularly communicated with investors via established market communication

 mechanisms, including through regular disseminations of press releases on the major news wire

 services, and through other wide-ranging public disclosures, such as communications with the

 financial press, securities analysts and other similar reporting services; and (d) Valeant was

 followed by numerous analysts who wrote reports that were published, distributed and entered the

 public market. As a result of the foregoing, the market for Valeant’s publicly traded common stock


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 promptly digested current information with respect to the Company and reflected such information

 in the price of Valeant’s common stock. Plaintiff relied on the price of Valeant’s common stock,

 which reflected all the information in the market, including the misstatements by Defendants.

                Plaintiff is also entitled to a presumption of reliance under Affiliated Ute Citizens

 of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

 Defendants are also predicated upon omissions of material fact which there was a duty to disclose.

         NO SAFE HARBOR

                The statutory safe harbor applicable to forward-looking statements under certain

 circumstances does not apply to any of the false or misleading statements pleaded in this

 Complaint. The statements complained of herein were historical statements or statements of

 current facts and conditions at the time the statements were made. Further, to the extent that any

 of the false or misleading statements alleged herein can be construed as forward-looking, the

 statements were not accompanied by any meaningful cautionary language identifying important

 facts that could cause actual results to differ materially from those in the statements.

                Alternatively, to the extent the statutory safe harbor otherwise would apply to any

 forward-looking statements pleaded herein, Defendants are liable for those false and misleading

 forward-looking statements because at the time each of those statements was made, the speakers

 knew the statement was false or misleading, or the statement was authorized or approved by an

 executive officer of Valeant who knew that the statement was materially false or misleading when

 made.




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         COUNTS

                                 COUNT I
   VIOLATION OF SECTION 10(b) OF THE EXCHANGE ACT AND SEC RULE 10b-5
                          (Against All Defendants)

                 Plaintiff repeats and realleges each and every allegation in the preceding paragraphs

 as if fully set forth herein.

                 This claim is brought by Plaintiff against all Defendants for violation of Section

 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder.

                 During the Relevant Period, Defendants disseminated or approved the materially

 false and misleading statements specified above, which they knew or recklessly disregarded were

 misleading in that they misrepresented or omitted material facts necessary in order to make the

 statements made, in light of the circumstances under which they were made, not misleading.

                 Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that they:

 (a) employed devices, schemes and artifices to defraud; (b) made untrue statements of material

 facts or omitted to state material facts necessary in order to make the statements made, in light of

 the circumstances under which they were made, not misleading; or (c) engaged in acts, practices

 and a course of business that operated as a fraud or deceit upon Plaintiff related to the purchase

 and/or acquisition of Valeant common stock.

                 In addition to the duties of full disclosure imposed on the Defendants attendant to

 their affirmative false and misleading statements to the public, Defendants had a duty under SEC

 Regulations S-X (17 C.F.R. §210.01, et seq.) and S-K (17 C.F.R. §229.10, et seq.) to promptly

 disseminate truthful information with respect to Valeant’s operations and performance that would

 be material to investors in compliance with the integrated disclosure provisions of the SEC,

 including with respect to the Company’s revenue and earnings trends, so that the market prices of

 the Company’s securities would be based on truthful, complete, and accurate information.

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                 As a direct and proximate cause of Defendants’ wrongful conduct, Plaintiff suffered

 damages in connection with its purchases and acquisitions of Valeant common stock during the

 Relevant Period. In reliance on the integrity of the market, Plaintiff paid artificially inflated prices

 for Valeant common stock and experienced losses when the artificial inflation was removed from

 the stock as a result of the revelations and price declines detailed herein. Plaintiff would not have

 purchased or acquired Valeant common stock at the prices it paid, or at all, if it had been aware

 that those prices had been inflated by Defendants’ misleading statements and omissions.

                 By virtue of the conduct alleged herein, Defendants have each violated Section

 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and are liable to Plaintiff.

                 This action is timely. Taking into account tolling of the limitations period by the

 filing of the class action complaints against Defendants in the related matter, In re Valeant Pharm.

 Int’l, Inc. Sec. Litig., Master File No. 3:15-cv-07658-MAS-LHG (D. N.J.), Plaintiff has brought

 this claim within two years of the discovery of the violations alleged herein, and within five years

 of the violations alleged herein.

                                          COUNT II
                 VIOLATION OF SECTION 20(a) OF THE EXCHANGE ACT
                  (Against Defendants Valeant, Pearson, Schiller, and Rosiello)

                 Plaintiff repeats and realleges each and every allegation in the preceding paragraphs

 as if fully set forth herein.

                 This claim is brought by Plaintiff against Defendants Valeant, Pearson, Schiller, and

 Rosiello for violation of Section 20(a) of the Exchange Act, 15 U.S.C. § 78(a).

                 During their tenures as officers and/or directors of Valeant, Pearson, Schiller, and

 Rosiello were controlling persons of Valeant within the meaning of Section 20(a) of the Exchange

 Act. By reason of their positions of control and authority as officers and/or directors of Valeant,

 these Defendants had the power and authority to cause Valeant to engage in the conduct
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 complained of herein. These Defendants were able to, and did, control, directly and indirectly, the

 decision-making of Valeant, including the content and dissemination of Valeant’s public statements

 and filings described herein, thereby causing the dissemination of the materially false and

 misleading statements and omissions as alleged herein. Valeant exercised control over and directed

 the actions of its senior managers, directors and agents, including the individual Defendants.

 Valeant controlled Pearson, Schiller, Rosiello and all of its employees and subsidiaries.

                 In their capacities as senior corporate officers and/or directors of Valeant, and as

 more fully described herein, Pearson, Schiller, and Rosiello participated in the misstatements and

 omissions set forth above. These Defendants had direct and supervisory involvement in the day-

 to-day operations of the Company, and had access to non-public information regarding Valeant’s

 deceptive and risky business practices. Valeant, Pearson, Schiller and Rosiello had the ability to

 influence and direct and did so influence and direct the activities of each of the Defendants in their

 violations of Section 10(b) of the Exchange Act and Rule 10b-5 as detailed in ¶¶362-64.

                 As a result, Valeant, Pearson, Schiller, and Rosiello, individually and as a group,

 were control persons within the meaning of Section 20(a) of the Exchange Act.

                 As set forth above, Valeant violated Section 10(b) of the Exchange Act. By virtue

 of their positions as controlling persons, and as a result of their aforesaid conduct and culpable

 participation, Pearson, Schiller, and Rosiello are liable pursuant to Section 20(a) of the Exchange

 Act, jointly and severally with, and to the same extent as Valeant is liable to Plaintiff. Valeant

 exercised control over the individual Defendants and all of its employees and subsidiaries and, as

 a result of its aforesaid conduct and culpable participation, is liable pursuant to Section 20(a) of

 the Exchange Act, jointly and severally with, and to the same extent as the individual Defendants

 are liable to Plaintiff.



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                By reason of the foregoing, Valeant, Pearson, Schiller, and Rosiello violated

 Section 20(a) of the Exchange Act, 15 U.S.C. § 78(a), and are liable to Plaintiff.

                This action is timely. Taking into account tolling of the limitations period by the

 filing of the class action complaints against Defendants in the related matter, In re Valeant Pharm.

 Int’l, Inc. Sec. Litig., Master File No. 3:15-cv-07658-MAS-LHG (D. N.J.), Plaintiff has brought

 this claim within two years of the discovery of the violations alleged herein, and within five years

 of the violations alleged herein.

        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment as follows:

         A.     Awarding Plaintiff compensatory damages in an amount to be proven at trial for all

 injuries sustained as a result of Defendants’ wrongdoing, including pre-judgment and post-

 judgment interest, as allowed by law;

         B.     Awarding Plaintiff extraordinary, injunctive and/or equitable relief in addition to

 any other relief that is just and proper under the circumstances;

         C.     Awarding Plaintiff its reasonable costs and expenses incurred in this action,

 including counsel fees and expert fees; and

         D.     Awarding such other relief as this Court may deem just and proper.

        JURY DEMAND

        Plaintiff hereby demands a trial by jury for all issues so triable.

 Dated: December 7, 2017                       Respectfully submitted,

  CARELLA, BYRNE, CECCHI,                           BERNSTEIN LITOWITZ BERGER
  OLSTEIN, BRODY & AGNELLO, P.C.                      & GROSSMANN LLP

   /s/ James E. Cecchi
  James E. Cecchi                                   /s/ Blair A. Nicholas
  5 Becker Farm Road                                Blair A. Nicholas

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